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                         EXHIBIT 1
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                       - - -
        ANGELA ARDO and JEAN             : CIVIL ACTION
        MONAGHAN, individually           :
        and as personal                  :
        representative/                  :
        administrator of the             :
        Estate of her son,               :
        ANTHONY ARDO,                    :
                                         :
                     Plaintiffs,         :
        VS.                              :
                                         :
        OFFICER EDDIE PAGAN, in          :
        his individual capacity          :
        as a Pennsylvania State          :
        Police Trooper, and              :
        OFFICER JAY SPLAIN, in           :
        his individual capacity          :
        as a Pennsylvania State          :
        Police Trooper,                  :
                                         :
                     Defendants.         : NO. 5:18-cv-05217-EGS
                                       - - -
                 Oral deposition of OFFICER EDDIE PAGAN
                           Thursday, August 22, 2019
                                       - - -




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    1

    2

    3                 Oral deposition of OFFICER EDDIE PAGAN,
    4   taken at Office of the Attorney General, 1600 Arch
    5   Street, Suite 300, Philadelphia, Pennsylvania, on
    6   Thursday, August 22, 2019, beginning at
    7   approximately 11:14 a.m., before Elizabeth Kelly,
    8   Professional Reporter and Notary Public in and of
    9   the Commonwealth of Pennsylvania.
   10

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    1   APPEARANCES:
    2

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        Counsel for Defendants
   12

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    1                                I N D E X
    2                                   - - -
    3   WITNESS:                                                         PAGE
    4   OFFICER EDDIE PAGAN
    5   EXAMINATION
    6   By Mr. DiJiacomo                                               5, 64
    7   By Ms. Le                                                          59
    8

    9

   10
                                    EXHIBITS
   11

   12
        EXHIBIT NO.               DESCRIPTION                         MARKED
   13

   14   Exhibit A                 Transcript of the                          8
                                  Interview of Eddie Pagan
   15

   16   Exhibit B                 Transcript of the                        10
                                  Interview of Jay Splain
   17

   18   Exhibit C                 Investigation Report                     43
   19

   20

   21

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    1                 THE REPORTER:        Usual stipulations?
    2                 MS. LE:     Yes.     I want to reserve the right
    3          to read and sign.
    4                 MR. DIJIACOMO:        Of course.
    5                                   - - -
    6                               (By agreement of counsel, the
    7           sealing, certification and filing are
    8           waived; and all objections, except as to
    9           the form of the question, are reserved
   10           until the time of trial.)
   11                                   - - -
   12                               OFFICER EDDIE PAGAN, having been
   13                               first duly sworn to tell the
   14                               truth, was examined and
   15                               testified as follows:
   16                                   - - -
   17                               EXAMINATION
   18                                   - - -
   19   BY MR. DIJIACOMO:
   20          Q      Good morning, sir.
   21          A      Good morning.
   22          Q      Again, for the record, my name is Anthony
   23   DiJiacomo.      I represent the estate of Anthony Ardo
   24   and his parents in a lawsuit against you and Trooper



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    1   Splain.     I just want to go over a few ground rules
    2   just so we go okay throughout the process today.
    3          A      Uh-huh.
    4          Q      As you respond to questions, make sure
    5   that they're verbal responses.               I noticed in the
    6   prior interview, you tend to nod your head slightly,
    7   which is perfectly reasonable in everyday
    8   conversation, but for the transcript, we do need
    9   verbal responses so your responses are clear.
   10          A      All right.
   11          Q      Okay.    You understand that you're under
   12   oath and it has the same weight or meaning as if you
   13   were in a courtroom before a judge and jury?
   14          A      I do.
   15          Q      Okay.    Any reason why you wouldn't be able
   16   to testify truthfully today?
   17          A      And reason why I would?
   18          Q      Would not be able to testify truthfully
   19   today?
   20          A      No.
   21          Q      Okay.    You're not under the influence of
   22   any medication, alcohol, drugs?
   23          A      No.
   24          Q      Okay.    If there's a question I ask that



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    1   you don't understand, most likely because I'm not
    2   making sense, tell me.
    3                        Okay?
    4          A      Okay.
    5          Q      If you respond to a question, we're going
    6   to assume that you understood it.
    7                        Fair enough?
    8          A      Fair enough.
    9          Q      All right.       Throughout the questioning,
   10   which I don't expect to be long, if you need to take
   11   a break at any time for any reason, just tell me.                        I
   12   may ask you to answer a pending question first, but
   13   again, this isn't a marathon by any means.                    With
   14   that said, I don't expect us to be here long, maybe
   15   an hour, maybe two.
   16          A      Okay.
   17          Q      Any questions for me before we get
   18   started?
   19          A      No.
   20          Q      Okay.    Let's see.       You gave a statement
   21   that was videotaped and transcribed.                 I'll tell you
   22   the date was June 16th, 2017; correct?
   23          A      I don't recall the specific date, but that
   24   sounds about right.



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    1          Q      Okay.    And I'm going to show you a
    2   document --
    3                 MS. LE:     For the record, I believe it was
    4          June 20th, 2017.
    5                 THE WITNESS:       Yeah, it was June 20th.
    6   BY MR. DIJIACOMO:
    7          Q      Okay.
    8          A      The incident occurred on May 20th.                 Can I
    9   see that?
   10          Q      Yes.
   11                 MS. LE:     Jay Spain's was June 16th.
   12                 MR. DIJIACOMO:         Ah, understood.        All
   13          right, thank you.
   14                 THE WITNESS:       Don't recall the date.
   15                                    -    -   -
   16                        (Exhibit A was marked for
   17   identification.)
   18                                    -    -   -
   19   BY MR. DIJIACOMO:
   20          Q      So let me mark -- I'm going to mark that
   21   as an exhibit after the fact as Exhibit A.
   22                        Have you ever seen a copy of your
   23   transcript before?
   24          A      No.    Well, yesterday.



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    1          Q       Okay.    Did you review it yesterday?
    2          A       Yes.
    3          Q       Excellent.       The statement that you gave on
    4    June 20th, 2017, was it accurate?
    5          A       Yes.
    6          Q       Okay.    Was there any intent to mislead in
    7    any accurate statements that you gave?
    8          A       No.
    9          Q       Okay.    But that statement was not under
   10    oath; correct?
   11          A       I don't recall.         They read me my Miranda
   12    rights.
   13          Q       Okay, fair enough.
   14          A       I don't remember if I had a -- if it was
   15    under oath, don't remember.
   16          Q       Okay, understood, though.
   17                         But even though it wasn't under oath,
   18    here -- sitting here today under oath, you do state
   19    that the statement, the facts that you gave in that
   20    June 20th, 2017 statement were true and accurate to
   21    the best of your understanding?
   22          A       Correct, they were.
   23          Q       Okay.    And since giving that statement,
   24    have you learned anything that you had stated that



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    1    day that was incorrect?
    2                  MS. LE:     Objection to form.
    3                  THE WITNESS:       No.
    4    BY MR. DIJIACOMO:
    5          Q       Okay, okay.       We can push that to the side
    6    then, and let's go off the record for a second.
    7                         (Discussion was held off the record.)
    8                                       -   -   -
    9                         (Exhibit B was marked for
   10    identification.)
   11                                       -   -   -
   12    BY MR. DIJIACOMO:
   13          Q       I'm going to show you a statement from
   14    Trooper Splain, if I'm pronouncing it correctly?
   15          A       Correct.
   16          Q       Dated June 16th, 2017.
   17                         Have you ever reviewed his statement?
   18          A       No.
   19          Q       Okay.    Put that to the side then.              Fair
   20    enough.     All right, I have a few questions about the
   21    circumstances of the statement that you gave on
   22    June 20th, 2017.         Throughout the statement, as
   23    anyone would, it gave the speaker who gave each
   24    statement.



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    1                         Make sense?
    2          A       Yes.
    3          Q       Okay.    Everk, E-V-E-R-K, is one of the
    4    individuals on the transcript?
    5          A       Everk, yes.
    6          Q       Who is he?
    7          A       He's a -- he's a criminal investigator
    8    with the crimes unit for Troop M Bethlehem and also
    9    the major case team.
   10          Q       Help me here, does that Troop M, does that
   11    sit at your barrack?
   12          A       No.
   13          Q       Okay.
   14          A       Well, Troop M is the whole -- is the whole
   15    troop that has a total of six different substations
   16    -- well, five substations and Bethlehem is the
   17    headquarter, which is the sixth station.                   So five
   18    plus six, six stations in Troop M.
   19          Q       Okay.    Which troop are you in as of 2017?
   20          A       The troop is M.         I was in Troop M for my
   21    whole career.
   22          Q       Okay.
   23          A       Different barracks.
   24          Q       But you sat at the Bethlehem barracks?



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    1          A       During the incident, I was in the Belfast
    2    barracks.
    3          Q       Belfast?
    4          A       Belfast and Bethlehem is the headquarters.
    5    Trooper Everk is in Bethlehem headquarters.
    6          Q       Okay.    And he was the criminal homicide
    7    investigator?
    8          A       Correct.
    9          Q       Who is Mr. Judge?
   10          A       Trooper Judge is another criminal
   11    investigator, also the major case team as well in
   12    Troop M in Bethlehem headquarters.
   13          Q       Okay.    And then did you have an attorney
   14    at that time?
   15          A       Yes, I did.
   16          Q       What was his name?
   17          A       Trooper -- Attorney Mark Minotti.
   18          Q       Okay.    And was that an attorney that you
   19    retained?
   20          A       Yes.
   21          Q       Okay.    Did, for the lack of a better term,
   22    did the union provide any representation?
   23          A       Initially, they did.           And then it was
   24    their suggestion for me to hire my own personal



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    1    attorney at their expense.
    2          Q       At their expense?
    3          A       Correct.
    4          Q       Understood, okay.
    5                         Who is the -- did you have any
    6    conversations with the initial attorney?
    7          A       With the initial attorney?
    8                  MS. LE:     Objection to the form.
    9    BY MR. DIJIACOMO:
   10          Q       Who was the first attorney that -- who was
   11    the attorney the union --
   12          A       I forgot the name.
   13          Q       Okay.
   14          A       I forgot the name.
   15          Q       Okay.    Did you have any conversations with
   16    that attorney?
   17          A       Yes.
   18          Q       Okay, all right.
   19                         Was anyone else present for the
   20    transcribed interview?
   21          A       For the transcribed interview, besides the
   22    people listed in the actual -- in the transcript, I
   23    do not recall, but I believe, no.
   24          Q       Okay, all right.         In advance to the



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    1    June 20th, 2017 interview, did you have any
    2    discussion with Trooper Splain concerning the
    3    incident?
    4          A       Yes.
    5          Q       Okay.    On more than one occasion?
    6          A       I believe so, yes.
    7          Q       Okay.    Let me back up for a second.
    8                         Between the date of the incident --
    9    when I say "incident," we're talking about the May
   10    20th --
   11          A       Correct.
   12          Q       -- shooting.
   13                         Fair enough?
   14          A       Fair.
   15          Q       Okay.    Between the date of the incident
   16    and in your interview, were you on leave?
   17          A       On leave?      No, I was on administrative
   18    duty.
   19          Q       Okay.    Meaning you were assigned to a
   20    desk?
   21          A       Meaning I was assigned to do clerical work
   22    at the station.
   23          Q       Okay.    Were troopers from your station
   24    assisting in the investigation?



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    1                  MS. LE:     Objection to form.
    2                  THE WITNESS:       I guess I have to answer
    3          that?
    4                  MS. LE:     If you understand the question.
    5                  THE WITNESS:       I don't know.         I wouldn't
    6          know.
    7    BY MR. DIJIACOMO:
    8          Q       Okay.    Did you have any conversations with
    9    any -- anyone other than your attorneys or Trooper
   10    Splain concerning the incident or the results of any
   11    investigation into the incident prior to your
   12    interview?
   13          A       I was told not to speak to anyone, and I
   14    don't believe I ever spoke to anyone about it
   15    besides my attorney, you know, and Trooper Splain.
   16          Q       Okay, all right.
   17                         Do you know how many occasions you
   18    spoke with Trooper Splain about the incident prior
   19    to the interview?
   20          A       No, prior to --
   21          Q       Prior to the June 20th, 2017 interview?
   22          A       Don't recall.
   23          Q       Okay.    Can you estimate at all?
   24          A       No.



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    1          Q       Would it -- okay.
    2                         Can you state whether it was more
    3    than five times?
    4          A       I really can't.
    5          Q       Okay.    Can you state the purpose for
    6    discussing the incident with Trooper Splain?
    7          A       Learning from experience, the technical
    8    mistakes or technical soundness that we exhibited in
    9    that incident, but.
   10          Q       And that was in advance to the June 20th,
   11    2017 interview?
   12          A       It was -- if you mean in advance to
   13    preparation to the interview, no.                It was just us
   14    talking.
   15          Q       I meant prior to?
   16          A       Prior to, okay.         Yeah.
   17          Q       Okay.
   18          A       It was probably immediately afterwards,
   19    next day or so, couple days or so.
   20          Q       Okay.    Did anyone advise you not to speak
   21    with Trooper Splain in advance to the recorded
   22    interview?
   23          A       Don't recall, so no.
   24          Q       Okay.    Did you or, to your knowledge,



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    1    Trooper Splain determine that there were any
    2    tactical errors that either you or Trooper Splain
    3    exhibited on the day of the incident?
    4           A      No.
    5           Q      Okay, all right.         Were you provided any
    6    type of evidence of the incident in advance to the
    7    June 20th, 2017 interview?
    8                  MS. LE:     Objection to the form.            Just so
    9           you know, if I -- just if I say "objection to
   10           form," it's for the record.
   11                  THE WITNESS:       Okay.
   12                  MS. LE:     You can still answer the
   13           question --
   14                  THE WITNESS:       Okay.
   15                  MS. LE:     -- if you understand it.
   16                  THE WITNESS:       The only thing was I was
   17           able to review the little bit of MVR that was
   18           actually available from the incident.
   19    BY MR. DIJIACOMO:
   20           Q      Do you recall -- do you recall how long
   21    after the incident you were provided access to the
   22    MVR?
   23           A      I believe it was prior to my interview,
   24    like, a week prior or so.             I really didn't want to



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    1    watch the MVR to begin with.
    2          Q       Who provided to you the MVR radios?
    3          A       Radios?     The MVR recordings?
    4          Q       Yes.    Let's make sure we're talking about
    5    the same thing.
    6          A       Yes.
    7          Q       Okay.    When I refer to "MVR," what do you
    8    take that as?
    9          A       As the actual visual footage.
   10          Q       Ah, from the vehicles?
   11          A       From the vehicles, correct.
   12          Q       Okay.    And you were able to see the
   13    footage from both vehicles in advance to the
   14    interview?
   15          A       Correct.
   16          Q       Okay.    Were you also provided transcripts
   17    or audio of the calls?
   18          A       No.
   19          Q       Okay, all right.         Understood.
   20                         Who provided you access to the
   21    footage, the MVR footage?
   22          A       I believe it was the -- it's always all
   23    foggy in my mind.         I believe at the request of my
   24    attorney, it was the crimes -- crimes supervisor.



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    1          Q       And --
    2          A       I might -- I might not be right, but I
    3    don't fully remember that point in time, but if I
    4    had to take an educated guess, I believe it was the
    5    crimes supervisor.
    6          Q       Okay.    But your understanding is that your
    7    attorney provided you the videos?                He --
    8          A       My attorney suggested we see the video
    9    prior to giving our statement.
   10          Q       Okay.    Who physically gave you access to
   11    the videos?
   12          A       I don't know.
   13          Q       Not --
   14          A       I don't remember.
   15          Q       Okay, all right.
   16          A       I don't recall.
   17          Q       All right.       So you don't know who
   18    authorized you seeing the videos?
   19          A       The authorization had to come from the
   20    crimes supervisor.
   21          Q       Okay.
   22          A       And I believe it was him that gave it to
   23    us.   I believe he gave it to Trooper Splain first,
   24    and once Trooper Splain was able to review, it was



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    1    passed down to me for me to review on my own time.
    2          Q       Okay.    Do you know who the name of the
    3    supervisor was?
    4          A       Corporal Blare Talijan.
    5          Q       Do you know how to spell that?
    6          A       Which one?
    7          Q       The last name.
    8          A       T-A-L-I-J-A-N.
    9          Q       Okay.    And just to confirm, Everk and
   10    Judge reported to that corporal?
   11          A       No.    They don't report to that corporal.
   12    No, he's -- that corporal is in charge of -- he's
   13    the evidence custodian in Belfast.
   14          Q       Okay, okay.
   15          A       So anything that had to deal with evidence
   16    or stuff like that, has to go through him through
   17    that station.        That's pretty much -- everything runs
   18    through him.
   19          Q       Even though the investigation was being
   20    run through --
   21          A       Yes, because he's the one that has to
   22    actually authorize and get out for whatever, and I
   23    don't know where they keep the stuff at.                   I'm just a
   24    lowly trooper.        I don't have --



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    1          Q       Okay, understood.
    2                         So the incident took place on May
    3    20th, 2017; correct?
    4          A       Correct.
    5          Q       And your interview took place on June
    6    20th, 2017?
    7          A       Correct.
    8          Q       Do you have an understanding as to -- I
    9    don't want to characterize it as the delay, but why
   10    it was -- the interview was taken 30 days later?
   11          A       Yes.
   12          Q       What was that?
   13                         What's your understanding?
   14          A       There was a dispute as to who was going to
   15    be taking over the investigation between the
   16    Pennsylvania State Police, major case team, or the
   17    district attorney's office, at which point we didn't
   18    know who was handling the investigation, and per my
   19    attorney, we waited to -- on clarification and
   20    proceeded forward.          I want it to be stated that from
   21    the moment that it occurred, my attorney and I made
   22    known that we were ready to give a statement at any
   23    time they were ready.
   24          Q       How so?



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    1                         How was it made known?
    2          A       My attorneys informed -- informed district
    3    attorney's office and the Pennsylvania State Police.
    4          Q       Okay.    Have you seen any writing or letter
    5    between your attorney and the DA stating so?
    6          A       No.
    7          Q       Okay.    So you couldn't tell me whether it
    8    was in writing or orally?
    9          A       I wouldn't be able to tell you that.
   10          Q       Okay.    And that communication, did that
   11    come from the union-provided attorney or
   12    Mr. Minotti?
   13          A       Both.
   14          Q       Okay, all right.         Understood.
   15                         Did you ever provide any independent
   16    statement, other than the June 20th, 2017, to the
   17    district attorney?
   18                  MS. LE:     Objection to form.
   19                  THE WITNESS:       Only the grand jury.
   20    BY MR. DIJIACOMO:
   21          Q       Okay.    And it's fair to assume that your
   22    grand jury testimony was consistent with the
   23    June 20th, 2017 statement?
   24          A       Yes.



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    1          Q       Okay.    Do you know whether your attorney
    2    was contacted for -- strike that.                Let me revise.
    3                         Do you know when you or your attorney
    4    were first contacted requesting an interview?
    5                  MS. LE:     I'm going to make a general
    6          statement here.          You're doing fine, but
    7          don't -- in your answers, don't reveal any of
    8          your communications with --
    9                  THE WITNESS:       With my attorney --
   10                  MS. LE:     -- your attorney.
   11                  THE WITNESS:       Yes, I understand that.
   12                  MS. LE:     Okay.
   13                  THE WITNESS:       Can you repeat the question
   14          again?
   15    BY MR. DIJIACOMO:
   16          Q       Do you know when either the district
   17    attorney or the homicide investigation officers,
   18    troopers, first contacted you or your attorney
   19    requesting a transcribed interview?
   20          A       I don't remember.
   21          Q       Okay, fair enough.
   22          A       I let my attorney handle and tell me where
   23    to show up and where to speak.               And I show up, and I
   24    speak.



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    1          Q       Okay, all right.         New topic.       I want to
    2    understand what triggers the MVR to start recording
    3    videotapes.
    4                         When you turn on your vehicle, do you
    5    have an understanding as when the MVR begins to
    6    record?
    7          A       Let me preface this by saying I'm no MVR
    8    specialist whatsoever, but, you know, due to this
    9    whole incident, I've gained a little bit of
   10    knowledge of how the MVR works.               So what would be
   11    your question again?
   12          Q       Based on your knowledge, which is a
   13    general rule for any of these questions, do you have
   14    an understanding as to when the MVR begins to record
   15    after turning on a vehicle?
   16          A       Yes.
   17          Q       When?
   18          A       Approximately a minute after you turn on
   19    the vehicle.
   20          Q       And your --
   21          A       That's my understanding.
   22          Q       Okay.    Have you been told at all that it
   23    starts 30 seconds as opposed to 60 seconds after?
   24          A       Like I said, I'm not really a -- I believe



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    1    I was told a minute.
    2          Q       Okay, understood.
    3                         If you turn on your flashing lights,
    4    does that immediately trigger the recording?
    5          A       If the car has been on prior, yes.
    6          Q       Okay.    If you turn on the vehicle, will
    7    the vehicle -- will the MVR begin to automatically
    8    record after 60 seconds?
    9          A       That is my rudimentary understanding.
   10          Q       Okay.    If the car has been on for over a
   11    minute, does turning on the flashing lights affect
   12    the MVR, to your understanding?
   13          A       It should.
   14          Q       How?
   15          A       It should work.
   16          Q       It should record?
   17          A       It should record, yes.
   18          Q       Okay.    Does it change by turning on the
   19    flashing lights, does it charge the storage of the
   20    recording?
   21                  MS. LE:     Objection to form.
   22                  THE WITNESS:       I don't have any knowledge
   23          of how the storage works.
   24



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    1    BY MR. DIJIACOMO:
    2          Q       Okay.    Is there a button on your steering
    3    wheel that affects the MVR recording?
    4                  MS. LE:     Objection to form.
    5                  THE WITNESS:       It's a button in the
    6          steering wheel that turns on the lights, which,
    7          in essence, turns on the MVR as well.
    8    BY MR. DIJIACOMO:
    9          Q       Okay.    Is there a button on your uniform
   10    that starts the MVR recording?
   11          A       Yes, it's on the mic portion that's placed
   12    on the lapel.
   13          Q       Okay.    If the car is on but has not been
   14    recording for -- I'm sorry, let me rephrase that.
   15                         If the car is on, but has not been on
   16    for a minute yet, to your understanding, does the
   17    lapel trigger an immediate recording?
   18                  MS. LE:     Object to form.
   19                  THE WITNESS:       After this investigation, I
   20          found out a little bit that it does not.
   21    BY MR. DIJIACOMO:
   22          Q       Okay.    There's a delay still?
   23          A       I believe so, yes.
   24          Q       Okay.



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    1          A       Like I said, I'm no expert in the MVR
    2    system.     I'm sure you could refer to the detailed
    3    letter by WatchGuard that was provided to the state.
    4          Q       Understood, okay.
    5                         Prior to the incident, did you have
    6    any training -- is there any policy directive as to
    7    using flashing lights during incidents?
    8                  MS. LE:     Object to the form.
    9                  THE WITNESS:       Can you repeat the question
   10          again?
   11    BY MR. DIJIACOMO:
   12          Q       To your knowledge, is there -- let me put
   13    it like this, during the actual incident, you walked
   14    to the back of your -- of the back of the property
   15    where your vehicles were parked, got in the vehicle
   16    and approached Mr. Ardo's vehicle --
   17          A       Correct.
   18          Q       -- correct?       Okay.
   19                         To your knowledge, did you violate
   20    policy by not turning on the flashing lights once
   21    you started the vehicle?
   22          A       No.
   23          Q       Okay.    To your knowledge, is there any
   24    directive or policy requiring you to turn on the



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    1    lights as you're approaching a vehicle to stop it?
    2          A       I'm misunderstanding the question.
    3                         Can you just repeat it again?
    4          Q       Absolutely.       To your knowledge, is there
    5    any policy or directive instructing a trooper to
    6    turn on their flashing lights as they approach a
    7    vehicle to stop it?
    8          A       For a traffic stop, I believe so.
    9          Q       Okay.    How about for a stop where you're
   10    having to stop a vehicle where it's -- from getting
   11    away?
   12          A       I don't -- I don't understand the context
   13    of the question.         Can you be a little more clear?
   14          Q       When you got in the vehicle and drove
   15    towards Anthony Ardo's vehicle, was there any point
   16    in time where you turned on the flashing lights?
   17          A       I believe I didn't.
   18          Q       Okay.    And before you got out of the
   19    vehicle, did you turn on the flashing lights?
   20          A       No.
   21          Q       To your knowledge, is there any policy
   22    directive directing you to do otherwise?
   23          A       For that specific circumstance, no.
   24          Q       Okay, all right.         You would agree with me



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    1    that the video recorded by the MVR from your vehicle
    2    of the incident does not capture -- well, let me
    3    rephrase that -- begins after the first shot is
    4    fired?
    5          A       That I would agree with you -- that I
    6    would agree with you what?
    7          Q       That the video from your vehicle --
    8          A       Uh-huh.
    9          Q       -- from the MVR, the footage begins after
   10    the first shot is fired?
   11          A       Yes.
   12          Q       Okay, all right.         Are you aware of any
   13    recording of the interaction between you and Officer
   14    Splain with Anthony Ardo prior to the MVR footage
   15    beginning?
   16          A       Am I aware of any recording of interaction
   17    with Mr. Ardo prior to the MVR recording?
   18          Q       Yes.
   19          A       No.
   20          Q       Okay, all right.         All right, let's go to
   21    the date of the incident, talk through that.
   22                         All right?
   23          A       Okay.
   24          Q       I have your -- the statements you made



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    1    before so I'm not going to walk you through the
    2    entire incident, I just have certain questions I
    3    want to understand?
    4          A       Okay.
    5          Q       Hopefully, it will make this a little bit
    6    less painful.
    7                         Prior to Anthony Ardo arriving at the
    8    residence, you heard certain statements, certain
    9    phone calls between Anthony Ardo and his mother;
   10    correct?
   11          A       Correct.
   12          Q       Okay.    What I'm unclear on is, did Anthony
   13    ever make any threats involving a firearm?
   14          A       Yes.
   15          Q       He did?
   16          A       Yes.
   17          Q       Okay.    My understanding is that you
   18    overheard three phone calls, correct, between Ms.
   19    Monaghan and Anthony Ardo?
   20          A       Correct.
   21          Q       Okay.    Do you recall in which or which
   22    phone calls involved Anthony making a threat of a
   23    gun, using a gun?
   24          A       It was the first phone call.



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    1          Q       Okay.    Do you recall the actual words
    2    Anthony used?
    3          A       Yes.    He said, I'll get a gun and blow my
    4    head off.
    5          Q       Okay.    So in addition to saying "I'll blow
    6    my head off," he also said, "I will get a gun"?
    7          A       Yes.
    8          Q       Okay, understood.
    9                         Did Anthony make any reference to a
   10    firearm in the second or third phone call?
   11          A       I'm just trying to -- there's three phone
   12    calls, I'm trying to remember them.                 In regards to a
   13    firearm, it was only the first phone call.
   14          Q       Okay, all right.         At some point during
   15    those three phone calls, Anthony threatened to at
   16    least blow himself up; correct?
   17          A       At least, yes.
   18          Q       Okay.
   19          A       Him and others.
   20          Q       That's where I'm going.
   21                         Do you recall Anthony making a threat
   22    to blow up anyone else?
   23          A       Yes.
   24          Q       Who?



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    1          A       His exact word was everyone -- everyone --
    2    and everyone involved, everyone else.
    3          Q       And that was on the condition if officers
    4    were present?
    5          A       Correct.
    6          Q       Okay.    And your recollection is that
    7    Anthony specifically stated whoever was involved or
    8    whoever was there, something along those lines?
    9          A       Correct.
   10          Q       Okay, all right.
   11                         To your knowledge, after hearing
   12    Anthony make a threat concerning possessing and
   13    using a bomb, did, to your knowledge, you or
   14    officer -- or Trooper Splain request backup?
   15          A       No.
   16          Q       Why not?
   17          A       We were the only ones in the area.
   18          Q       And what do you mean by "area"?
   19          A       We, the state police covers over 350
   20    square miles in our barracks by ourselves.                    At any
   21    given moment in time, we only have, like, three
   22    troopers working.
   23          Q       All right.       When you say "350 square
   24    miles," are you referring to Belfast?



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    1          A       Yes.
    2          Q       Okay.
    3          A       Roughly.      The mileage is not --
    4          Q       Understood, understood.
    5                         To your knowledge, how many troopers
    6    were on-duty during that shift from Belfast?
    7          A       I don't remember exactly.             I believe it
    8    was four.
    9          Q       Okay.    I'll tell you that was my
   10    understanding as well.
   11          A       Okay.
   12          Q       What was the distance between, the best
   13    you can estimate in time or miles, between the
   14    residence and the Belfast barrack?
   15          A       The what?
   16          Q       The residence, the property?
   17          A       Roughly 20 minutes.
   18          Q       Okay.    To your knowledge, was -- where
   19    were the other two officers, other than you and
   20    officer -- or Trooper Splain?
   21                         To your knowledge, were the two other
   22    officers at the barracks, let's say, between the
   23    timeframe of 9:00 a.m. and 10:00 a.m. on May 20th?
   24          A       I don't know their actual locations at



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    1    that time.
    2          Q       Okay.    To the residence, where is the
    3    closest local police station?
    4                  MS. LE:     Object to the form.
    5                  THE WITNESS:       Probably Washington
    6          Township.       It'd probably be around the same
    7          distance.
    8    BY MR. DIJIACOMO:
    9          Q       Okay.    But despite the bomb threat, you
   10    didn't feel a need to contact either one for backup?
   11          A       No.
   12          Q       Is that mainly just because of the
   13    distance, or were there other factors?
   14          A       There were other factors.
   15          Q       What were the other factors?
   16          A       We -- we already had two troopers on
   17    scene, and bringing any more of the cops into the --
   18    into the house would just congest the area, making
   19    us more visible from far, making it less likely for
   20    Ardo -- Mr. Ardo to actually show up at the
   21    residence or take off.           The proverbial "too many
   22    chefs in the kitchen" scenario.
   23          Q       You had training during, forgive me, for
   24    lack of a better term, "basic training," at the



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    1    academy?
    2                         You had basic training on bombs
    3    there; correct?
    4          A       Correct.
    5          Q       Okay.    But you agree it was pretty basic?
    6          A       Yes.
    7          Q       Okay.    If you had called backup, where
    8    would the closest bomb specialist have been out of?
    9          A       The state police Hides Unit (ph), which is
   10    the unit that deals with bombs.               I believe they have
   11    one person that covers the whole eastern side of
   12    Pennsylvania.
   13          Q       Okay.
   14          A       And he could be anywhere any given time.
   15          Q       All right.       To your knowledge, is that
   16    person assigned to any particular barrack?
   17          A       No, he's assigned to the BSOL (ph).
   18          Q       What's that?
   19          A       Bureau of Special -- I should know this.
   20    I'm blanking out right now.             It's called BSOL.          It's
   21    the special unit for -- it's the bureau for special
   22    units like the SWAT -- like our SWAT team, the Hides
   23    team, the canine team, any specialized unit.
   24    They're the ones that oversee that bureau.



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    1           Q      But those units aren't located in any
    2    specific spot?
    3           A      No.
    4           Q      Okay.    The last question in this area:
    5    Did you consider calling an EMT before Anthony
    6    arrived?
    7           A      Did we consider calling any what?
    8           Q      EMT?
    9           A      EMT?
   10           Q      Paramedic.
   11           A      No.
   12           Q      Any reason why not?
   13           A      The EMT -- the EMT would not be able to do
   14    anything we were not able to do as far as detaining
   15    him.    It would also put them at risk, so.                 Plus, he
   16    was not home.        So what, we were going to call extra
   17    people to come to the scene when we don't know where
   18    he's at?
   19           Q      Okay.    Do you ever put an EMT or paramedic
   20    on standby?
   21           A      Yes.    When we know where the person's at.
   22           Q      Okay, all right.
   23                         Okay, during the three phone call
   24    conversations that you overheard, what do you



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    1    recall -- how do you recall Anthony describing the
    2    bomb?
    3          A       He just said -- just described it as a
    4    bomb with nails.
    5          Q       Did he say where it was on him?
    6          A       I'm going to strap up a bomb to my neck
    7    with -- with nails, along those lines.
    8          Q       And to your recollection, Anthony Ardo
    9    specifically said nails?
   10          A       Yes.
   11          Q       Okay, all right.
   12                         Did you take the bomb threat
   13    seriously?
   14                  MS. LE:     Objection to form.
   15                  THE WITNESS:       I've heard people make
   16          threats all the time.            I considered it was
   17          fake, but you never know.
   18    BY MR. DIJIACOMO:
   19          Q       Okay, all right.         All right, I want you to
   20    walk through what occurred, but beginning at the
   21    point where you reached your vehicle after you saw
   22    Anthony arrive at the residence.
   23          A       So you want me to start from where?
   24          Q       When you reached your vehicle.



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    1          A       So from the moment I left the house to go
    2    back in my vehicle?
    3          Q       Yes, sir.
    4          A       You want to me to start from that point?
    5          Q       Yeah.
    6          A       So I run to the back of the house, get
    7    inside my vehicle.          I turn my vehicle on.           I try to
    8    navigate through a very hilly, rough terrain, being
    9    careful.      It was a very tight space.             I didn't want
   10    to crash my car before making it to the road.                     I'm
   11    cutting the wheel, trying to make all these turns to
   12    get around the house, very bad terrain, at which
   13    point I come out and I see Trooper Splain, his
   14    lights activated behind Mr. Ardo's vehicle, at which
   15    point I come into the main road.
   16                         And I see Mr. Ardo's vehicle move
   17    towards me and kind of like about to take off.                     At
   18    which point, I'm thinking he's going to run me over.
   19    Let me readjust the vehicle in a position where he
   20    can't hit me.        I come to park.         I immediately jump
   21    out of the car, draw my gun because his vehicle's
   22    still not in park and still moving and mobile, which
   23    poses a threat.
   24                         I activate -- I attempt to activate



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    1    my lights using my lapel mic with my left hand, at
    2    which point I came out of the car, started giving
    3    Mr. Ardo instructions and commands to let me see his
    4    hands.     At which point, I also see Trooper Splain
    5    behind his car -- behind Mr. Ardo's car with his gun
    6    drawn giving him also commands to come out, let me
    7    see your hands.
    8                         I proceeded to do a tactical L to get
    9    out of the line of Trooper Splain's gun and get a
   10    better view of Mr. Ardo, because at which point --
   11    at that point, I wasn't fully able to see inside --
   12    inside his vehicle through his windshield.                    All I
   13    saw was a silhouette of a man shaking.
   14                         Due to my experience with pulling
   15    people out of cars and giving them commands, at that
   16    time I believe that Mr. Ardo was doing one of these,
   17    but I couldn't confirm.            Some people exaggerate and
   18    put the hands all the way up to show their hands,
   19    when told to show their hands.               Some people shrink
   20    up with their hands by their shoulder side and
   21    stiffen up as a sign of submission.
   22                         As I go towards the driver's side for
   23    Mr. Ardo, I'm still unable to see inside his car
   24    through his windshield, due to the gray overcast,



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    1    being under a tree, and the condensation inside his
    2    vehicle.      At which point, I keep giving Mr. Ardo
    3    commands, to let me see your hands, let me see your
    4    hands.
    5                         Mr. Ardo refuses to show me his hands
    6    or look in my direction.            At which point, I kept
    7    going in closer, inching closer and closer with my
    8    gun drawn at a lower ready, not pointed at him to
    9    make sure that he actually has his hands up to then
   10    take it to the next level of extract him out of the
   11    vehicle.
   12                         As I got closer to Mr. Ardo, I was
   13    approximately the distance from yourself and myself,
   14    which, for the record, I'm going to estimate is
   15    approximately three to four feet, Mr. Ardo turned
   16    around, smiles at me with a maniacal look, lights up
   17    a lighter, at which point it illuminates the cabin
   18    from the inside, and he has the lighter in his right
   19    hand and the fuse in his left hand attached to a
   20    device in his neck, at which time I couldn't tell
   21    what it was.
   22                         And he tries to light the fuse.               I
   23    know what a fuse is.           A fuse is used to ignite
   24    stuff.     Based on his prior comments about having a



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    1    bomb around his neck and blowing it up with nails, I
    2    determined it was some kind of device that put my
    3    life, and his life, and Jay Splain's life in danger,
    4    as well as the property around.
    5                         At that time, Trooper Splain was
    6    simultaneously asking me if I see anything inside
    7    the vehicle.       At which time, I yelled to him, yes.
    8    And I proceeded to shoot two rounds towards Mr. Ardo
    9    through the door and proceeded to retreat from my
   10    location to possibly outrun the blast.
   11          Q       All right.
   12          A       You want me to keep on going?
   13          Q       No, no, no.
   14          A       Okay.
   15          Q       I got questions.
   16          A       Okay.
   17          Q       Just give me a second.
   18                         When you get out of the vehicle, you
   19    said that you attempted to activate the MVR from
   20    your uniform?
   21          A       Lapel.
   22          Q       Lapel.     But you used the word "attempted"?
   23          A       When I used the word "attempted," it's in
   24    hindsight.      I know it didn't work.



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    1          Q       Okay, all right.          Understood.
    2                         Did you know it at the time?
    3          A       No.
    4          Q       Okay, all right.
    5          A       I've used my mic lapel dozens and
    6    countless times during investigations, and it's
    7    worked every single time.
    8          Q       What does it look like?
    9          A       It's a little, square -- it's a little,
   10    square device.        It's actually the microphone that's
   11    connected to the video recording system for that
   12    specific car.
   13          Q       Okay.    One button?
   14          A       Yes, one button.
   15          Q       That's it?
   16          A       Yup.    It's one button at the top.              It's
   17    very big.      It's meant to be able to reach in when
   18    you need it because --
   19          Q       You need it?
   20          A       Yup, you need it.
   21          Q       Understood, all right.            Good, all right.
   22    Giving you two things.           First, can we mark this
   23    document as Exhibit C?
   24                                    -   -   -



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    1                         (Exhibit C was marked for
    2    identification.)
    3                                    -   -   -
    4    BY MR. DIJIACOMO:
    5          Q       All right.       Do you agree that this is the
    6    investigative report on behalf of forensic services
    7    concerning this incident?             Take a minute.
    8          A       Let me review it first to make sure.
    9          Q       Absolutely.
   10          A       Without reading the actual report, I agree
   11    this is actually a forensic unit report that seems
   12    to be for the case I was involved in on May 20th.
   13          Q       Have you ever seen this report before?
   14          A       This particular report?
   15          Q       Yes.
   16          A       No.
   17          Q       Okay, all right.          The reason I'm showing
   18    it to you, turn to what looks like page eight or
   19    what's marked at the bottom as DEF-97?
   20          A       That's the page number?
   21          Q       Yes.
   22          A       You mentioned something else.              I thought
   23    you said something else.
   24          Q       Yes.    Right below that, there's another



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    1    number?
    2          A       Oh, I don't know what that number is.
    3          Q       I'll just say for the record.              It's what's
    4    called a Bates number, and it just identifies
    5    documents that are exchanged between attorneys.
    6          A       Got it.
    7          Q       All right.
    8          A       It's actually part of our actual
    9    investigation and reports.
   10          Q       Correct, yes.        Absolutely.       Looking at
   11    this document -- let me just get some context first.
   12    The box that's marked Buick, would it have been
   13    Anthony Ardo's vehicle?
   14          A       Correct.
   15          Q       And the box marked M-6-8 would have been
   16    the vehicle you were driving?
   17          A       Correct.
   18          Q       And the box marked M6-14, would have been
   19    the vehicle that Trooper Splain was driving?
   20          A       Correct.
   21          Q       Okay.    Can you just draw -- I just want to
   22    understand and you can draw right on top of that.
   23          A       Okay.
   24          Q       I just want to understand your movement



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    1    and the L approach.          So what I want you to do is,
    2    just draw a line of your movements out of the
    3    vehicle as you approached, as you maneuvered and
    4    then backed up?
    5           A      Well, want to show -- state for the
    6    record, that the actual positon of this vehicle was
    7    an outcome after the accident.               The incident did not
    8    occur when the vehicles were in this position.
    9           Q      So if I understand you correctly --
   10           A      Mr. Ardo's vehicle actually moved
   11    before -- after we extracted him from the vehicle.
   12    His vehicle was never put in park; it was still in
   13    drive the whole time.
   14           Q      Understood.
   15           A      Which explains to me the whole his vehicle
   16    was moving towards me and made me fear that he was
   17    going to run me over.
   18           Q      All right.       I don't want you to use that
   19    map.
   20           A      All right, okay.
   21           Q      Explain in more detail then.              So you got
   22    out of your vehicle on the left-hand side, facing
   23    Mr. Ardo's vehicle; correct?
   24           A      I get out from my car.



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    1          Q       On the driver's side?
    2          A       Yeah, the driver's side.
    3          Q       Facing head-on to the vehicle?
    4          A       Correct.
    5          Q       To Mr. Ardo's vehicle?
    6          A       Correct.
    7          Q       You realized that you were in crossfire?
    8          A       Correct.
    9          Q       Okay.    When you realized that, are you in
   10    a 12 o'clock position with the vehicle directly in
   11    front of you, with the head of the vehicle directly
   12    in front of you?
   13          A       Mr. Ardo's vehicle was directly in front
   14    of me, yes.
   15          Q       Okay.    And then you move to your right?
   16          A       Correct.      I move forward to the front of
   17    my vehicle, cut across to the right, and move up,
   18    which explains the imaginary L.
   19          Q       Okay, understood.
   20                         After Officer Splain pulled Anthony
   21    Ardo out of the vehicle, was the bomb still attached
   22    to him?
   23          A       Yes.
   24          Q       How was it attached?



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    1          A       It was attached to his neck.
    2          Q       With duct tape?
    3          A       I don't recall.
    4          Q       Okay.    Can you describe the bomb in more
    5    detail to me?
    6          A       It seemed like what is more commonly
    7    referred to as a mortar round.               It was round, and it
    8    was attached to his neck.
    9          Q       Round as in a ball?
   10          A       Say it again.
   11          Q       Round as in a ball or round as in like a
   12    cylinder?
   13          A       Round as in a ball.
   14          Q       Okay.    It had a fuse?
   15          A       Yes.
   16          Q       Was the bomb underneath his shirt?
   17          A       I don't remember exactly.
   18          Q       Okay.
   19          A       It was in that vicinity.
   20          Q       I've read somewhere that the fuse was
   21    inserted through his shirt?
   22          A       It might have been.          Like I said, I don't
   23    remember.
   24          Q       Okay, understood.         All right.



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    1          A       I believe he had a sweatshirt if I'm not
    2    mistaken.
    3          Q       Okay.
    4          A       Did he?     I'm not sure.
    5          Q       I'm not sure either.           We'll put that
    6    aside.
    7          A       I'm not sure anymore.
    8          Q       As you were approaching the vehicle, did
    9    you ever -- you said you saw movements?
   10          A       What -- you need to be more specific in
   11    whatever regards you're talking.
   12          Q       As you approached the vehicle, were you
   13    able to see into the vehicle -- strike that.                     At any
   14    point prior to the shooting, did you see Mr. Ardo
   15    put his hands up?
   16          A       No.
   17          Q       Okay.    So when you were saying you weren't
   18    sure if his hands were all the way up or by his
   19    sides, you were just trying to see generally whether
   20    they were even up?
   21          A       To clarify, when I came out the vehicle,
   22    he was doing -- he was doing what seemed like a
   23    shimmy, meaning he was moving his shoulders side to
   24    side.     At that point, I was under the assumption



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    1    that he was either trying to put his hands up
    2    tensely or above, but being that I wasn't able to
    3    see into the vehicle due to the weather, I was -- I
    4    was trying to get further clarification of what his
    5    actual movements were.
    6          Q       Okay.    So you were able to see his
    7    silhouette?
    8          A       Yes.    The whole hands up is my assumption
    9    at the time.
   10          Q       Okay.    But to be clear, you never saw his
   11    hands.
   12          A       Never saw his hands up.
   13          Q       Did you see his hands anywhere?
   14          A       I saw his hands on the lighter.
   15          Q       Okay.
   16          A       And on the fuse.
   17          Q       Okay.    And that's the first time you saw
   18    --
   19          A       That's the first time I saw his hands.
   20          Q       All right.       So prior to the lighter being
   21    ignited, illuminating the inside of the cab, the
   22    only extent that you could see of Mr. Ardo is his
   23    silhouette?
   24          A       At that time when I was next to him, all I



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    1    could see is the side of his head looking straight
    2    ahead, avoiding any eye contact with me.
    3          Q       Okay.    When did Anthony Ardo smile at you?
    4          A       When I got -- when I got close to him,
    5    what I described earlier about three to four feet.
    6          Q       And that smile was prior to the igniting
    7    of the lighter?
    8          A       It was concurrent.          It was simultaneously.
    9          Q       Okay.    And to be clear, he looked at you,
   10    made eye contact and smiled?
   11          A       Yes.
   12          Q       Okay.
   13          A       A maniacal smile, not the smile that -- a
   14    friendly smile, just to be -- clarify.                  Not that
   15    smile that you just had right now.
   16          Q       Why do you say -- why do you describe it
   17    that way?
   18          A       Because your smile looks friendly.                 His
   19    smile did not look friendly.
   20          Q       Okay.
   21          A       More like a Jack Nicholson in the Shining
   22    kind of smile.        Does that put it in perspective?
   23          Q       It does.
   24          A       Does the reference help?



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    1          Q       I'll have to go back and watch that.                 It's
    2    been a while.
    3          A       Okay.
    4          Q       All right.
    5                  MS. LE:     Anthony, this may be a good time
    6          to take a quick break.
    7                         (Discussion was held off the record.)
    8    BY MR. DIJIACOMO:
    9          Q       All right.       One more set of questions for
   10    you, basically involving deescalation techniques.
   11                         During your training, have you been
   12    trained on deescalation techniques generally?
   13          A       Generally, yes.
   14          Q       Okay.    Did those trainings involve
   15    deescalation techniques dealing with a suicidal
   16    individual?
   17          A       I believe so, yes.
   18          Q       Okay.    What techniques were you taught?
   19          A       It's just -- it's just -- it's not so
   20    straight-forward.         It's just take in the whole
   21    circumstances, and then you just -- just
   22    different -- different techniques based on the
   23    person -- the person, the problems, his behavior at
   24    the time, his motivations.             It's just -- I can't



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    1    give you a clear cut.           It's just based on my brief
    2    training and in my experience throughout the years
    3    of dealing -- it's just every circumstance is
    4    different.
    5          Q       Are there any general principles that you
    6    were taught to keep in mind?
    7          A       General principles in what sense?
    8          Q       Deescalation techniques, things to keep in
    9    mind, approaches, any type of general approaches?
   10          A       I can't -- I can't think of --
   11          Q       All right, understood.
   12                         In this incident, no deescalation
   13    techniques were performed; correct?
   14                  MS. LE:     Objection to the form.            You can
   15          answer.
   16                  THE WITNESS:       It was -- the situation did
   17          not dictate to go to that point.
   18    BY MR. DIJIACOMO:
   19          Q       And thus none happened?
   20          A       Yes.
   21          Q       Okay.    Not suggesting that they should
   22    have, just --
   23          A       Okay.
   24          Q       -- making baseline.



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    1          A       Uh-huh.
    2          Q       All right.       You somewhat already answered
    3    this next question, but give a full answer all the
    4    same.
    5                         In retrospect, looking back at the
    6    incident, were there any opportunities not taken
    7    that could have been taken to deescalate the
    8    situation?
    9          A       No.
   10          Q       Okay.    Looking back on the situation,
   11    prior to Anthony's arrival at the house, could you
   12    have taken any other approach to locate and
   13    deescalate his intentions?
   14          A       No.
   15          Q       Okay.    After Anthony's arrival, could you
   16    have taken any different approach to deescalate the
   17    situation but control it, other than the one you
   18    took?
   19          A       What do you mean "but control it"?
   20          Q       Well, for example, one approach would have
   21    been not to stop Anthony whatsoever, but that would
   22    have ran the risk of Anthony going elsewhere?
   23          A       It would have created a lot more risk than
   24    just going elsewhere.



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    1          Q       Okay.    So that's what I mean by
    2    controlling the situation.
    3                         Were there any other techniques, any
    4    other approaches you could have taken that would not
    5    have allowed Anthony to leave the property, but
    6    would not have caused you to approach Anthony
    7    directly and put yourself at risk?
    8          A       There was no other -- there was no other
    9    options at that time or in hindsight that would have
   10    -- that would have gone any other way.
   11          Q       Okay.
   12          A       Just to clarify, we attempted to give
   13    Anthony the option to leave the vehicle and come
   14    inside the house, making it a different, complete
   15    circumstance.
   16          Q       Meaning while you were still in the house,
   17    you had the opportunity to wait, expect Anthony to
   18    approach the house, and he choose to remain in his
   19    vehicle at that time?
   20          A       Meaning we were trying to separate Anthony
   21    from his vehicle to further reduce the risk of
   22    anything happening on a mobile vehicle.
   23          Q       Understood.       And your intention prior to
   24    Anthony's arrival was for him -- tell me your



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    1    intention.
    2                         What was the intention?
    3          A       My intention was for him to not see us.
    4          Q       Right.
    5          A       Come into the house not knowing we're
    6    there and detain him.
    7          Q       Okay.    Did you and Officer Splain have any
    8    discussion about whether to 302 him prior to his
    9    arrival?
   10          A       Yes.    When we were at the house, yes.
   11          Q       Was it your intention to perform a 302?
   12          A       My intention was to arrest him for the PFA
   13    violation.
   14          Q       Okay.
   15          A       And at that point, he will get the help
   16    needed.
   17          Q       Understood.       Through the process?
   18          A       Exactly.
   19          Q       Understood, all right.            I just want to
   20    confirm, when you and/or Officer Splain got out of
   21    the vehicle, the commends that were given consisted
   22    of put your hands up, show me your hands, get out of
   23    the vehicle, and/or get on the ground?
   24                  MS. LE:     Objection to form.



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    1                  THE WITNESS:       My commands were, let me see
    2          your hands.
    3    BY MR. DIJIACOMO:
    4          Q       And that's it from you?
    5          A       Yes.
    6          Q       Okay.    You had never ordered him to get
    7    out of the vehicle?
    8          A       No.
    9          Q       Okay.
   10          A       I have a process where -- where I go
   11    before I get to that point.
   12          Q       Step one is --
   13          A       Let me see your hands.
   14          Q       And once you see a suspect's hands, then
   15    you move on to the next step?
   16          A       Correct.
   17          Q       And thus, because you never saw his hands
   18    up, you never moved on to the next step?
   19          A       The next step would be deescalation, let
   20    me see your hands.
   21          Q       Okay.
   22          A       All right.       Carefully, slowly, open the
   23    window, open the car using your right hand, reaching
   24    across to the door handle from the outside.                    It



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    1    crosses the person over, so that way it doesn't
    2    allow him to, like, reach for the door, reach for
    3    something else.
    4                         So it kind of binds up the person and
    5    gives them -- puts them in a situation where I can
    6    better see his movements as far as getting him out
    7    of the vehicle safely.           Let me see your hands, what
    8    I just described.         Open hand using your right hand
    9    reaching across, open the door because now he has to
   10    put himself in a formation where he's facing me,
   11    open the door, slowly step out of the vehicle, turn
   12    your back against me, walk towards the sound of my
   13    voice, get on your left knee, get on your right knee
   14    with your hands behind your back, and then the next
   15    process will be me to approach and detain the person
   16    using handcuffs.         That's the deescalation process.
   17    One of them.
   18          Q       All right.       I think that's my last
   19    question.      There's an allegation in the complaint
   20    that either you or Officer Splain made a statement
   21    prior to leaving the house after -- presumably after
   22    Anthony arrived to the extent of --
   23          A       After the whole incident?
   24          Q       No, no, no.       Let me start over.          Let me be



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    1    more broad.       There's an allegation that there was a
    2    statement made by either you or Officer Splain more
    3    or less of, I hope we make it home to our families
    4    tonight.
    5                         Do you recall such a statement?
    6          A       I make that statement every time either
    7    myself or someone else is in a position where they
    8    might be seriously hurt.            You would have to clarify
    9    who made that statement or where.                Because I don't
   10    -- I don't think I've said it.               I believe Trooper
   11    Splain said it, but that's just normal.                  We make it
   12    home at the end of the day.             It's just -- it means
   13    nothing other than just be safe.
   14          Q       Yeah.
   15          A       Be safe on everything you do, whether it's
   16    a traffic stop, whether it's removing a deer carcass
   17    in the middle of an interstate where vehicles
   18    traveling at a minimum speed of 75, make it home at
   19    the end of the day.          Don't get hit by a car.             Think
   20    things through.        Be thorough.        Be safe.      That's all
   21    it means.
   22          Q       Understood.
   23          A       It's a general statement -- it's a general
   24    statement that encompasses a wide range of meanings.



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    1                  MR. DIJIACOMO:        Understood, all right.
    2          All right, I don't have any further questions.
    3          Thank you for your time today.
    4                                   -   -   -
    5                                EXAMINATION
    6                                   -   -   -
    7    BY MS. LE:
    8          Q       I just have a couple questions.
    9                         Sir, did you have something you
   10    wanted to say?
   11          A       No, I'll let you.
   12          Q       All right, okay.         Officer Pagan, you
   13    testified earlier that you -- regarding your
   14    discussions with Trooper Splain prior to providing
   15    the statement that you made on June 20th, 2017.
   16    You -- I believe your testimony was that you had
   17    discussed with him -- let me actually -- let me back
   18    up.
   19                         Regarding your discussions with
   20    Trooper Splain, you said, I believe you testified
   21    that you had talked to the Trooper on the day of the
   22    event and maybe the few days following the event; is
   23    that accurate?
   24          A       Yes.



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    1          Q       Okay.    What was the nature of your
    2    discussions with Trooper Splain?
    3          A       Like I explained earlier, we spoke a
    4    little bit about the tactical and the safety
    5    standards of our -- our actions during the scene,
    6    how we did everything possible to keep ourselves
    7    safe and minimize the situation, and thinking in
    8    hindsight, I forgot to mention Trooper Splain had
    9    been involved in a prior shooting in his career, and
   10    most of the conversations revolved around him giving
   11    me advice as to how to handle the stress, how not to
   12    bring -- family life, how it's going to affect me in
   13    the future, and how to go about myself and conduct
   14    myself professionally throughout the whole ordeal in
   15    that incident.        So that's mostly what the
   16    conversations went -- or consisted of.
   17          Q       Did you discuss with Trooper Splain during
   18    any of these conversations the events of the
   19    incident that occurred on May 20th, 2017, and by
   20    that, I mean, did you and he discuss anything along
   21    the lines of what do you remember happening, what do
   22    I remember happening, do you remember him saying
   23    this, do you remember me saying that?
   24                         Did you -- was your discussion with



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    1    Trooper Splain anything along those lines?
    2          A       No.    It was no questioning.            There was no
    3    doubting of our actions that day.                So we didn't
    4    speak in regards to, well, what did you hear?                     Did I
    5    do the right thing?          Or do you do the right -- do
    6    you think I messed up?           There was no doubt in our
    7    minds.     We weren't questioning our actions
    8    whatsoever.       It was more of him -- his advice, and
    9    furthermore, there was a lot of uncertainties with
   10    the district attorney's office and we were just more
   11    or less wondering how that's going to affect us, how
   12    long we're going to be on administration duty, how
   13    long it's going to take for them to get us back on
   14    the road, which is what we ultimately love doing.
   15    We love our jobs.         You know, we try to do it to the
   16    best of our abilities, but that was pretty much it.
   17          Q       You also testified earlier regarding the
   18    use of the MVR.        At the time, you testified that you
   19    have gained some knowledge about the MVR process
   20    after -- following this event.
   21                         At the time of the incident, did you
   22    believe that activating the MVR by use of the button
   23    on your microphone on your lapel as you described
   24    would activate the MVR in the same fashion as you



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    1    turning on your overhead lights or using the button
    2    on your steering wheel?
    3          A       Absolutely.
    4          Q       And you had activated your MVR in this
    5    manner with the button on your microphone, I believe
    6    you testified many times before?
    7          A       Correct.
    8          Q       Okay.    You -- testified earlier that
    9    having reviewed the MVR recording from your car for
   10    this incident after the fact, that you do -- you are
   11    aware that the MVR recording from your car starts
   12    after the first shot was fired in this case; right?
   13          A       Yes.
   14          Q       Okay.    Since after the incident, have you
   15    come to gain any understanding as to why the
   16    recording started after the first shot was fired?
   17          A       Yes.
   18          Q       Okay.    And what did you learn after the
   19    fact, just based on your understanding,
   20    understanding you're not an MVR expert?
   21          A       Okay.    Yeah, like she plainly stated, I'm
   22    not an MVR expect.          What I've come to learn is, when
   23    you shut down your vehicle, your MVR automatically
   24    starts a seconds countdown which equates to 30



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    1    minutes.      When we parked the car behind the
    2    residence, we shut off our cars obviously for our
    3    safety because we carry ammo and rifles and weapons
    4    in our car.       So the last thing we wanted to do was
    5    for not only Mr. Ardo or anyone else to have access
    6    to our vehicles and able to take our cars for a
    7    joyride, or, you know, worse take one of our
    8    weapons.      So we shut off the cars.            When we shut off
    9    the cars and went inside the house, the 30 minutes
   10    elapsed.      Once the 30 minutes elapsed in the
   11    countdown of the MVR, the MVR is completely shut
   12    down.     It's not recording after the fact or
   13    anything.
   14                         When you turn it back on using the
   15    key in the ignition manner, at that time, the MVR
   16    has to reboot and there's a period of time where the
   17    MVR has to reboot where nothing's being recorded no
   18    matter what buttons or lights you press.                   You have
   19    to wait for that rebooting process to complete its
   20    course.     And that's my understanding of how the MVR
   21    works and that's my understanding as to why the
   22    recording of the videos were after the first shots.
   23          Q       And that understanding that you just
   24    described now, is something that you came to learn



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    1    after this incident?
    2          A       Correct.
    3          Q       You did not understand that at the time?
    4          A       No.
    5          Q       And that rebooting process that you
    6    describe, is that what you were referring to earlier
    7    when you said it gets 60 seconds?
    8          A       Correct, the rebooting process.
    9                  MS. LE:     I don't have any further
   10          questions.
   11                                   -   -   -
   12                                EXAMINATION
   13                                   -   -   -
   14    BY MR. DIJIACOMO:
   15          Q       Did the conversations you had with Trooper
   16    Splain affect your testimony at all on June 20th,
   17    2017?
   18          A       No.
   19                  MR. DIJIACOMO:        Okay.     Nothing further.
   20                  (Deposition ended at 12:31 p.m.)
   21

   22

   23

   24



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    1                         C E R T I F I C A T E
    2

    3    COMMONWEALTH OF PENNSYLVANIA              :
    4                                              :       SS
    5    COUNTY OF PHILADELPHIA                    :
    6

    7

    8                                              I, ELIZABETH KELLY,
    9    Professional Reporter - Notary Public, within and
   10    for the Commonwealth of Pennsylvania, do hereby
   11    certify that the proceedings, evidence, and
   12    objections noted are contained fully and accurately
   13    in the notes taken by me of the preceding
   14    deposition, and that this copy is a correct
   15    transcript of the same.
   16

   17

   18

   19                                       ________________________
   20                                       ELIZABETH KELLY
   21                                       Professional Reporter
   22                                       Notary Public
   23

   24



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    1                    INSTRUCTIONS TO THE WITNESS
    2                          Read your deposition over carefully.
    3     It is your right to read your deposition and make
    4     changes in form or substance.               You should assign a
    5     reason in the appropriate column on the errata
    6     sheet for any change made.
    7                          After making any changes in form or
    8     substance which have been noted on the following
    9     errata sheet along with the reason for any change,
   10     sign your name on the errata sheet and date it.
   11                          Then sign your deposition at the
   12     end of your testimony in the space provided.                     You
   13     are signing it subject to the changes you have
   14     made in the errata sheet, which will be attached
   15     to the deposition before filing.                You must sign it
   16     in front of a witness.            Have the witness sign in
   17     the space provided.           The witness need not be a
   18     notary public.        Any competent adult may witness
   19     your signature.
   20                          Return the original errata sheet to
   21     your counsel promptly.            Court rules require filing
   22     within thirty days after you receive the
   23     deposition.
   24



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    1                            ERRATA SHEET

    2     Attach to Deposition of: Officer Eddie Pagan
          Taken on:   August 22, 2019
    3     In the matter of: Estate of Anthony Ardo v. Pagan, et al.

    4     PAGE            LINE NO.          CHANGE              REASON

    5     ___________________________________________________

    6     ___________________________________________________

    7     ___________________________________________________

    8     ___________________________________________________

    9     ___________________________________________________

   10     ___________________________________________________

   11     ___________________________________________________

   12     ___________________________________________________

   13     ___________________________________________________

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   15     ___________________________________________________

   16     ___________________________________________________

   17     ___________________________________________________

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   19     ___________________________________________________

   20     ___________________________________________________

   21     ___________________________________________________

   22     ___________________________________________________

   23     ___________________________________________________

   24     ___________________________________________________




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    1                              SIGNATURE PAGE
    2

    3                                    - - -
    4

    5                           I hereby acknowledge that I have
    6     read the aforegoing transcript, dated August 22,
    7     2019, and the same is a true and correct
    8     transcription of the answers given by me to the
    9     questions propounded, except for the changes, if
   10     any, noted on the Errata Sheet.
   11

   12                                    - - -
   13

   14

   15

   16

   17     SIGNATURE:           _______________________
                               OFFICER EDDIE PAGAN
   18

   19     DATE:                _______________________
   20

   21     WITNESSED BY:        _______________________
   22

   23

   24



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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                 - - -
         ANGELO ARDO               : CIVIL ACTION
                and                :
         JEAN MONAGHAN,            :
         individually and as       :
         personal representative/ :
         administrator of the      :
         estate of her son, ANTHONY:
         ARDO,                     :
                                   :
                    Plaintiffs,    :
                                   :
                vs.                :
                                   :
         OFFICER EDDIE PAGAN in his:
         individual capacity as a :
         Pennsylvania State Police :
         Trooper                   :
                 and               :
         OFFICER JAY SPLAIN in his :
         individual capacity as a :
         Pennsylvania State Police :
         Trooper,                  :
                                   :
                    Defendants.    : NO. 5:18-cv-05217-EGS

                                       - - -

                   ORAL DEPOSITION OF OFFICER JAY SPLAIN
                         FRIDAY, AUGUST 23, 2019
                                   - - -



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    1                                     - - -
    2

    3                 Oral deposition of OFFICER JAY SPLAIN,
    4    taken at the Pennsylvania Office of Attorney General,
    5    1600 Arch Street, Suite 300, Philadelphia,
    6    Pennsylvania, on Friday, August 23, 2019, commencing
    7    at 10:10 a.m., before Andrea M. Brinton, Certified
    8    Court Reporter and Notary Public.
    9                                     - - -
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    1                                   I N D E X
    2    WITNESS                                                             PAGE
    3    OFFICER JAY SPLAIN
    4    EXAMINATION
    5                 By Mr. DiJiacomo                                            5
    6
                                           - - -
    7

    8                               E X H I B I T S
    9                                                               PAGE FIRST
         EXHIBIT NO.         DESCRIPTION                            REFERENCED
   10
         Exhibit A           Pennsylvania State Police                            8
   11                        Rights Warning and Waiver and
                             Trooper Jay Splain Interview
   12
         Exhibit B           Homicide Investigation Action                        33
   13                        Report
   14

   15                                      - - -
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    1                 (By agreement of counsel, the sealing,
    2    certification and filing are waived; and all
    3    objections, except as to the form of the question,
    4    are reserved until the time of trial.)
    5                                     - - -
    6                 OFFICER JAY SPLAIN, after having been first
    7    duly sworn, was examined and testified as follows:
    8                                     - - -
    9                                 EXAMINATION
   10                                     - - -
   11     BY MR. DiJIACOMO:
   12          Q.     Good morning, sir.
   13          A.     Good morning.
   14          Q.     Again, for the record, my name's Anthony
   15    DiJiacomo.      I represent the Estate of Anthony Ardo
   16    and his parents, of course, in the lawsuit against
   17    you and Officer Pagan.
   18                        Thank you for being here this morning.
   19    I just want to go over a few, I guess, procedural
   20    ground rules, if you would, to make sure things go
   21    smoothly today.
   22          A.     Okay.
   23          Q.     As I ask you questions, in the same way you
   24    did in your testimony before, just be sure you make



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    1    your responses verbal.           It's very natural to nod the
    2    head or to give guttural responses at times, but just
    3    for the record's sake, so we can make sure it's an
    4    affirmative versus negative response, make sure
    5    they're verbal; fair enough?
    6          A.     Got it.
    7          Q.     All right.       I do not expect us to be here
    8    long; likely, less than an hour, in fact.
    9                        With that said, if there's any point
   10    in time where you need to take a break to use the
   11    bathroom or talk to your attorney, just let me
   12    know --
   13          A.     Okay.
   14          Q.     -- okay?
   15                        I may ask you to answer a pending
   16    question first, but we'll play it by ear.
   17                        Do you understand that you're under
   18    oath and it has the same weight or meaning as if you
   19    were before a judge and a jury?
   20          A.     I do.
   21          Q.     Okay.     And you're doing a fantastic job of
   22    letting me get the full question out, and I'll try to
   23    do the same for you as we go.              If there's any point I
   24    interrupt you and you need to respond further, just



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    1    tell me; okay?
    2          A.      Okay.
    3          Q.      The most important thing today is not to
    4    guess.     If there's something you don't recall, just
    5    tell me, because I appreciate it's been some time.
    6                         And then I guess the last thing I
    7    should tell you is if there's a question I ask you,
    8    and likely it will happen, that just doesn't make
    9    sense or you don't understand it, just tell me and
   10    I'll try and give you a better question; okay?
   11          A.      Got it.     Yes.
   12          Q.      We will assume, though, that if you answer
   13    a question, that you understood it; fair enough?
   14          A.      Fair.
   15          Q.      Okay.    I understand that you gave a
   16    deposition -- well, you gave a statement that was
   17    transcribed and videotaped --
   18          A.      Yes.
   19          Q.      -- concerning the underlying incident on
   20    June 16th, 2017.
   21          A.      Yes.
   22          Q.      And just to confirm the date, I'm going to
   23    show you a document.
   24                         MR. DiJIACOMO:        Let's mark it



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    1          as Exhibit A.
    2                        (Exhibit A marked for
    3    identification.)
    4    BY MR. DiJIACOMO:
    5          Q.     The transcript that I'm referencing, that's
    6    marked as Exhibit A, do you recall giving this
    7    statement?
    8          A.     I do.
    9          Q.     Okay.     And I'll say it's extremely
   10    detailed, and I appreciate that.               It will make today
   11    much quicker.
   12                        Is the statement that you provided on
   13    June 16th, 2017 accurate and truthful?
   14          A.     Yes.
   15          Q.     Okay.     Were any statements therein given
   16    accurate, but with any intent to mislead?
   17          A.     No.
   18          Q.     Okay.     The statement that you gave on June
   19    16th, 2017 was approximately 27 days or so after the
   20    incident; correct?
   21          A.     Correct.
   22          Q.     And when I say incident, we both understand
   23    I'm referring to the May 20th, 2017 police
   24    shooting --



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    1          A.     Correct.
    2          Q.     -- involving Anthony Ardo?
    3          A.     Yes.
    4          Q.     Okay.     First, do you have an understanding
    5    as to why there was such a length of time between the
    6    incident and your transcript -- and your statement?
    7          A.     Well, that was the first time that I had
    8    been asked to provide a statement, and as far as -- I
    9    can only guess why it took that long --
   10          Q.     Don't guess.
   11          A.     -- so I'm not going to guess.
   12          Q.     That's perfect.
   13                        But the first time the homicide
   14    investigative officers reached out to you to schedule
   15    a statement was for that date?
   16          A.     Correct.
   17          Q.     Understood.
   18                        Okay.     Between the time of the
   19    incident and your statement, did you have any
   20    discussions with Trooper Pagan concerning the events
   21    of the underlying incident?
   22          A.     Yes, only in generalities, though.
   23          Q.     How so?
   24          A.     Well, we discussed, you know -- I just



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    1    wanted to -- I would reassure him that, you know,
    2    hey, we did everything by procedure, by policy, you
    3    know, you don't have anything to worry about; and I
    4    wanted to reassure him, you know, that he did a good
    5    job at the scene, you know, the way he handled
    6    himself.
    7                        I explained to him how the process
    8    works, and -- but my main goal was to not get too
    9    much into the details of the incident itself, because
   10    I wanted to preserve the integrity of the
   11    investigation.
   12          Q.     Okay.     For context, you were involved in a
   13    police shooting prior to this incident; correct?
   14          A.     Correct.
   15          Q.     And to your understanding, Trooper Pagan
   16    was not ever prior involved in a police shooting.
   17          A.     That's correct.
   18          Q.     Okay.     So to the extent that you were
   19    giving advice or discussing the incident, it's your
   20    testimony that it concerned general guidance
   21    concerning the process and how to deal with it.
   22          A.     Yes.
   23          Q.     Okay.     Was there any discussion about
   24    comparing recollections of the incident?



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    1          A.     I know just initially the only thing I
    2    really remember was the day that it happened, the day
    3    of the incident, he -- initially he didn't remember
    4    if he fired or not, and I told him, I'm like, no, I'm
    5    pretty sure you fired.
    6                        But other than that difference in
    7    recollection, I don't recall anything else
    8    discussion-wise we had about specifics of differences
    9    of recollections.
   10                        That was the -- that was the main
   11    thing, is just he's like -- he's like, I -- I fired?
   12    You know, did I shoot?           And I was, like, yeah.           But
   13    other than that, we didn't -- that was about as
   14    specific as it got.
   15          Q.     Okay.     Did you have any discussion
   16    concerning or confirming whether the other had seen
   17    Anthony Ardo ignite the lighter?
   18          A.     Not -- no, not that I recall.
   19          Q.     Okay.     All right.       In advance to providing
   20    your statement on June 16th, did you review any type
   21    of evidence?
   22          A.     Yes.
   23          Q.     All right.       What was that?
   24          A.     The MVR recording.



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    1          Q.     And just to make sure we're on the same
    2    page, the MVR recording is the video footage from the
    3    vehicles?
    4          A.     Yes.
    5          Q.     Okay.     Who provided you, to your
    6    understanding, authorization to view the video?
    7          A.     I want to say it was probably the criminal
    8    unit supervisor at the station, which would have been
    9    Corporal Blair Talijan, but he might have -- and I'm
   10    guessing here.        I'm assuming he would have had to
   11    have -- had to get the station commander, which would
   12    have been Sergeant O'Malley, he probably would have
   13    gotten his permission just to make sure that he -- it
   14    was all right with him.
   15                        But, again, I don't know who actually,
   16    if you want to say, signed off on it or approved it,
   17    I just know that I asked if I would be able to review
   18    it before providing my statement.
   19          Q.     Okay.     For context, O'Malley is the --
   20    forgive me for terms, but he's in charge of the
   21    Belfast barracks?
   22          A.     Yes, he -- he was -- let's see.               By the
   23    time -- the date of the incident, he was not.                    The
   24    current station commander, which would have been



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    1    Sergeant Joseph Sparich, he was on his way out, he
    2    was transferring -- promoting out, and then -- but we
    3    did know at that time that Sergeant O'Malley was
    4    going to be the one moving in to -- taking over
    5    Sergeant Sparich's position as station commander.
    6                        And then I think -- I'm pretty sure by
    7    then -- by the time that I did give my statement in
    8    June, Sergeant O'Malley was there as the station
    9    commander.      So, yeah, it should have been Sergeant
   10    O'Malley.
   11          Q.     Understood.
   12                        Do I understand correctly that you
   13    requested -- you personally requested to view the MVR
   14    footage?
   15          A.     Yes.
   16                        MS. LE:      Objection to form.
   17                        If I object to form, you can
   18          ignore me and answer the question if you
   19          understand.
   20    BY MR. DiJIACOMO:
   21          Q.     For the record, I just wanted to make sure
   22    you had context.
   23                        What was the purpose of you viewing
   24    the MVR footage in advance of this statement?



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    1          A.     My purpose I wanted to see the footage in
    2    advance to give my statement was because there had
    3    been -- you know, it was about a month time that had
    4    elapsed and -- since the incident, and I just wanted
    5    to make sure that before I gave my official statement
    6    in a homicide investigation, that my memory was
    7    serving me correctly and matched up with the MVR.
    8                        And, you know, that's -- I didn't want
    9    there to be any surprises or lapse in memory on my
   10    part that would make me look like I was giving a
   11    false statement, you know, falsely remembering things
   12    or anything like that.
   13          Q.     In your June 17th, 2017 statement, you made
   14    a note that after viewing the MVR footage, you had
   15    realized you had shot six shots, as opposed to your
   16    memory serving you as four or five.
   17          A.     Yes.
   18          Q.     Besides that -- besides that, were there
   19    any other -- did the MVR footage help you recall any
   20    other facts that you wouldn't have otherwise?
   21          A.     No.    Reviewing the MVR footage then just
   22    reaffirmed that my memory of the event was solid and
   23    it did match up.
   24                        But there's no surprises after



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    1    reviewing the MVR footage that made me go, oh, wow, I
    2    forgot about that.         There's nothing like that.
    3          Q.     All right.       Understood.
    4                        All right.       I just want to go through
    5    pieces of the incident just for clarification,
    6    because I need it.         Again, I appreciate the statement
    7    you gave before.
    8                        Did you -- did you personally hear
    9    Anthony, during the various phone calls between
   10    Anthony and his mother, make any statement concerning
   11    a gun?
   12          A.     Yes.
   13          Q.     Okay.     Which -- during which phone call --
   14    let me back up.
   15                        How many phone calls did you hear?
   16          A.     I believe it was three.
   17          Q.     Okay.
   18          A.     Yeah.
   19          Q.     So you were present for all three phone
   20    calls?
   21          A.     Yes.
   22          Q.     Okay.     Understood.
   23                        To your recollection, did Anthony
   24    mention a gun in more than one phone call?



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    1          A.     The mention of the gun was just during the
    2    first phone call between him and his mother right
    3    after I had arrived at the residence.
    4          Q.     And what's your recollection of the
    5    statement he made at the time?
    6          A.     He had said that -- he had said something
    7    to the effect that he could get a gun by tomorrow and
    8    he would just blow his head off.
    9          Q.     Did Anthony give a time frame, do you
   10    remember?
   11                        MS. LE:      Objection to form.
   12                        THE WITNESS:        Yeah, I'm pretty
   13          certain that I remember him saying "by
   14          tomorrow."
   15    BY MR. DiJIACOMO:
   16          Q.     Okay.     Okay.     Understood.
   17                        During those three phone calls, what
   18    do you recall Anthony saying about a bomb?
   19          A.     He had said that he would have a -- a bomb
   20    strapped around his neck loaded with nails, and that
   21    if -- if his mom was tricking him or if this was some
   22    sort of ruse to get him to come to the house, he
   23    would blow himself up and make her watch, and if
   24    there was any police presence, he would blow himself



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    1    up.
    2          Q.     Did you overhear Anthony make any threat to
    3    blowing up others, in addition to himself, if it was
    4    a ruse?
    5          A.     No, he never specifically mentioned anyone
    6    else.
    7          Q.     Okay.     All right.       So over the phone calls,
    8    the threats that you heard concerning a gun and a
    9    bomb were all threats of self harm?
   10          A.     I'd like to argue that when he mentioned
   11    the nail bomb, that at that point, you know, that's
   12    what set off the biggest red flag in my mind, was
   13    that, you know, a nail bomb is not a weapon that's
   14    intended to hurt just one person.               In this case, it
   15    would have been just Anthony.
   16                        That's something that's designed
   17    purposefully to create mass casualty, based on, you
   18    know, the nails being shrapnel, just flying
   19    360 degrees and don't care who or what they hit,
   20    so --
   21          Q.     Understood.       Okay.     So -- understood.
   22                        Okay.     My understanding is that after
   23    the third phone call in which Anthony explicitly made
   24    the threat of a bomb including the nails, you had



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    1    radioed back to the station stating the same.
    2          A.     Yes.
    3          Q.     My understanding, though, is at that point,
    4    there wasn't any request for assistance; is that
    5    accurate?
    6          A.     That's correct.
    7          Q.     Okay.     Why not?
    8          A.     There was only four of us working at that
    9    point.     Two of us were -- myself and Trooper Pagan
   10    were already tied up with this incident, we had no
   11    one else that was anywhere close, there were still
   12    other police calls -- calls for police service
   13    currently happening at that time, and I felt like
   14    Trooper Pagan and I had the situation under control
   15    at that point.
   16                        I mean, if I would have thought at
   17    that point that we needed more assistance, I would
   18    have certainly asked for it.
   19          Q.     Did you think that the threat of the bomb
   20    was, for lack of a better term, serious?
   21                        No, let me rephrase that.             I don't
   22    like that word.        Legitimate.
   23          A.     At the point where I heard Anthony saying
   24    it, I remember thinking to myself, I'm hoping that



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    1    he's just blowing smoke and just trying to terrorize
    2    his mom, but then once the conversation with his
    3    mother ended, then I immediately asked her if she had
    4    any knowledge of him ever playing with explosives or
    5    setting off pipe bombs or building bombs or anything
    6    like that, and the look of concern that was on her
    7    face after I asked her that and her hesitation before
    8    answering the question, in which she did finally say,
    9    well, he does play with fireworks a lot, that's
   10    when -- it was at that point that I was like, this --
   11    I'm going to have to take this as a legitimate bomb
   12    threat until proven otherwise.
   13          Q.     But you didn't call for any type of bomb
   14    squad, EMT or other type of backup.
   15          A.     No, because we had no idea where the bomb
   16    or Anthony was at at that point, so calling somebody
   17    there at that point is -- they're going to -- they're
   18    going to ask, okay, well, where's it at?                  And I'm
   19    going to say, I don't know yet.              And they're going to
   20    say, okay, once you have a location, then call us
   21    back.
   22          Q.     Is there value, in your opinion, to calling
   23    and putting them on standby?             And I realize I'm
   24    asking 20/20 questions, all right, backward-looking,



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    1    I appreciate that.
    2          A.     No, because it's not really going to change
    3    the facts and circumstances that we had right there
    4    at that moment in time.
    5                        You know, it's something that, you
    6    know, if they're needed, you call them as soon as you
    7    definitely know that they're needed, and at that
    8    point, we didn't have a definite need for them, so --
    9          Q.     Okay.     In the course of your career, have
   10    you ever had to deal with a bomb, an actual bomb
   11    threat, other than with Anthony Ardo?
   12          A.     Let me think.        I think there was a bomb
   13    threat at one of the schools, yeah.                Yeah, but that
   14    was the only -- that's the only thing that comes to
   15    recollection right now as far as a bomb threat.
   16          Q.     Were you involved in responding to that?
   17          A.     Yes.
   18          Q.     Again, forgive me for lack of good terms,
   19    but were you one of the officers in charge of
   20    responding to that?
   21          A.     No.
   22                        MS. LE:      Object to form.
   23    BY MR. DiJIACOMO:
   24          Q.     Okay.     A supporting officer, then?



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    1          A.     Yes.
    2          Q.     Okay.     In the situation we're discussing,
    3    was any type of bomb specialist called in?
    4          A.     You're referring to the school bomb threat?
    5          Q.     The school bomb, yes.
    6          A.     I -- I don't recall.           I know I don't
    7    remember ever seeing any of the bomb -- our bomb
    8    technicians at that call, but, you know, I don't know
    9    if they were called and placed on standby or
   10    anything.      I don't know.        I don't have that
   11    information, sorry.
   12          Q.     Understood.       Final follow-up question about
   13    that.    In the school bomb threat situation -- nix it.
   14    Never mind.
   15                        I'm jumping around.           There was a point
   16    in time after Anthony was shot in which you opened
   17    the door and pulled Anthony out.
   18                        Do you have a memory, from those
   19    observations during that time period, of how the bomb
   20    was attached to Anthony?
   21          A.     Yes.
   22          Q.     How so?
   23          A.     He had a -- there's a hole in the -- just
   24    underneath the collar of the shirt he was wearing.



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    1    It was like a waffle knit, like a thermal, like a
    2    long john --
    3           Q.    Okay.
    4           A.    -- type material shirt, long-sleeved, and,
    5    you know, there was a hole just underneath the
    6    collar, right in the front center.
    7                        And the fuse was passed through the
    8    hole and then, like, tied in the -- I don't know if
    9    it was a knot or just, like, a once -- like, a
   10    crossover on itself and pulled so that it was -- it
   11    was affixed to his shirt collar.
   12           Q.    If I understand you correctly, the bomb was
   13    underneath the shirt, then?
   14           A.    No, it was --
   15                        MS. LE:      Object to form.
   16                        THE WITNESS:        It was exposed on
   17           the outside of his shirt.
   18    BY MR. DiJIACOMO:
   19           Q.    So the fuse, if I understand correctly,
   20    went from the bomb, through the shirt and then back
   21    out?
   22           A.    Yes.
   23           Q.    Okay.     Okay.     I'm not going to ask you to
   24    walk through the shooting, I'm just going to be a



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     1   little more pointed to get to the point.
     2                       There's a point in time where you
     3   shoot the initial six shots; correct?
     4          A.    Correct.
     5          Q.    And it was in response to -- well, instead
     6   of me putting words in your mouth, what was it in
     7   response to?
     8                       Why did you shoot the first six shots?
     9          A.    Because Anthony attempted to light the --
    10   the bomb.
    11          Q.    And you were able to see the lighter;
    12   correct?
    13          A.    Yes.
    14          Q.    And --
    15          A.    Well, no, let me --
    16          Q.    Go ahead, please.
    17          A.    I didn't see the lighter, I saw the
    18   flame --
    19          Q.    Okay.
    20          A.    -- emitting from his clenched fist.
    21          Q.    Okay.     Were you able to see the flame or
    22   illumination?
    23          A.    I saw the flame.
    24          Q.    Okay.     Were you able to see the fuse?



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     1          A.    No, not from where I was standing.
     2          Q.    Okay.     But based on the prior threat,
     3   Officer Pagan's eyes responding and the response of
     4   yes to your question of is there something there, or
     5   something along those lines, you had a fear that the
     6   flame was lighting a fuse.
     7          A.    Yes.
     8          Q.    Okay.     And, thus, you took the six shots.
     9          A.    Yes.
    10          Q.    All right.       And I have understanding of why
    11   six, so we won't go there.
    12                       What I want to understand is the
    13   thought process from after the first six shots to
    14   including why the following three shots were taken.
    15   So walk me through that part.
    16          A.    At that point, after the first six shots,
    17   Anthony had -- had disappeared from my line of sight.
    18   I had no idea at that point whether any of my first
    19   six shots had struck him or incapacitated him, and so
    20   I was beginning to approach the car to get closer to
    21   try and get a visual on Anthony, and it was at that
    22   point that he immediately, what I perceived to be
    23   aggressively, sat straight back up like there was
    24   nothing wrong with him.



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     1                       He didn't have his hands up in the
     2   air, he didn't -- there was no statements from him,
     3   about all right, all right, I give up, and so at that
     4   point, he was still just as much of a threat, because
     5   I still could not see his hands, and that's why I was
     6   still in very much fear of my life and being blown up
     7   that I took the follow-up three shots.
     8          Q.    When -- let me just go through that.
     9                       When Anthony Ardo fell out of sight,
    10   am I correct in understanding that he was sitting up
    11   and then went to his right, towards the passenger's
    12   seat?
    13          A.    Yes.
    14          Q.    And then came back up?
    15          A.    Yes.
    16          Q.    Okay.     When Anthony came back up, did you
    17   see his hands?
    18          A.    No.
    19          Q.    Okay.     At any point in time did you see a
    20   gun, Anthony possess a gun?
    21          A.    No.
    22          Q.    At any point in time did you see Anthony
    23   possess anything that made you think he had a gun?
    24          A.    No.



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     1          Q.    Okay.     Between the six shots and the three
     2   shots, did you see any flame or illumination inside
     3   the vehicle?
     4          A.    No.
     5          Q.    Okay.     Between the six shots and the three
     6   shots, did you give any verbal commands?
     7          A.    I don't recall.         I don't even know if I had
     8   time to, it happened so quick.              I don't remember if I
     9   gave him any commands in that brief period or not.
    10          Q.    I'll represent to you that from watching
    11   the footage, I did not see or hear any commands in
    12   between those three -- between the six and the three.
    13                       To the extent you're willing to accept
    14   that, why didn't you give any commands after you saw
    15   Anthony go down and come back up?
    16          A.    At that point I was still so concerned that
    17   I couldn't see him and I didn't know what he was --
    18   what he was doing inside the vehicle, that I just --
    19   I -- I guess I didn't think about trying to give him
    20   commands.
    21                       I was just trying, as quickly as
    22   possible, get eyes on him to try to determine what
    23   the level of threat still was at that point.
    24                       And, also, my mind was pretty



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     1   preoccupied at that point with thinking, holy crap,
     2   you know, I'm -- I was just waiting for the boom and
     3   the flash and, you know, for it to all be over, and I
     4   was -- that was -- that's what was going through my
     5   mind, for the most part, at that point.                  So I might
     6   not have thought to give him more commands, other
     7   than the -- you know, after the initial ones I had
     8   given him.
     9                       I think I was also, looking back at it
    10   now, probably thinking that, you know, he knows now
    11   that, you know, we're not -- we're not kidding around
    12   here.    You know, he should be thinking, holy shit,
    13   the police just shot at me multiple times.
    14                       You know, any reasonable person at
    15   that point is going to either stay down and say -- at
    16   least just take cover or at least say, you know, all
    17   right, I give up, I give up, don't shoot, you know,
    18   something to that effect.            You know, with there being
    19   none of that, I just -- he was still a threat.
    20          Q.    Prior to the final three shots -- let me
    21   just confirm.
    22                       Well, your position, we can see it on
    23   the video, but we can't see exactly your perspective.
    24          A.    Uh-huh.



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     1          Q.     The instant prior -- or, I guess, really,
     2   at any point between the six shots and the three
     3   shots, were you able to see Anthony Ardo's face?
     4          A.     No.
     5          Q.     Okay.    We know you weren't able to see his
     6   hands; right?
     7          A.     Correct.
     8          Q.     Okay.    Were you looking, essentially, over
     9   Anthony's left shoulder?
    10          A.     At exactly which point in time are we
    11   talking about?
    12          Q.     The instant -- yeah, thank you.
    13                        The instant before the three shots,
    14   what angle, I guess, essentially, did you have of
    15   Anthony?
    16          A.     I believe at that point I had initially
    17   started to side-step to my right.                I was going to
    18   make an approach to the passenger's side of the car
    19   then, but then I think I only took, like, one, maybe
    20   two steps, and then it hit me, hey, if I end up
    21   putting myself on the passenger's side of the car,
    22   I'm going to be putting myself in a crossfire
    23   situation with Trooper Pagan's current position.
    24                        So then I reversed myself and decided



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     1   to just approach on the driver's side.                 It was -- you
     2   know, I only had enough time to take those, like, one
     3   or two steps and then come back, and that's when he
     4   popped right back up and I fired the three shots.
     5          Q.    Okay.     All right.
     6          A.    So, sorry, maybe I didn't quite answer your
     7   question about looking over his left shoulder.
     8                       That was your question; correct?
     9          Q.    More or less, yes.
    10          A.    You know, I mean, I would say I was on an
    11   angle, you know, between -- it would have been
    12   between, like, directly behind him and just slightly
    13   offset to his -- what would have been his left side,
    14   so --
    15          Q.    Okay.     All right.       I appreciate the fear of
    16   the bomb through this incident, but did you also --
    17   did you have any fear of him having a gun on him?
    18          A.    Yes, that was in the back of my mind as
    19   well.
    20          Q.    Okay.     All right.       I believe in your
    21   statement you had said while you were waiting in the
    22   house for Anthony to arrive, you were running through
    23   various scenarios.
    24          A.    Yes.



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     1          Q.     Okay.    And at that point in time, your
     2   intent was for Anthony to come into the house, and
     3   then approach and stop him inside the house.
     4          A.     Yes.
     5          Q.     Okay.    While you were waiting and running
     6   through the scenarios, did you run through scenarios
     7   to the extent Anthony didn't exit his vehicle?
     8          A.     I want to say I don't specifically recall
     9   that scenario, but knowing how I think and Officer
    10   Pagan thinks, I'm -- I can say with pretty good
    11   certainty that I'm sure that was one of the
    12   possibilities we discussed.
    13          Q.     When you had parked your vehicles, I think
    14   there was an acknowledgment or a discussion about
    15   parking them end-to-end in case you had to pull out
    16   quickly.
    17          A.     Yes, back-to-back.
    18          Q.     Back-to-back, yes.
    19                        And that was for the purpose if
    20   Anthony decided to, more or less, make a run for it.
    21                        MS. LE:     Object to form.
    22                        THE WITNESS:       That was for
    23          if -- for any reason if we needed to get
    24          out of there as quickly as possible, that



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     1          was the most tactically sound way to park
     2          the vehicles.
     3   BY MR. DiJIACOMO:
     4          Q.    Okay.     What I'm leading up to, more or
     5   less, is did you have considerations of alternative
     6   approaches to controlling Anthony, other than
     7   bringing your vehicles and stopping his vehicle, to
     8   the extent Anthony didn't leave his vehicle?
     9                       MS. LE:      Objection to form.
    10   BY MR. DiJIACOMO:
    11          Q.    I can restate that if it's confusing.
    12          A.    Yeah, if you don't mind, please.
    13          Q.    While running through the scenarios or in
    14   preparation of Anthony's arrival, to the extent you
    15   considered the possibility that Anthony would not
    16   exit his vehicle, did you consider any alternative
    17   approaches to what you did?
    18          A.    Not that I recall.
    19          Q.    Okay.     Did you have concern in waiting for
    20   Anthony to arrive, that if he didn't get out of his
    21   vehicle and you had to stop him, you would be putting
    22   yourself within a range of the bomb?
    23          A.    Yes, that's a -- that was a concern.
    24          Q.    Did you consider any alternatives to avoid



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     1   that concern?
     2          A.    No, I didn't -- at the time, I didn't
     3   really see any other way around it, and my greater
     4   concern at that point, too, was that if he did have a
     5   bomb and went mobile, you know, there was a -- the
     6   town of Bangor is very close by, and my concern is
     7   keeping the situation as contained as possible to
     8   that rural area around the residence, where there
     9   would be less likelihood of innocent casualties -- or
    10   civilian casualties.
    11                       So, yeah, no, my main focus was
    12   keeping him in that location.
    13          Q.    Okay.     Based on your experience, your
    14   training, were there any alternative -- any type of
    15   de-escalation techniques that you could have used,
    16   but didn't, in trying to calm down Anthony before you
    17   approached?
    18          A.    There are de-escalation techniques, but in
    19   my opinion, based on how rapidly the situation was
    20   evolving and Anthony's choices, we didn't have an
    21   opportunity to try and have a discussion with him.
    22                       That was initially where I thought it
    23   was going when we had him at gunpoint, were giving
    24   him simple commands, he's not obeying them.                   I'm



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     1   like, okay.      I'm thinking, all right, we're going to
     2   have a barricade subject in the vehicle and it's
     3   going to be, like, a standoff, but before I could
     4   even finish processing those thoughts is when the
     5   lighter came into play, and that was the
     6   game-changer, so --
     7          Q.    Okay.     All right.       Let's see here.        I just
     8   want to show you one document and then we'll wrap it
     9   up.
    10                       MR. DiJIACOMO:         Can we mark
    11          this as Exhibit B.
    12                       (Exhibit B marked for
    13   identification.)
    14   BY MR. DiJIACOMO:
    15          Q.    And, sir, first, I'll represent to you that
    16   this was a document that was exchanged during the
    17   course of discovery.          For the record, it's marked as
    18   Defendant 77, and I think it speaks for itself, but I
    19   will tell you it was part of the homicide
    20   investigation report.
    21                       Have you ever seen this document
    22   before?
    23          A.    No.
    24          Q.    Okay.     Would you just read through it for a



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     1   moment.
     2          A.    Sure.
     3          Q.    Tell me when you're done.
     4          A.    Okay.
     5          Q.    I understand you didn't see this document
     6   before.     Were you generally aware of the findings
     7   therein?
     8          A.    Yes.
     9          Q.    Okay.     Do you have any reason to dispute
    10   those findings?
    11          A.    No.
    12          Q.    Okay.     Based on your observations of
    13   Anthony's movements, did you form an opinion or do
    14   you have an opinion as to the three shots that hit
    15   Anthony, whether they were within the first six shots
    16   that were shot or the final three shots?
    17                       MS. LE:      Objection to form.
    18                       THE WITNESS:        So just to make
    19          sure I understand your question, you're
    20          asking if, based on my knowledge at that
    21          time of the incident, in the moment --
    22   BY MR. DiJIACOMO:
    23          Q.    No.
    24          A.    Okay.



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     1          Q.     Sitting here today --
     2          A.     Okay.
     3          Q.     -- considering what you know here today --
     4          A.     Yes.
     5          Q.     -- knowing Anthony went down and came back
     6   up, your observations of how Anthony reacted after
     7   the final three shots, your observations of pulling
     8   Anthony out, is it fair to say that the final three
     9   shots were the three shots that penetrated Anthony
    10   Ardo?
    11                        MS. LE:     Objection to form.
    12                        THE WITNESS:       Yeah, I don't --
    13          I don't feel that I can answer that based
    14          on -- I have -- I have -- I have no
    15          idea -- no way of knowing which one of my
    16          rounds, at which point, struck him.
    17                        All I know is that rounds that
    18          I fired did strike him, whether it was
    19          during the first six or the second three.
    20                        I do know that during the last
    21          three rounds that I fired, I remember
    22          do -- I do remember seeing him kind of
    23          slump down then and remain motionless at
    24          that point.       So at that point I could



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     1          only -- I assumed that at least one of
     2          those three rounds had struck him.
     3   BY MR. DiJIACOMO:
     4          Q.     But whether or not one of the first six
     5   struck him, you couldn't tell?
     6          A.     Yes, that I have no idea.
     7                        MR. DiJIACOMO:        Understood.
     8                        All right.       All right.       I do
     9          not have any further questions at this
    10          point.
    11                        MS. LE:     I have no questions.
    12                        MR. DiJIACOMO:        All right.
    13          Thank you, sir.         I appreciate you coming
    14          in today.
    15                        (Deposition concluded at
    16   10:52 a.m.)
    17

    18

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     1                              CERTIFICATION
     2                                    - - -
     3                I hereby certify that the testimony and the
     4   proceedings in the aforegoing matter are contained
     5   fully and accurately in the stenographic notes taken
     6   by me, and that the copy is a true and correct
     7   transcript of the same.
     8

     9

    10

    11

    12
                               -----------------------------
    13
                               Andrea M. Brinton, Certified
    14                         Court Reporter and Notary Public
    15

    16

    17

    18

    19                The foregoing certification does not apply
    20   to any reproduction of the same by any means, unless
    21   under the direct control and/or supervision of the
    22   certifying reporter.
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     1        INSTRUCTIONS TO WITNESS FOR READING & SIGNING
     2            Read your deposition over carefully.                 It is
     3   your right to read your deposition and make changes
     4   in form or substance.          You should assign a reason in
     5   the appropriate column on the errata sheet for any
     6   change made.
     7            After making any changes in form or substance
     8   which have been noted on the following errata sheet
     9   along with the reason for any change, sign your name
    10   on the errata sheet and date it.
    11            Then sign your deposition at the end of your
    12   testimony in the space provided.               You are signing it
    13   subject to the changes you have made in the errata
    14   sheet, which will be attached to the deposition
    15   before filing.        You must sign it in front of a
    16   witness.     Have the witness sign in the space
    17   provided.      The witness need not be a notary public.
    18   Any competent adult may witness your signature.
    19            Return the original errata sheet to your
    20   counsel promptly.         Court rules require filing within
    21   30 days after you receive the deposition.                  Counsel is
    22   asked to send a copy of the errata sheet to Summit
    23   Court Reporting for our records.
    24



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     1                               ERRATA SHEET
     2   Attach to Deposition of:            OFFICER JAY SPLAIN
     3   Taken on:      August 23, 2019
     4   In the Matter of:         Angelo Ardo, et al. vs. Officer
                                   Eddie Pagan, et al.
     5

     6   PAGE       LINE NO.            CHANGE                   REASON
     7   ---------------------------------------------------
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    23   ---------------------------------------------------
    24   ---------------------------------------------------



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     1                           SIGNATURE PAGE
     2

     3                                  - - -
     4

     5                I hereby acknowledge that I have
     6   read the aforegoing transcript, dated August 23,
     7   2019, and the same is a true and correct
     8   transcription of the answers given by me to the
     9   questions propounded, except for the changes, if any,
    10   noted on the errata sheet.
    11

    12                                  - - -
    13

    14

    15

    16   SIGNATURE: ------------------------------
                    OFFICER JAY SPLAIN
    17

    18   DATE: -------------------
    19

    20   WITNESSED BY: ------------------------
    21

    22

    23

    24




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                        September 17, 2019



            UNITED STATES DISTRICT COURT
      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


___________________________________

ANGELO ARDO, et al.                :
                                   :          CIVIL ACTION
         Plaintiff                 :
                                   :          NO. 18-5217
         -VS-                      :
                                   :
 OFFICER EDDIE PAGAN, et al.       :
                                   :
         Defendant                 :
____________________________________

                          * * * * *

               TUESDAY, SEPTEMBER 17, 2019

                          * * * * *

          Oral deposition of JEAN MONAGHAN, was taken
at the Office of Attorney General, 1600 Arch Street,
Philadelphia, Pennsylvania, before Renee Schumann, a
Notary Public of the State of New Jersey and Notary
Public of the Commonwealth of Pennsylvania, on the
above date, commencing at 10:50 a.m.

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7             DIRECT EXAMINATION BY MS. LE                 4
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                                                                             Page 4
1                              * * * * *
2                    (It is agreed by and between counsel
3            that reading, signing, sealing, filing, and
4            certification are hereby waived and all
5            objections, except as to the form of the
6            questions, are reserved until the time of
7            trial.)
8                              * * * * *
9                    JEAN MONAGHAN, having been duly sworn
10           according to law, was examined and testified
11           as follows:
12                             * * * * *
13                        DIRECT EXAMINATION
14                             * * * * *
15   BY MS. LE:
16           Q.      Ms. Monaghan, I'll introduce myself for
17   the record, even though we met outside.           My name is
18   Kathy Le, I am with the Commonwealth Office of
19   Attorney General.      I'm representing the defendants in
20   this case, Troopers Splain and Pagan.          This is a
21   lawsuit that you have brought on behalf of the Estate
22   of your son, Anthony Ardo; is that right?
23           A.      Uh-huh, yes.
24           Q.      Ms. Monaghan, have you ever been


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                                                                             Page 5
1    subject to a deposition before?
2            A.      Never.
3            Q.      Okay.    So I'll give you a few ground
4    rules and instructions as to how a deposition goes.
5    So I will be today asking you a series of questions
6    and I ask that you allow me to fully complete my
7    question before you start your answer.           It's very
8    natural in a conversation to anticipate what the rest
9    of my sentence is and start answering, but for the
10   sake of the record the court reporter who is here
11   taking down everything we say, I ask that you allow
12   me to fully complete my question before you start
13   your answer and I will do the same for you.
14                   Do you understand?
15           A.      Yes.
16           Q.      I also ask you again for the sake of
17   the record to answer all of my questions audibly
18   versus a nod of the head.       If your answer is yes, so
19   you actually say yes versus uh-huh or some other type
20   of guttural reaction.
21                   Do you understand that?
22           A.      Yes.
23           Q.      I don't anticipate that we are going to
24   be here very long today, but if at any time you need


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1    a break, I'll be happy to give you one.           I only ask
2    that you complete whatever my last question was
3    before we take a break.
4                    Do you understand?
5             A.     Yes.
6             Q.     If at any time you don't understand one
7    of my questions because it's poorly worded or it's
8    confusing, feel free to ask me to rephrase it, and if
9    you answer my question I will assume that you
10   understood it.
11                   Do you understand that?
12            A.     Yes.
13            Q.     Okay.    So, Ms. Monaghan, you were of
14   course -- you contacted the State Police on May 20,
15   2017 in relation to your son, Mr. Ardo; is that
16   right?
17            A.     Yes.
18            Q.     And what was your purpose for
19   contacting the State Police on that date?
20            A.     He was in a bad way and I was just
21   trying to get him help.
22            Q.     And you spoke to an individual, I don't
23   know if you remember his name, PCO Bailer a couple of
24   times in the morning of May 20, 2017.          Do you recall


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1    that?
2             A.     If that was the State Police barracks,
3    then yes, I did.
4             Q.     Okay.    We have recordings of the call
5    that you made with PCO Bailer, so I'm not going to
6    ask you to go over that.       Was your intention in
7    calling that day to try to have the State Police I
8    believe you said pick him up and get him some help?
9             A.     Yes.
10            Q.     And the State Police did send out two
11   state troopers to your house; is that right?
12            A.     Yes.
13            Q.     And that would be Trooper Splain and
14   Pagan?
15            A.     Yes.
16            Q.     Following the incident on that date,
17   you gave a statement to the State Police
18   investigator; is that right?
19            A.     Yes.
20            Q.     Was that an individual named Mr. Everk?
21            A.     Yes.    I believe he was with the State
22   Police in Bethlehem; is that correct?
23            Q.     Yes, that is my understanding.
24                   There was also, to my knowledge,


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1    another State Police individual during that interview
2    present.     Do you recall that, there were two State
3    Police individuals present for your interview?
4            A.      I don't remember that, I only remember
5    the one.
6            Q.      During of the course of this
7    litigation, defendant produced to your counsel a
8    large number of documents, part of which included the
9    transcript of your interview with Trooper Everk on
10   the day of the incident, May 20, 2017.
11                   Did your counsel show that transcript
12   to you prior to your deposition today?
13           A.      No.
14           Q.      Okay.    Did you meet with -- and I don't
15   want to know the nature of your conversation, but did
16   you meet with your counsel to prepare for this
17   deposition today?
18           A.      Yes.
19           Q.      And, again, without revealing the
20   content of those conversations, did your counsel show
21   you any documents in order to prepare for the
22   deposition today?
23           A.      No.
24           Q.      Did you ask to see that -- the


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1    transcript of your interview with the State Police
2    from May 20th?
3            A.      No.
4            Q.      Okay.    At any time prior to today, have
5    you seen a copy of the transcript from your interview
6    with the State Police on May 20th?
7            A.      I chose not to, no.
8            Q.      Okay.    Why did you choose not to see
9    that?
10           A.      I understood it to be very graphic and
11   it's very difficult to relive.
12           Q.      I understand.      Understanding that you
13   have not seen the transcript and I understand why,
14   between then, May 20, 2017 and now, are there things
15   that you believe you want to correct from the
16   statement that you gave the State Police on that
17   date?
18           A.      Not that I'm aware of.
19           Q.      Okay.    In addition to the statement
20   that you gave the State Police on May 20, 2017, did
21   you also provide testimony to a grand jury in
22   relation to the incident?
23           A.      Yes, I did.
24           Q.      Do you believe -- again, understanding


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1    you never looked at the transcript of that
2    interview --
3            A.      Yes.
4            Q.      -- do you believe the testimony that
5    you gave to the grand jury is consistent with the
6    testimony that you gave in your interview with the
7    State Police?
8            A.      Yes.
9            Q.      Did you -- are you aware that at the
10   start of this lawsuit, to kickoff this lawsuit, a
11   document called a complaint was filed with the court
12   which lays out your allegations against the troopers
13   in this case?
14           A.      Yes.
15           Q.      Okay.    Did you -- that document was
16   filed by your lawyers, correct?
17           A.      I believe so.
18           Q.      Did you assist your lawyers in setting
19   out the allegations, the factual allegations in that
20   complaint?    Let's rephrase.
21                   Let me ask you this:        Did you have any
22   opportunity to review the allegations in that
23   complaint before it was filed?
24           A.      No.


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1            Q.      To your knowledge, were the allegations
2    in that complaint based on information that you gave
3    them as to what happened?
4            A.      I would assume so.
5            Q.      I just want to ask you about one of the
6    specific allegations in that complaint.           In that
7    complaint, paragraph 26, it states that the troopers,
8    I'll quote, "hitting him," meaning your son, "six
9    times which plaintiff Monaghan witnessed."
10                   Do you recall that you witnessed the
11   state troopers actually firing shots at your son?
12           A.      Oh, firing shots, yes, I was at the
13   window, yes.
14           Q.      According to your statement to the
15   State Police on May 20, 2017, you said that you
16   turned away from the window because you didn't want
17   to see -- you thought that your son was lighting up
18   whatever was around his neck and that you didn't want
19   to see that, and so therefore, you didn't actually
20   see the shots fired?
21           A.      I did see the shots fired.         I was in
22   the window the whole time.        I was on the phone with
23   my son.
24           Q.      Is it your statement today that at no


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1    point did you turn away from the window?
2            A.      No.
3            Q.      Just to clarify, no, you didn't turn
4    away from the window?
5            A.      No, I did not.
6            Q.      Is there a reason why the statement you
7    gave the State Police on May 20th you said that you
8    did turn away from the window?
9            A.      I don't recall that.        I turned away
10   from the window after they shot him.          Then I went
11   back into the great room, but the only thing I saw
12   was they were screaming at him and then they just
13   started shooting.
14           Q.      Is it your testimony today that on May
15   20, 2017 you understood that at the time that you
16   gave the interview to the State Police that Trooper
17   Pagan and Splain had shot your son?
18           A.      I may -- it was so far beyond my
19   comprehension that they would do something like that.
20   Now, you know, I called them for help, I didn't call
21   them for them to kill him.
22           Q.      At some point in time, did you believe
23   that your son had lit an explosive device that was
24   around his neck?


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1            A.      No.
2            Q.      At some point in time, did you believe
3    that he actually had some type of explosive device
4    around his neck?
5            A.      He did say that on the phone that he
6    had something that he would blow his head off.
7            Q.      When you refer to that he said that on
8    the phone, was that prior to his arrival at your
9    house or was that while he was on the phone with you
10   sitting out in the driveway?
11           A.      I think he mentioned that before he
12   arrived at the house and then when he parked in front
13   of the house, he did say that to me on the phone.
14           Q.      Okay.    So prior to his arrival at the
15   house, he said that he had an explosive device?
16           A.      He had a firecracker.
17           Q.      Is it your recollection today that he
18   said he had a firecracker or that he had some type of
19   explosive?
20           A.      He did not mention the explosive.           He
21   just said he would blow his head off.
22           Q.      So prior to his arrival at your house
23   he mentioned that he was going to blow his head off?
24           A.      To my knowledge.


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1            Q.      That was on a phone call with you?
2            A.      That's correct.
3            Q.      Okay.    Please continue.
4            A.      But I believe the state troopers heard
5    that also.
6            Q.      Yes.    Okay.   Did you have -- was this a
7    phone call during which -- let me rephrase.
8                    Was this a phone call with your son in
9    which you had the phone on speakerphone?
10           A.      Yes.
11           Q.      And the two troopers were in your home
12   at the time?
13           A.      Yes.
14           Q.      And it's your impression that they
15   heard that statement as well, that he would blow his
16   head off?
17           A.      Yes.
18           Q.      Then I believe you just testified that
19   when your son arrived at your house and was sitting
20   in his car, he was on his phone with you again, and
21   he, again, mentioned that he would blow his head off,
22   something to that effect?
23           A.      Something to that effect, if he saw
24   police officers.


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1            Q.      Do you recall if your impression on
2    that date was that he was actually getting ready to
3    light whatever explosive may have been around --
4            A.      Not to my knowledge.
5                              * * * * *
6                    (Whereupon, Exhibit-1 was marked for
7            identification.)
8                              * * * * *
9    BY MS. LE:
10           Q.      Ms. Monaghan, I'm handing you what has
11   been marked by the court reporter as Exhibit-1 for
12   your deposition.     This is a transcript of the
13   interview that you gave to the State Police on May
14   20, 2017, and understanding that it's painful for you
15   to have to relive this, I just need to clarify.
16           A.      Do you need me on a page on here?
17           Q.      Yes.    First of all, I'm sure your
18   counsel will tell you as well, any time you're handed
19   an exhibit, you should feel free to take as much time
20   as you need to review the entire exhibit if you so
21   wish.   I will direct you to certain portions.
22                   So if you could, just turn to page 16,
23   you'll see at the bottom in the middle of every page
24   there is a page number, if you turn to page 16 of the


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1    transcript.    In the second portion where you provide
2    testimony you'll see on the left is the name of the
3    person speaking.     In the second section where you
4    provide testimony in the big paragraph, if you could
5    please read that?
6            A.      I'm sorry, say that again.
7            Q.      If you could read the paragraph at the
8    top that begins your testimony where you say yeah,
9    and then what happened was, that block of testimony,
10   if you could read that to yourself?
11           A.      (Witness complies.)
12                   There's a little confusion here.
13           Q.      Okay.
14           A.      There were two police officers there.
15   They had two police cars that were behind the pool
16   that could not be seen from the roadway, and then
17   what happened was from that time Tony was still in
18   the car and the police officers came -- there were
19   two driveways.     There were two driveways coming out
20   to the front of the house which is like right here.
21                   They boxed him in there and then they
22   got out of their car and the only thing they just
23   started shouting at him and then they started firing
24   at him.


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1             Q.     So here where you say at the end of
2    your testimony and he said okay, mom, and he ignited
3    that thing and all I heard were the things exploding,
4    they were trying to get him out of the car.
5             A.     They did not try to get him out of the
6    car.
7             Q.     This is a statement that you gave on
8    May 20, 2017.     Is there a reason why you are changing
9    your statement between May -- the day that the
10   incident occurred and today?
11            A.     I'm not sure I'm changing my statement.
12   My eyes will never forget what I saw.          I was in shock
13   over this whole thing and I may have said the wrong
14   thing.
15            Q.     Here also you state that, and he said
16   okay, mom and he ignited that thing and all I heard
17   were the things exploding.        At the time that you gave
18   this statement, it appears that your impression was
19   that he ignited whatever it was?
20            A.     That was my impression.        I did not
21   think that the police officers that I called for
22   help -- I couldn't even process something like that
23   happening.
24            Q.     Okay.    So your impression on May 20,


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1    2017 when you gave this statement was that he
2    quote/unquote ignited that thing?
3            A.      Yes.
4            Q.      Okay.    Now, you also testified later
5    down the page that you stated all I heard the officer
6    screaming, show me your hands, show me your hands.
7    Do you recall -- sitting here today, do you recall
8    them saying show me your hands, show me your hands?
9            A.      Show me your hands, get out of the car.
10   Show me your hands, get out of the car.           They said
11   that three or four times.
12           Q.      Okay.    Now, again, one line down from
13   what I just read, you testified on May 20, 2017 I
14   couldn't see in the car, but I was by the window.             I
15   had to then, I just turned around and ran back
16   because I knew what he was doing.         So here this
17   testimony you gave on May 20, 2017 you said -- you
18   turned around and you ran back into the house?
19           A.      I was already in the house by the
20   window.
21           Q.      Right.
22           A.      Like I said, I could not process what
23   they were doing out there.        I took it to say that he
24   may have carried out what he was talking about, but


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1    he was in such a depressed state and when the police
2    officers got there, they didn't try to help him.
3            Q.      Let me ask my question in a little bit
4    better way.    It appears from your testimony on May
5    20, 2017 that I just read that you turned away from
6    the window facing back inside the house versus out
7    the window as you originally stated.          Is that an
8    accurate testimony that you gave on May 20, 2017,
9    that you turned away from the window?
10           A.      I don't believe I did, you know, I just
11   don't believe I did.      I saw them shoot him.        Again,
12   may I speak again.      At that point, like I said, it
13   wasn't even in my thought process that they would
14   shoot him.    They made no attempt to get him out of
15   the car.     He didn't have a weapon.
16           Q.      Okay.    I'm sorry, I didn't mean to cut
17   you off.
18           A.      That's okay, I just wanted to clarify
19   that.
20           Q.      Of course.     At any point today, please
21   feel free to clarify anything you need to say.
22           A.      Uh-huh.
23           Q.      Did you have more or are you done at
24   this point?


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1            A.      Yes.
2            Q.      All right.     So sitting here today, your
3    recollection is that you witnessed the troopers
4    firing their weapons?
5            A.      Yes.
6            Q.      Is it possible sitting here today that
7    you actually learned of the troopers firing their
8    weapons during your interview with the interviewer,
9    Mr. Everk?
10           A.      I don't believe so.
11           Q.      Why do you believe that that was not
12   the situation?
13           A.      Because I witnessed it.        You just don't
14   forget something like that.
15           Q.      If you would turn to page 17 in that
16   transcript there, about halfway down the page you
17   testified and the police -- the police couldn't be
18   any nicer, they did have their pistols drawn.            I
19   can't confirm the fact that they shot.           I don't know
20   that because I heard that going off in the car and I
21   just couldn't look at him like that.
22                   So my question is seeing that testimony
23   that you gave on May 20, 2017, does that refresh your
24   memory that perhaps at the time you gave this


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1    statement you were not aware that the State Police
2    had fired their weapons?
3            A.      Correct, but I couldn't believe that
4    they would do that only because of the circumstances.
5    They knew Tony at that time was suicidal and they
6    made no attempt to help him.
7            Q.      Again, just for the sake of the record
8    to clarify it, having read this testimony that you
9    gave on May 20th, you now recall that at the time you
10   gave this statement you were not aware that the State
11   Police had fired their weapons?
12           A.      Obviously not at that time.
13           Q.      You came to learn that they fired their
14   weapons?
15           A.      I think it was -- like I said, for them
16   to be there and that was not in my thought process
17   that they were going to shoot him.
18           Q.      Of course.     Here your testimony is that
19   the police couldn't have been any nicer on the date
20   of the incident when you gave this testimony.            Do you
21   recall if your impression on that date was that the
22   troopers were trying to assist your son?
23           A.      They were in my house for an hour.
24   Whether they were going to assist him, I don't know


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1    what they were thinking, but the one trooper came in
2    the front door and he was fooling around with the
3    window curtain and he said I don't want to get shot
4    in the back, I have a family to go home to.            How
5    insensitive is that?
6                    And not only that, in my opinion I
7    believe he had an anxiety level, and, you know, I
8    have my own thoughts about that.
9             Q.     At what point do you recall feeling
10   that one of the troopers had an anxiety level?
11            A.     Well, when he said that to me, he said
12   I have a family to go home to, I don't want to get
13   shot in the back and Tony didn't have a weapon.
14            Q.     At what point do you recall him making
15   that statement during the time that he was at your
16   house?
17            A.     As soon as he came in the door.
18            Q.     Do you recall which of the two troopers
19   made that statement?
20            A.     It was a tall dark haired guy, thin,
21   slight build.
22            Q.     Do you recall if the two troopers
23   arrived at the same time?
24            A.     No.


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1            Q.      Was it the trooper who arrived first or
2    second that made the statement?
3            A.      Second.
4            Q.      I'll represent to you that the trooper
5    who arrived second was Trooper Splain just to make it
6    easier for reference.
7            A.      Okay.
8            Q.      Is it your impression sitting here
9    today that you weren't sure what the two troopers
10   were doing at your house that day?
11           A.      I was sure I called them, I called them
12   for help.
13           Q.      Did the two troopers give you any
14   impression that they were not there to help?
15           A.      I don't understand that.         What do you
16   mean that they were not there to help.           Did I get the
17   impression that they wanted to help him?
18           Q.      Let me rephrase my question.
19                   So you called the State Police --
20           A.      Uh-huh.
21           Q.      -- to get assistance for your son?
22           A.      Uh-huh.     Yes.
23           Q.      And that assistance included you wanted
24   them to bring him in for a potentially an involuntary


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1    commitment?
2            A.      Correct, yes.
3            Q.      And earlier in your call to the State
4    Police you had asked the State Police to try to track
5    him so that they could bring him in?
6            A.      Yes.
7            Q.      When Troopers Pagan and Splain arrived
8    at your home during the time that they were there,
9    did they give you the impression that they were
10   trying to do anything other than bring your son in
11   for an involuntary commitment as you asked?
12           A.      No, I wouldn't know what they were
13   thinking because they were in another front room.
14           Q.      Were they speaking with you throughout
15   the time that they were at your home?
16           A.      Not totally.
17           Q.      Were there portions of the time that
18   they were at your home where they were speaking with
19   you?
20           A.      I believe the one trooper, I can't
21   remember who it was, but I believe one of the
22   troopers had said that -- well, they were here, they
23   were in my house for at least an hour and, of course,
24   they said well, we can't stay here all day.


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1             Q.     Is it your impression -- let me ask
2    you:   Sitting here today, what is your impression of
3    the two troopers' demeanor during the time that they
4    were in your home?
5             A.     I just don't feel that they tried to
6    help the situation.      I believe they could have called
7    for someone to talk to him or help him get out of the
8    car because he never did.       So I mean -- I can't make
9    an assumption of what kind of frame of mind they were
10   in only because I was very upset over the whole
11   thing.
12            Q.     Okay.
13            A.     I don't believe they tried to help.
14            Q.     Why do you believe that they didn't try
15   to help?
16            A.     They were in my house when I saw them
17   flying out of the front door and, of course, they
18   came around and trapped Tony in there and they didn't
19   try to get him out of the car and he never got out of
20   the car once he hit the farm.        So, you know, all they
21   did was they just started screaming at him.
22            Q.     Had they discussed with you prior to
23   your son's arrival that they were going to try to
24   wait for him to come into the house to apprehend him?


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1            A.      That's correct, yes.
2            Q.      Do you recall if once your son arrived
3    at the house that they were waiting for him to get
4    out of the car but only left the house to stop him
5    when they saw him moving the car?
6            A.      He didn't move the car.
7            Q.      Were you standing at the window
8    watching his car during this time when he was there?
9            A.      Yes.
10           Q.      Prior to the police leaving the house?
11           A.      Yes.
12           Q.      Okay.    So your recollection is that
13   your son didn't move the car at any point while he
14   was sitting in the driveway?
15           A.      No.
16           Q.      Okay.    So do you have -- were you going
17   to say something?
18           A.      May I say something?
19           Q.      Of course.
20           A.      The car was running at the time and
21   then the two police officers, one was behind and one
22   was in the front and then of course once they shot
23   him, they drug him out of the car and laid him on the
24   roadway.     At that time because the car was still


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1    running, it moved up to the tree which was -- it
2    moved maybe two feet and then it stopped on the
3    mulch.
4             Q.     Now at the time you gave your statement
5    on May 20, 2017 to Trooper Everk, you stated that you
6    couldn't -- you were looking out the window but you
7    couldn't see actually into your son's car; is that
8    correct?
9             A.     That's correct, yes.
10            Q.     But you could see where the troopers
11   were positioned in relation to your son's car,
12   correct?
13            A.     That's correct.
14            Q.     Sitting here today, you testified that
15   you felt -- you feel that the troopers were not
16   trying to help your son on that date --
17            A.     Yes.
18            Q.     -- is that right?
19            A.     That's correct.
20            Q.     Other than the fact that they did not,
21   as you described it, try to get him out of the car
22   when he arrived, is there anything else that they did
23   or said during the time that they were with you that
24   gives you that belief that they weren't trying to


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1    help your son?
2            A.      Right.    I don't believe they were there
3    to help him.    Only through their own actions.
4            Q.      What I'm trying to get at is what did
5    they do and say -- excuse me -- that gave you the
6    impression that they weren't there to help him?
7            A.      I don't believe they said anything to
8    me because, like I said, both police officers were in
9    the front room and I was in the great room.            What
10   they talked about among themselves, I don't know.
11           Q.      Did, at some point, they try to ask you
12   to get your son to come to the house so they could
13   bring him in?
14           A.      Yes.
15           Q.      At that time when they asked you to do
16   that, did you think that was a good idea?
17           A.      Well, I knew he needed help and at that
18   time I thought it would work if they could get him
19   and take him for help.
20           Q.      So at the time when they asked you to
21   do that, did you have any impression that they were
22   trying to do anything other than get him to your
23   house to try to bring him in to get help?
24           A.      I didn't have that thought only


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1    because, like I said -- it was so far beyond my
2    thought process, I asked them for help.
3            Q.      So at the time that they asked you to
4    try to get him to the house, your belief was that
5    they could get him to the house so they could help
6    him?
7            A.      Yes.
8            Q.      And it was only since you found out
9    later that they shot him that your impression has
10   changed?
11           A.      Yes.
12           Q.      Did you, on May 20, 2017, during the
13   time that the two troopers, Splain and Pagan, were in
14   your home, do you recall if you told the troopers
15   that your son did -- have experience with fireworks?
16           A.      I wouldn't, at that time, have any
17   reason to assume that, you know, the only thing I
18   heard was that he had something around his neck.
19           Q.      Let me rephrase my question.          Putting
20   aside the explosive around his neck statement, you're
21   aware that your son worked with and/or sold fireworks
22   with his cousin; is that right?
23           A.      I was aware of that.
24           Q.      And that he had some fireworks in his


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1    room on that date of May 20, 2017?
2            A.      Yes.
3            Q.      Do you recall that you told Troopers
4    Splain and Pagan that your son did have some
5    fireworks and was experienced with fireworks, not
6    explosives but fireworks?
7            A.      I don't recall that.
8            Q.      You don't recall telling them that?
9            A.      Right.
10           Q.      Do you recall the two troopers asking
11   you whether or not -- scratch that.
12                   You testified earlier that during the
13   one of the calls with your son while the two troopers
14   were in your home that he mentioned that he was going
15   to blow his head off?
16           A.      Yes.
17           Q.      And that the two troopers heard that,
18   you believe they heard that?
19           A.      I believe, I can't say yes or no to
20   that.
21           Q.      Do you recall that one or both of the
22   troopers asking you after that phone call whether
23   your son had any experience with explosive devices?
24           A.      There's a little bit of difference with


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1    explosive devices as opposed to fireworks.
2            Q.      Yes.
3            A.      I said fireworks.
4            Q.      You recall one of them asking you about
5    fire explosive devices?
6            A.      Pardon me, I knew he had fireworks,
7    yes.
8            Q.      Okay.
9            A.      Whether they asked me that or not, I
10   don't recall that.
11           Q.      Do you recall telling Mr. Everk during
12   your interview that your son did have experience with
13   fireworks?
14           A.      I may have, I don't recall.
15           Q.      Do you recall that the fireworks were
16   -- some of the fireworks that your son had experience
17   with were what's known as M-80s or quarter sticks?
18           A.      I have no experience with that.          I'm a
19   baby boomer.    I used fireworks with the little
20   sparklers.    I mean, I have no knowledge of what they
21   did or what they could do.
22           Q.      Following the incident on May 20, 2017,
23   did you have any other contact with either Trooper
24   Pagan or Trooper Splain?


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1            A.      After that time period?
2            Q.      Yes.
3            A.      No.
4            Q.      Do you have any knowledge or
5    information that Trooper Pagan had any part in
6    investigating the incident that happened on May 20th?
7            A.      I don't know that.
8            Q.      Okay.    So you would have no knowledge
9    or information that Trooper Pagan had any part in
10   deciding who should investigate that situation?
11           A.      That's correct, I don't know.
12           Q.      And can the same be said you have no
13   knowledge or information that Trooper Splain had any
14   involvement in the investigation of the incident?
15           A.      No.
16           Q.      Is it your understanding and belief
17   that Trooper Pagan and Trooper Splain were at your
18   house on May 20, 2017 as a part of their duties as
19   Pennsylvania State Troopers?
20           A.      I believe that or else I wouldn't have
21   called them.
22           Q.      Okay.
23           A.      Whether they followed through as
24   professionals, I disagree with that, they did not.


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1            Q.      I understand.      Why do you believe that
2    they did not follow through as professionals?
3            A.      They rushed on him, they ran out of the
4    house, they got in their cars and then they started
5    firing.    They had no conversation with him at all and
6    then they said he lit a lighter and they started
7    shooting.
8                    I just don't -- as a mother, I just
9    don't believe that they took the time that they
10   should have taken to try and talk him out of the car
11   or just try to talk to him in some way to get him to
12   realize what was going on.        They made no attempt to
13   do that.
14           Q.      What do you think they should have done
15   differently?
16           A.      I think they should have maybe tried to
17   get a suicide prevention counselor there.           They had
18   an hour to do that because they knew he was coming
19   back to the farm.      Don't they carry Tasers?        They
20   were not threatened in any way, he just didn't get
21   out of the car.
22           Q.      Understanding that you couldn't see
23   into the car and you don't have any knowledge, but
24   since you say that they were not threatened in any


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1    way, if it's true that as the troopers say that they
2    saw your son, you know, turn on a lighter and
3    believed him to be lighting some type of device that
4    they saw around his neck, just assuming that that's
5    -- understanding you don't know if that's true or
6    not, if that's what they saw from their vantage
7    point, do you believe that it would have been
8    reasonable for them to fear they were in danger if
9    they saw something around your son's neck after the
10   statement he made and lit a lighter?
11            A.     There is a whole roadway there, they
12   could have got in their vehicles and just split or
13   moved away from the car.
14            Q.     Do you recall that one of the troopers
15   was, you know, maybe just feet from the driver's side
16   of your son's car?
17            A.     They were both on the driver's side.
18            Q.     Your recollection is that both were on
19   the driver's side?
20            A.     One was in the back, one was in the
21   front.
22            Q.     Do you recall how close the trooper was
23   who was in the front was to the car?
24            A.     Just a couple of feet, they both were


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1    just a couple of feet away from him.
2            Q.      So if Trooper Pagan stated that what
3    they saw was, as they were just a few feet from the
4    car, they saw something strapped around your son's
5    neck and he had a lighter that he clicked on and was
6    about to or let me say the lighter came on and it was
7    very close to whatever he had around his neck.
8                    Do you believe at this point for the
9    troopers to be fearful that they were in danger?
10           A.      Not if there were exits for them to
11   take.   There were three people -- well, there were
12   plenty of people on the farm, but I saw nothing
13   around his neck.      The one girl in the barn passed him
14   to go get her horses and saw nothing around his neck
15   and the eyewitness, Bob Cruts, saw nothing around his
16   neck.
17           Q.      You previously stated that you could
18   not see into the car?
19           A.      That's correct.
20           Q.      Do you recall Mr. Cruts was as close to
21   your son's vehicle as to the two troopers?
22           A.      No.
23           Q.      Do you recall where he was when he
24   witnessed --


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1            A.      He was in his apartment.
2            Q.      How far away from the car would you say
3    that is?
4            A.      Maybe about 20, 25 feet.
5            Q.      Do you recall from his vantage point
6    what direction he would have been looking at the car,
7    for example, would he have been looking at the back
8    of the car, the passenger side or directly into the
9    front of the car?
10           A.      His apartment is elevated so at that
11   point he could only see the back of the car.
12           Q.      Okay.    So he didn't have a view of your
13   son directly?
14           A.      Correct.
15           Q.      Okay.    You said the other witness,
16   you're referring to Lori?
17           A.      Yes.
18           Q.      Also saw your son?
19           A.      Yes.
20           Q.      Okay.    Do you recall how close she was
21   to your son?
22           A.      The car was in front of a yard and the
23   driveway was right there.       I mean she had to be maybe
24   two feet away from him because she said good morning


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1    Tony, how are you doing and he answered.
2            Q.      Do you recall what angle she was
3    looking into the car?
4            A.      Coming from behind.
5            Q.      So she was behind the car?
6            A.      She approached the car from behind.
7            Q.      And then did she pass by the driver's
8    side of the car, to your knowledge?
9            A.      Yes.
10           Q.      And you said that she passed by within
11   two feet of the car?
12           A.      Yes.
13           Q.      Do you have any knowledge whether or
14   not she looked into the car when she spoke to your
15   son?
16           A.      I can't answer that, I don't know.
17           Q.      So when you said that she didn't see
18   anything around your son's neck, do you have any
19   knowledge that she actually looked at your son and
20   she didn't see or did she just tell you I don't
21   recall seeing anything?
22           A.      I don't think I even talked to her
23   about that.
24           Q.      How do you know she didn't see


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1    anything?
2            A.      I guess I don't know.
3            Q.      Are you aware of any witness stating
4    that they actually were able to see your son at that
5    time while he was sitting in the car on that day and
6    that they did not see anything around his neck?
7            A.      I can't speak for somebody else.
8            Q.      I meant only that you have no knowledge
9    of that?
10           A.      No, I have no knowledge.
11           Q.      Okay.    You testified that the two
12   troopers should have called a suicide prevention,
13   some kind of person?
14           A.      Is that not protocol?
15           Q.      Did you request either of the troopers
16   to call in a suicide prevention specialist?
17           A.      I did not only because they knew he was
18   suicidal.    I thought it was part of protocol that
19   somebody would try to get to him before the troopers
20   got to him.
21           Q.      Did you attempt to call any mental
22   health professionals?
23           A.      We called the suicide hotline.
24           Q.      Did you ask them to send anybody to


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1    assist?
2            A.      I did not only because I figured that
3    they would do that, they would automatically send
4    somebody.
5            Q.      But during the time, the hour or so
6    that you said the troopers were at your home, you
7    didn't specifically ask them to call in any kind of
8    mental health professionals?
9            A.      No, I did not.      I firmly believed that
10   they were going to try to help him.
11           Q.      That the two troopers that were there
12   were going to try to help him?
13           A.      Right.
14           Q.      Do you recall that -- now you testified
15   earlier today the troopers, you know, had time to
16   call somebody, they were at your house for an hour or
17   so before your son arrived; is that right?
18           A.      Yes.
19           Q.      Okay.    Do you recall it was not -- when
20   they first arrived at your home, the two troopers
21   this was not -- at that point you didn't know your
22   son was going to be arriving at the house; is that
23   right, do you recall that?
24           A.      When they got there, but they wanted me


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1    to get him back to the house.
2                    MS. LE:     Off the record.
3                                  * * * * *
4                    (Whereupon, an off the record
5            discussion was held.)
6                                  * * * * *
7    BY MS. LE:
8            Q.      Ms. Monaghan, so having read some parts
9    of your testimony from May 20, 2017 to Trooper Everk,
10   do you recall now that your impression on the day
11   that you gave this statement was that your son was
12   lighting whatever he may have had, explosives he may
13   have had at the time?
14           A.      At that time, yes.
15           Q.      Okay.    And --
16           A.      That was my first initial thought.
17           Q.      And then you came to learn later that
18   he was actually shot by the police?
19           A.      Yes.
20           Q.      And was --
21           A.      But I seen them shoot him.
22           Q.      So your testimony today is that you
23   believe you saw them shoot?
24           A.      I saw them shoot him.


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1            Q.      When you testified on May 20, 2017, I
2    can't confirm the fact that they shot, do you have
3    any reason to understand why you would have said on
4    that day that you can't confirm that they shot?
5            A.      Because it was not in my thought
6    process that they were doing something like that at
7    this time.
8            Q.      So at the time that you gave this
9    statement to Trooper Everk and stated I can't confirm
10   the fact that they shot, when you stated that, had
11   you seen them -- did you know for a fact that they
12   had shot their weapons, the two Troopers Pagan and
13   Splain?
14           A.      Yes.    They did, like I said, I think
15   it's very difficult for someone to stand there and
16   watch your son or your daughter die like that.             Now,
17   granted they did -- he did say he had something
18   around his neck, but, again, it was not in my thought
19   process they would even do that, but my eyes will
20   never forget what I saw.
21           Q.      Do you recall that you turned your face
22   away from the window at some point from the incident?
23           A.      I don't recall that.
24           Q.      So I'll again direct your attention to


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1    page 16 of Exhibit-1 that I showed you earlier.
2            A.      Okay.
3            Q.      At the bottom -- towards the bottom of
4    the page you testified that, I'm reading here from
5    the bottom, all I heard from the officer screaming
6    show me your hands, show me your hands and apparently
7    then he ignited whatever was around his neck.
8    Trooper Smith then asked did you see him do that?
9    You then testified I couldn't see in the car, but I
10   was by the window.      I had to -- then I just turned
11   around and ran back because I knew what he was doing.
12                   So does this -- seeing this testimony
13   that you gave on the date of the incident, does this
14   refresh your memory that you did, at some point, turn
15   away from the window?
16           A.      I certainly could have done that, but
17   it wasn't until after the shooting happened.
18           Q.      Okay.
19           A.      Actually after the shooting, I did go
20   back into the great room to call my ex-husband and
21   then when I came back to the window, they had him out
22   on the ground.
23           Q.      If you'll look on that same page, page
24   16 in the middle of the page, Trooper Everk states --


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1    sorry, at the top of the page you had testified and
2    he said okay, mom and he ignited that thing and I
3    heard were the things exploding, they were trying to
4    get him out of the car.
5                    Trooper Everk then states he did have
6    something around his neck and you stated --
7    testified, yeah.     And then Trooper Everk testified
8    but he was also our guys, the two guys that were
9    there, one of them or if not both, at this point we
10   do not know, shot him also.        And then you testified
11   oh, my goodness.
12                   Do you recall -- seeing this today does
13   this refresh your memory that that may have been the
14   point that you learned that the two troopers had shot
15   Mr. Ardo, your son?
16           A.      I don't know that.
17           Q.      On page 17 of the transcript trooper --
18   you testified at the top of the page and then one of
19   troopers came around from the back of the house
20   around the pool area there and he stopped them and
21   there was the other one was in the back of him and
22   then all I heard him say was okay, okay, mom and he
23   ignited that thing.
24                   Trooper Everk stated you were on the


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1    phone with him at this point?        And you testified yes.
2    Trooper Smith asked you heard it light?           And you
3    testified no, he said okay, mom and he hung up and a
4    split second later I heard it, I heard the explosion
5    in the car.    Trooper Smith stated okay.
6                    And Trooper Everk states was there --
7    you then testified and the police couldn't be any
8    nicer.   They did have their pistols drawn.           I can't
9    confirm the fact that they shot.         I don't know that
10   because I heard that going off in the car and I just
11   couldn't look at him like that?
12                   Does this refresh your memory at all
13   seeing this testimony whether or not you turned away
14   from the window when your son hung up the phone?
15            A.     I turned away after they shot him.
16            Q.     But based on your testimony on the day
17   that you spoke with the Trooper Everk and Trooper
18   Smith, you stated that you, as soon as your son hung
19   up the phone, you heard at the time you thought him
20   igniting explosives?
21            A.     Yes.
22            Q.     And then you turned -- and you
23   weren't -- you didn't actually see anything?
24            A.     I'm sorry, rephrase that.         What do you


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1    mean I didn't see anything?
2            Q.      So based on your testimony, May 20th
3    which I just read to you, you testified on that day
4    that after your son hung up the phone you heard
5    explosives going off or what you thought at the time
6    were explosives going off.        So at that point you are
7    testifying today that you then turned away from the
8    window?
9            A.      I turned away after the police officers
10   had their weapons and they were shooting.           It was so
11   far beyond comprehension they would try to shoot him
12   like that because I asked for help.          I didn't ask for
13   them to kill him.
14           Q.      I understand.
15           A.      My eyes will not let me forget what I
16   saw.
17           Q.      I understand.      I'm just trying to
18   understand.    I'm not trying to give you a hard time.
19           A.      No.    No, I know that.
20           Q.      I know that this is very difficult.
21   What I'm trying to understand today is why at the
22   time that you gave the statement to Trooper Everk and
23   Smith on May 20th after the incident you did not
24   recall that the troopers had -- you did not recall


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1    that you saw the troopers shooting, but sitting here
2    today you say that you are certain that you saw the
3    troopers shooting?
4            A.      Yes.
5            Q.      Is there -- can you explain why on the
6    date of the incident when you gave your statement you
7    did not recall the troopers shooting, but sitting
8    here today you said you remembered it?
9            A.      I remembered it that afternoon or that
10   evening because, you know, friends came and we wrote
11   everything down exactly how it happened.           I mean,
12   like I said, it was not part of my thinking that they
13   would even do that.      I went into shock I think.
14           Q.      So you believe that at the time you
15   gave the statement you did not recall it, but then
16   later when you were meeting --
17           A.      With my friends and we went over
18   everything -- I'm sorry.       We went over everything.
19   We wrote everything down on paper and the time and
20   exactly what happened and that's when I knew that's
21   what happened.
22           Q.      So it's at that point you have given
23   your statement that you then recollected that they
24   had shot their weapons?


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1            A.      I gave my statement as to what I
2    thought was happening.
3            Q.      Okay.
4            A.      Because I didn't believe that they
5    would do that.     That's probably my point.        I never
6    even thought that they would do something like that.
7            Q.      Okay.    At the time when you gave your
8    statement to the troopers, according to their
9    records, it was at 1 o'clock in the afternoon.             You
10   were not aware that the trooper had shot, but then
11   later when you were going over the events of the day
12   with your friends and you were writing everything
13   down, at that point you had learned that they shot
14   and you recalled that yourself?
15           A.      No, I believe I knew that when they
16   were doing the shooting.
17           Q.      Is there some reason why you would not
18   have -- you would have stated to the contrary when
19   you were testifying to Troopers Everk and Smith?
20           A.      I don't know if it is to the contrary.
21   My words at that point had to be -- I was devastated
22   with the whole thing and that's maybe why I came
23   across that way.
24           Q.      Okay.    So when you testified that you


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1    couldn't confirm the fact that they shot on May 20,
2    2017, at that point you actually were sure they shot,
3    you just stated that you couldn't confirm that they
4    shot?
5             A.     Not that I wanted to lie about it.           It
6    was like I said, it was so far beyond my
7    comprehension that they would do that.
8             Q.     Did you --
9             A.     I think your brain and your whole
10   demeanor saves you at some point from such trauma and
11   that's what I believed happened here.
12            Q.     Okay.    But then having learned from the
13   statement, State Police investigators said that your
14   son was indeed shot.      Is that then what caused you to
15   be sure that they (sic) were shot?
16            A.     I think I was sure when they were
17   shooting him.     They did come in and they did tell me
18   he was shot before I went to the State Police
19   barracks.
20            Q.     Okay.    So you believed that you learned
21   from the State Police that your son had been shot
22   prior to giving your statement to Troopers Everk and
23   Smith?
24            A.     I don't think that was the case.


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1            Q.      Okay.    I misunderstood you then.         Do
2    you recall if at the time you gave your statement to
3    Troopers Everk and Smith whether you knew for sure
4    that your son had been -- let me rephrase.
5                    Do you recall if at the time you gave
6    your statement to Troopers Everk and Smith that you
7    knew Trooper Pagan and Smith had shot at your son?
8            A.      I'm not sure of the time frame there.
9    I'm not sure if they talked with me at my house or if
10   they talked with me at the State Police barracks.
11           Q.      So you don't recall at this point
12   sitting here today whether you knew that the two
13   troopers had fired at your son when you gave your
14   statement to Troopers Everk and Smith?
15           A.      No, I did not.      After we went to the
16   State Police barracks I was in shock.          Like I said, I
17   don't -- it was far beyond my comprehension that I
18   had to witness that.
19           Q.      So it is your statement that you knew
20   at the point when you gave the statement but you
21   didn't recall because you were in shock?
22           A.      Yes, that would be my assessment
23   myself.
24           Q.      Okay.    But then you did recall that


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1    after your interview with them later in the evening
2    when you were talking to your friends?
3             A.     It wasn't later in the evening --
4    right.   Well, I spent a couple of hours at the State
5    Police barracks, so it had to be -- I don't recall if
6    they came into the house before I went to the police
7    barracks, it could have been, I just don't recall.
8             Q.     Having seen some of your testimony from
9    May 20, 2017, do you recall if your impression during
10   your conversation with your son while he was sitting
11   in his car was that he was intending to --
12            A.     Commit suicide?
13            Q.     Yes.
14            A.     Yes.
15            Q.     And that was based on whatever he was
16   saying to you on the phone and his demeanor at the
17   time?
18            A.     Yes.
19            Q.     Okay.
20            A.     But the two police officers knew that
21   at that time.
22            Q.     They knew what, ma'am?
23            A.     They knew he was suicidal.
24            Q.     To be clear, based on your conversation


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1    with your son while he was sitting in the car and you
2    were on the phone with him, you believe that he did
3    indeed have an explosive, that he had threatened and
4    he was about to light it up?
5            A.      I probably knew that, yes.
6            Q.      Okay.    If the -- let me rephrase.
7                    Do you believe that the two troopers on
8    May 20, 2017 should have allowed your son to drive
9    away in his car instead of engaging with him and
10   blocking him in?
11           A.      That's not what I wanted to happen on
12   that date.    I wanted them to take him and get him
13   help.
14           Q.      So in terms of thinking that they could
15   have done more on that date, you had said before that
16   they should have called in some kind of -- I don't
17   remember the phrase you used, crisis prevention,
18   suicide prevention or mental health professional,
19   something along those lines?
20           A.      Yes.
21           Q.      Other than calling someone along those
22   lines, is there anything else that you believe they
23   should have done that day that they didn't?
24           A.      I don't know what the protocol is for


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1    the troopers.     I totally believe they acted too
2    quickly and it was excessive force as far as I'm
3    concerned.
4             Q.     When you say that they acted too
5    quickly, what part of their actions was too quick?
6             A.     They flew out of the front door.           They
7    came on up in the two police cars and they got out
8    and that's exactly when they started screaming at him
9    and it was over, he was dead.
10            Q.     Do you believe they should have stayed
11   in the house and waited for a longer period of time?
12            A.     Like I said, I don't know what protocol
13   is.   All I know is they went flying and then they
14   started shooting.
15            Q.     During your statement on May 20, 2017,
16   you stated that the troopers couldn't have been
17   nicer.   Do you recall at what point you changed your
18   impression of their demeanor?
19            A.     They came into my house and they asked
20   me questions and at that time they were very
21   respectful and very cordial until they got him back
22   at the house or I got him back at the house and then
23   the whole thing just went out the front door.
24            Q.     Okay.    So is it your impression that


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1    initially they were -- couldn't have been any nicer,
2    but then at the point where they flew out of the
3    house as you described, that's when things changed?
4            A.      I think some things changed after I
5    heard that comment, you know, he didn't want to get
6    shot in the back because he had a family to go home
7    to.   I mean that -- that kind of changed a little bit
8    as far as my thinking is concerned.
9            Q.      Do I recall your testimony accurately
10   that you said that that comment occurred soon after
11   Trooper Splain arrived?
12           A.      That's correct, yes.
13           Q.      So fairly early into your roughly one
14   hour with the two troopers?
15           A.      Correct.
16           Q.      So from that point when you said that
17   Trooper Splain made that comment about not wanting to
18   get shot in the back is your recollection that you
19   then no longer believe them to be, you know, acting
20   very nicely towards you?
21           A.      That's not -- no, they were.          I mean my
22   opinion changed a little then, but they weren't with
23   me the whole time.      They were in the front room
24   watching and waiting for him to come up the driveway.


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1            Q.      When you say that your impression
2    changed after you heard that statement, in what way
3    did your impression change?
4            A.      I thought he was an arrogant young cop.
5    That's what I thought.       I mean how do you make a
6    statement like that?      You're on duty and you are
7    somewhere where you're supposed to be helping someone
8    else.
9            Q.      Did you, at that point, have any
10   concerns as to how he would handle the situation with
11   your son?
12           A.      Yes.
13           Q.      Did you express those concerns in any
14   way, either to those two troopers or to anybody?
15           A.      No.
16           Q.      What concerns did you develop at that
17   point about how Trooper Splain would handle the
18   situation given what you heard him say?
19           A.      I don't know if that was necessarily my
20   thought process.
21           Q.      So from sitting here today, you believe
22   that from the moment you heard Trooper Splain make
23   that statement you started to develop concerns about
24   how he would handle the situation?


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1            A.      I think so.
2            Q.      When you gave your statement to Trooper
3    Everk and Trooper Smith, after everything happened
4    why didn't you express those concerns to Troopers
5    Everk or Smith?
6            A.      I did state the comment that he made.
7            Q.      Why did you testify that the police
8    couldn't have been any nicer if you had such
9    concerns?
10           A.      But when they came to the house, they
11   were.
12           Q.      Okay.
13           A.      As time went on it changed my mind.
14           Q.      The point at which you say the police
15   couldn't be any nicer is when you were testifying
16   about them getting ready to leave the house, it's on
17   page 17 of the transcript, and you say that the
18   police couldn't be any nicer.        They did have their
19   pistols drawn, et cetera, et cetera.
20                   Does that refresh your memory that at
21   the time you gave this statement you did believe the
22   troopers to be Troopers Splain and Pagan, they
23   couldn't have been any nicer during the time that
24   they were with you?


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1            A.      I think the part -- when I made that
2    statement, I was hoping they were going to help him.
3    That was the main objective for them being there.
4            Q.      So at the time -- would it be accurate
5    for me to say that at the time you gave the statement
6    to Troopers Everk and Smith, you still believed that
7    Troopers Pagan and Smith had tried to help your son?
8            A.      They did not try.
9            Q.      So at the time -- I understand that is
10   your belief now sitting here today.          What I'm trying
11   to ask is at the time that you gave this statement to
12   Troopers Everk and Smith, which is roughly 1:00 on
13   the day that it happened, having heard some of your
14   testimony from that day, do you believe that at the
15   time that you gave the statement to Smith and Everk
16   that you did still have an impression that Trooper
17   Splain and Pagan still tried to help your son on that
18   day?
19           A.      Not after the shooting.
20           Q.      Do you believe that at the time you
21   gave the statement to Trooper Smith and Trooper Everk
22   that you had already formed the belief that Troopers
23   Smith and Pagan were not there to help your son?
24           A.      I couldn't make an assessment like


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1    that.   I didn't know what was going through their
2    head and actions speak louder than words.           I saw what
3    they did.    I saw where they went.       I saw what the
4    final situation was.      So as far as I was concerned
5    they were not there to help him.
6            Q.      Right.    What I'm trying to ask you is
7    your opinion as to what they were doing or not doing.
8    When you gave your statement to Smith and Everk, was
9    it your belief at that point when you were giving
10   this statement to Trooper Everk and Trooper Smith and
11   that Troopers Pagan and Splain had not been trying to
12   help your son?
13           A.      Do I believe that at 1:00 in the
14   afternoon?
15           Q.      At the time when you gave that
16   statement, not sitting here?
17           A.      That they weren't trying to help him?
18           Q.      Let me rephrase.       At the point when you
19   gave your statement to Troopers Everk and Smith --
20           A.      That was my house at 1:00.
21           Q.      -- was it your impression at that point
22   that the troopers were to help your son or not help
23   him?
24           A.      Not help him.


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1             Q.     So when you gave your statement, you
2    had already formed the belief that the troopers were
3    not trying to help your son?
4             A.     That is correct.
5             Q.     So when you testified to Smith and
6    Everk and that the two troopers couldn't be any nicer
7    and that they were trying to get him out of the car,
8    I guess my question to you is why did you say that if
9    you had already formed the belief that they were not
10   trying to help your son?
11            A.     I may have misspoke.        I still may have
12   been under all the stress that I was under that day.
13   What I saw I will never forget.         The reason why we
14   called them was to help him, not shoot him, not 11
15   times.   I mean --
16            Q.     Understanding that you were certainly
17   probably in shock as you said when you know you gave
18   this statement, what I'm trying to understand is if
19   you had already formed concerns as you testified
20   earlier about at the very least, Trooper Splain since
21   he made that statement about not wanting to be shot
22   in the back which is early in the one hour that he
23   was with you?
24            A.     That's correct.


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1             Q.     If you already had that concern for
2    essentially most of the time that Trooper Splain was
3    with you, then why did you say during your testimony
4    to Trooper Smith and Trooper Everk after the shooting
5    that you thought the troopers couldn't have been any
6    nicer?
7                    You, at that point, already had
8    concerns about Trooper Splain for quite sometime.             So
9    I'm trying to understand why you would characterize
10   them as couldn't have been any nicer?
11            A.     At that time at 1:00 in the afternoon,
12   those two police officers were gone.          After the
13   shooting they got them out of there pronto and then
14   sent in a police officer that was really nice and
15   very considerate and maybe that's how I made that
16   statement.    He sat in the house with me for quite a
17   while.   He was in the kitchen and I was in the great
18   room and he was a genuine person and that's probably
19   where that statement came from.
20            Q.     So you believe your statement -- I'm
21   sorry to have to read the same thing over and over,
22   I'm just trying to clarify.
23            A.     That's fine.
24            Q.     So your testimony is on page 17 and the


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1    police, the police couldn't be any nicer.           They did
2    have their pistols drawn.       I don't -- I can't confirm
3    the fact that they shot because I heard that going
4    off in the car and I couldn't look at him like that.
5                    So you believe that statement that you
6    made where you said the police couldn't have been any
7    nicer was referring to Trooper Everk to whom you were
8    making the statement, you were saying to him -- you
9    were talking to Trooper Everk at the time and Smith
10   and you say quote, "and the police couldn't have been
11   any nicer," in the past tense.         You believe that that
12   statement was referring to Trooper Everk who you were
13   speaking to at that very moment?
14           A.      Yes.    Yes, because he was at that table
15   and he was a very considerate police officer.            I
16   think he was a detective from the barracks and he was
17   in plainclothes, so...
18           Q.      Why would you, in the middle of
19   speaking about Trooper Pagan and Splain and what
20   happened, what unfolded that day, would you then
21   suddenly say to Trooper Everk you couldn't have been
22   any nicer, I mean this is in the middle of a long
23   statement, a question and answer period of what
24   happened with your son.       I don't understand why --


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1            A.      I don't believe I directed that to
2    Splain and Pagan.      I believe the police officers that
3    were there afterwards were very considerate of my
4    feelings.    Very considerate of the whole situation,
5    that is my assessment of that statement.
6            Q.      Would you, if you were going to
7    compliment Trooper Everk and possibly Trooper Smith,
8    why wouldn't you have just referred to them in the
9    first person versus says the police couldn't be any
10   nicer and then go on to speak up about the Troopers
11   Pagan and Splain.      You said the police couldn't be
12   any nicer.    They did have pistols drawn.         I can't
13   confirm that they shot, so the rest of the statement
14   is clearly about Pagan and Splain.
15                   So why would you think the first
16   sentence was about Troopers Everk and Smith?
17           A.      I can't answer that, I don't know.
18           Q.      Okay.    So you don't recall sitting here
19   today that the police could have been any nicer?
20           A.      No, I may have made it as far as
21   Trooper Everk was concerned, because he was.
22           Q.      You don't recall making the statement,
23   you believe sitting here today that you -- if you
24   made it, you would have referred to Trooper Everk


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1    because he was -- you recall him being very nice?
2            A.      To my recollection, that's where I was
3    coming from, yes.
4            Q.      Do you actually recollect the statement
5    and you recollect that that's what you were saying?
6            A.      I can't recollect that, no.
7            Q.      So you are supposing that that's what
8    you meant because your impression, sitting here
9    today, is that Pagan and Splain were not nice when
10   they were with you, but Trooper Everk was very nice
11   when he was interviewing you?
12           A.      I didn't say that they were not nice to
13   me.   They were very aloof.       They had their own
14   conversations among themselves in the front room.
15   Detective Everk was at least cordial.
16           Q.      So what I'm trying to get at is the
17   reason sitting here today that you're saying you
18   believe this statement, the police couldn't be any
19   nicer, that you were directing that at the person you
20   were speaking with, Trooper Everk, is that -- sitting
21   here today you do not have an impression of Troopers
22   Pagan and Splain as being -- couldn't be any nicer,
23   but you do have an impression of Trooper Everk as
24   being very nice?


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1            A.      That's correct, yes.
2            Q.      But you don't specifically recall this
3    statement that you made on May 20th?
4            A.      I do not.
5            Q.      Okay.    And understanding that this is
6    what you believe you meant at the time sitting here
7    today, can you understand how reading this paragraph
8    now it would sound like you were referring to Splain
9    and Pagan?
10           A.      That's somebody else's opinion.
11   Everybody has one.
12           Q.      So does it seem reasonable to you that
13   somebody could read this paragraph, this statement,
14   the police couldn't be any nicer as referring to
15   Pagan and Splain since you were talking about them
16   very directly in the next few sentences?
17           A.      Yeah, I could see where someone would.
18           Q.      I believe you testified earlier that
19   you said that you recall telling Troopers Everk and
20   Smith when you gave them this statement on May 20th,
21   you believe that you told them at that time what you
22   say Trooper Splain -- let me rephrase the whole
23   question.
24                   You testified earlier that you told


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1    Troopers Everk and Smith when you gave the statement
2    on May 20th that Trooper Splain had said to you while
3    he was in your house that something along the lines
4    of I don't want to get shot in the back because I
5    have a family?
6            A.      Yes.
7            Q.      You recall telling Troopers Everk and
8    Smith that?
9            A.      Yes.
10           Q.      I hate to make you go through the
11   transcript, but since I don't recall seeing it
12   anywhere in the transcript, could you look through
13   the transcript and point it out to me?
14           A.      You're asking me to point out what?
15           Q.      Your testimony to Smith and Everk that
16   you told them that Trooper Splain had said something
17   along the lines of --
18           A.      Yes, I did say that because I was
19   really annoyed about it.       I don't know if it's in
20   here.   Like I said, I didn't read it.         I'm trying to
21   get a grip on what happened and rehashing everything
22   is very difficult.      I didn't want to read this, I
23   knew what happened.
24           Q.      Is it possible that you did not tell


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1    them that on the day that you gave this --
2            A.      I firmly believe I did because that
3    stuck at me because I thought it was very insensitive
4    and he had a lot of anxiety about his job.
5            Q.      Did he say anything else to you that
6    caused you to believe him to have a lot of anxiety
7    about his job other than what you already described?
8            A.      No.
9            Q.      Okay.    Do you believe it's possible
10   that you told Troopers Everk and/or Smith at some
11   point outside of this May 20, 2017 interview about
12   the statement?
13           A.      No.
14           Q.      So you very specifically recall that
15   you said it during this interview?
16           A.      Absolutely.
17           Q.      Did you speak or have you spoken to any
18   of the neighbors or anybody who may have witnessed
19   what happened on that day?
20           A.      I did not.     I didn't feel I had to.
21   The eyewitness that is coming this afternoon saw
22   exactly what I saw, and I had never, ever had a
23   spoken word with him about it.
24           Q.      How do you know the witness that is


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1    coming later today?
2            A.      After the fact he wrote it on paper.            I
3    sent that to the attorney, a copy of that testimony
4    and the grand jury at that time had that also.
5            Q.      Were you present for I believe the
6    person you're referring to is Mr. Cruts?
7            A.      Yes.
8            Q.      Were you present for Mr. Cruts'
9    testimony to the grand jury?
10           A.      No.
11           Q.      Did you read the transcript of
12   Mr. Cruts' testimony to the grand jury?
13           A.      He had written down what he saw and I'm
14   not sure where it went or if the police got it
15   because they did question him.
16           Q.      Did you see whatever it was that
17   Mr. Cruts had written down?
18           A.      Yes.
19           Q.      Did he provide this to you?
20           A.      Yes.
21           Q.      And you said you gave that to your
22   attorneys?
23           A.      Yes.
24           Q.      Do you know what --


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1             A.     At that point it must have gone to
2    Mr. Morganella because he went in and offered to do
3    and did a separate investigation.
4             Q.     Not --
5             A.     Excuse me.     At that point I did not
6    have an attorney, Mr. Morganella was the rep.            There
7    was an attorney that I spoke with in Easton and I
8    just don't remember his name.
9             Q.     Is it your recollection that you
10   provided a note that Mr. Cruts gave you to
11   Mr. Morganella?
12            A.     Yes.
13            Q.     Is Mr. Morganella the DA investigator?
14            A.     That is correct.
15            Q.     Did you make a copy of those notes
16   before giving them to Mr. Morganella?
17            A.     Yes.
18            Q.     Did you still have a copy of those
19   notes?
20            A.     Yes.
21                   (REQUEST)
22            Q.     I'll ask that you provide them to your
23   counsel to be produced in this case.
24            A.     Yes.


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1            Q.      So your only knowledge as to what Cruts
2    saw or didn't see on that day is what he wrote on his
3    notes that he provided to you?
4            A.      That's correct, yes.
5            Q.      You said that you also took notes in
6    the late afternoon or evening following what happened
7    on May 20th?
8            A.      Yes.
9            Q.      Okay.    Do you still have a copy of
10   those notes?
11           A.      Yes.
12           Q.      Have you provided those to your
13   attorney?
14           A.      I believe I provided that to
15   Mr. Morganella.
16                   (REQUEST)
17           Q.      I ask that you provide that to your
18   attorney so they can be produced in this case.
19                   Are you aware of any other notes taken
20   by you or anybody else that relates to what happened
21   on May 20th?
22           A.      Just what Lori saw, what Bob Cruts saw;
23   and, of course, what I saw.
24           Q.      Do you know if Lori took any notes


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1    about what happened?
2            A.      I believe I have a copy of her
3    statement also.
4            Q.      Is that a statement that she wrote out
5    and gave to you?
6            A.      Yes.
7                    (REQUEST)
8            Q.      Okay.    I would also ask that you
9    provide a copy of that.
10           A.      Yes, I believe that did go to
11   Mr. Morganella also.
12           Q.      Since I don't work with Mr. Morganella,
13   I don't have any other line to him.
14           A.      I understand.
15           Q.      I'm not trying to make busy work for
16   you, but these are things that you have in your
17   possession?
18           A.      Yes.
19           Q.      Is that a statement that you asked Lori
20   to provide to you as to what she saw or how did the
21   statement come about?
22           A.      I believe the -- I believe it could
23   have been the attorney or Mr. Morganella that wanted
24   some statements from the people that were directly on


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1    the farm at that time.
2             Q.     When you refer to the attorney at that
3    time, would that have been an attorney that you
4    hired?
5             A.     No.    No.
6             Q.     Who are you referring to by the
7    attorney at the time?
8             A.     My daughter has, I believe, she would
9    remember the attorney in Easton.
10                   MR. SCHAFKOPF:      It was Philip
11            something.    I don't know his last name or it
12            could have been something Philip.
13   BY MS. LE:
14            Q.     Was it an attorney with the DA or was
15   it attorney representing you and your family is what
16   I'm trying to get at?
17            A.     We were there just to get the
18   statements.    They never hired an attorney.
19   Ms. Morganella stepped in and then it all went from
20   there to the grand jury.
21            Q.     So accurate for me to say that
22   Mr. Morganella had requested you to get a statement
23   from Lori as to what she saw.        Is that what happened,
24   and then she gave the statement to you?


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                                                                         Page 71
1            A.      I'm not sure where that came from.
2            Q.      Okay, but Lori provided a copy to you
3    of her statement?
4            A.      That is correct, yes.
5            Q.      And you then provided that to
6    Mr. Morganella?
7            A.      Yes.
8            Q.      Do you know how long after the incident
9    Lori -- do you recall how long after the incident
10   Lori gave that statement to you?
11           A.      I don't recall that.
12           Q.      Do you recall if it was a matter of
13   days or if it was more than a month later?
14           A.      Oh, it wasn't a month later.          It was
15   probably just a matter of days.
16           Q.      Other than Lori's statement that she
17   provided to you and Mr. Cruts' notes that he gave to
18   you, are you aware of any other notes or written
19   statements by witnesses to this incident?
20           A.      Not to my knowledge.
21           Q.      At the time in May -- in or around May
22   2017, I know that your son was doing some work for
23   you on your farm; is that right?
24           A.      Yes.


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                                                                         Page 72
1            Q.      Okay.    Other than the work that he was
2    doing for you on your farm, do you know if he had any
3    other employment?
4            A.      Not that recent, no.
5            Q.      Do you know recall when he was last
6    employed?
7            A.      When I originally -- I lived on the
8    farm for 45 years and Tony was always part of that
9    farm maintenance and I thought I had the farm sold in
10   2008 or 2009 and the gentleman that thought he was
11   buying it reneged, so I had to take it back in lieu
12   of foreclosure.
13                   Now, in that time period from '09 to
14   2016, Tony had worked for Lifetime Doors and then he
15   came back to me when I bought a house in Martin Creek
16   and then he -- both of us wanted to go back to the
17   farm and live and that's when we went back.
18           Q.      So you said that Tony worked for
19   Lifetime Doors between '09 and '16?
20           A.      Sometime in between them.
21           Q.      Not during that whole period?
22           A.      No.
23           Q.      What kind of work was he doing for
24   Lifetime Doors?


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1            A.      Making doors.
2            Q.      Do you know if he was working
3    full-time?
4            A.      Yes.    At that point, yes.
5            Q.      Do you know if your son was receiving
6    any type of Social Security payments or anything
7    along those lines?
8            A.      No.
9            Q.      So in or around May of 2017, to your
10   knowledge, the only employment he had was working
11   with you on the farm?
12           A.      Primarily, yes.
13                   MS. LE:     I don't have any further
14           questions, Ms. Monaghan, thank you for coming
15           in today.
16                            * * * * *
17                   (This concludes the deposition of Jean
18           Monaghan at 11:39 a.m.)
19                            * * * * *
20
21
22
23
24


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1                   C E R T I F I C A T I O N
2
3
4              I hereby certify that the proceedings and
5    evidence noted are contained fully and accurately in
6    the stenographic notes taken by me upon the foregoing
7    matter dated ____________2019, and that this is a
8    correct transcript of the same.
9
10
11
12
                  RENEE SCHUMANN
13                CERTIFIED COURT REPORTER
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17   transcript does not apply to any reproduction of the
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                      UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA



           ANGELO ARDO, et al.,      :
                                     :
                         Plaintiffs, :
                                     :
                                     :
                      vs.            :
                                   :
           OFFICER EDDIE PAGAN,    :
           et al.,                 :
                                   :
                       Defendants. :         NO. 15-05217


                  Remote video conference deposition of
         SERGEANT TYLER BURGESS, taken on Wednesday, May 19,
         2021, beginning at approximately 10:10 a.m., before
         Charles P. Carmody, Federally Approved Registered
         Professional Reporter and Notary Public.



                                       - - -




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     2

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     1                            ----------
     2                            PROCEEDINGS
     3                            ----------
     4

     5                   Counsel, I have a brief statement I
     6          ask you to acknowledge before swearing in
     7          the witness.
     8                   The attorneys participating in this
     9          proceeding acknowledge that I am not
    10          physically present with the witness and that
    11          I would be reporting this proceeding
    12          remotely.
    13                   They further acknowledge that in
    14          lieu of an oath administered in person, the
    15          witness will verbally declare that his or
    16          her testimony in this matter is under
    17          penalty of perjury.
    18                   The parties and their counsel you
    19          consent to this arrangement and waive any
    20          observations at this time or 2349 future to
    21          this manner of reporting and swearing in the
    22          witness.
    23                   They also acknowledge and agree that
    24          the official transcript is solely the one



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     1          transcribed by the the court reporter.
     2                   Counsel, please indicate your
     3          agreement by stating your name and your
     4          agreement on the the the record.
     5                            MR. DIJIACOMO:         This
     6          plaintiff's counsel Anthony DiJiacomo,
     7          agreed.
     8                            MS. LE:      This is Kathy Le
     9          counsel for defendant, I agree.
    10

    11                            It is hereby stipulated by and
    12   between counsel that the reading, signing,
    13   sealing, certification and filing are waived, and
    14   that all objections, except as to the form of the
    15   question, are reserved until the time of trial.
    16

    17                          SERGEANT TYLER BURGESS,
    18          having been first duly sworn, was examined
    19          and testified as follows:
    20

    21                            MS. LE:      Sir, could you speak
    22          up because I wasn't actually able to hear
    23          you just now.
    24                            THE WITNESS:        Can you hear me



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     1          now?
     2                            MS. LE:      Yes.    It might have
     3          just been my computer.
     4

     5                            MR. DIJIACOMO:         I had trouble
     6          too.
     7                   Sergeant, can you hear me?
     8                            THE WITNESS:        Yes.
     9

    10                            ----------
    11                            EXAMINATION
    12                            ----------
    13   BY MR. DIJIACOMO:
    14   Q.          My name is Anthony DiJiacomo and
    15   represent Angelo Ardo and Jean Monaghan
    16   individually and on behalf of her son, Angelo
    17   Ardo, in a case against the officers as well as
    18   the Pennsylvania State Police.
    19               Again, so far you can hear me all right?
    20   A.          Yes.
    21   Q.          Okay.
    22               If there's a point in time that you
    23   cannot here hear me or understand me, let me know
    24   and I'll try to address that, all right?



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     1   A.          Yes.
     2   Q.          Likewise, over of the past year during
     3   COVID we've been doing this a lot with Zoom.                     And
     4   at times I'll tell you that we may freeze.
     5   You'll see the screen and we for lack of a better
     6   word, freeze.
     7               At that point I would just suggest you
     8   stop answering, wait for the technical difficulty
     9   to work out, and then I'll likely re-ask the
    10   question or we'll go from there, okay?
    11   A.          Okay.
    12   Q.          As an officer you've testified in court,
    13   likely, on numerous occasions, right?
    14   A.          Yes.
    15   Q.          Have you ever given a deposition in a
    16   civil matter?
    17   A.          Yes.
    18   Q.          Okay.
    19               Do you want me to go over some
    20   instructions or are you familiar with the
    21   process?
    22   A.          I'm familiar but if you want to go over
    23   them, that's fine.
    24   Q.          I don't have any need to.



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     1               But you understand that even though
     2   we're here in an informal setting, the oath that
     3   you just took has at same weight or meaning as if
     4   you were in a courtroom before a judge and jury?
     5   A.          Yes.
     6   Q.          Sir, my understanding is that you are
     7   appearing today as a Rule 30B witness, what I
     8   refer to as a corporate designee on behalf of the
     9   Pennsylvania State Police; is that correct?
    10   A.          Correct.
    11   Q.          And I just want to understand who you
    12   are very briefly before we get into that.                   My
    13   understanding is that between the period of 2014
    14   approximately and approximately 2018 you were the
    15   head of the policies and procedures unit of the
    16   Bureau of Research and Development on behalf of
    17   the Pennsylvania State Police; is that accurate?
    18   A.          Yes, it is.
    19   Q.          Okay.     All right.
    20               Is there a better word than head or
    21   director?
    22   A.          Supervisor.        I was a corporal then, so I
    23   was a supervisor of that unit, yes.
    24   Q.          And just give me a general understanding



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     1   of what that unit did during that time frame?
     2   A.          Sure.     Basically, developed new
     3   policies, run procedures through revision,
     4   rewrites, prepared any special orders that came
     5   down from the front office or chief counsel's
     6   office.     Distributed and put it in the manuals,
     7   our field regulation manuals or AR's, our OM's.
     8   Again, reviewed, revised and completed
     9   regulations for those manuals to go out to the
    10   department.
    11   Q.          Okay.     Understood.
    12               In preparation for today's deposition
    13   did you receive a list of topics?
    14   A.          Yes.
    15   Q.          Okay.     All right.
    16                            MR. DIJIACOMO:         Let's go off
    17          the record for a second.
    18                            ----------
    19                            (Whereupon, a discussion was
    20          held off the record.)
    21                            ----------
    22   BY MR. DIJIACOMO:
    23   Q.          Back on the record.
    24               Sergeant, do you know when the



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     1   Pennsylvania State Police first adopted a written
     2   policy concerning the use of force for officers?
     3   A.          I don't know the exact date but I can
     4   try to find out.         It was prior to the year 2000.
     5   You would have to archive that through the Bureau
     6   of Research and Development to see when the exact
     7   date that the first policy went into effect.                     So
     8   21-plus years now.
     9   Q.          Understood.        Okay.
    10               Let me focus in now and I will tell you
    11   otherwise but for most of my questioning I'm
    12   focusing on the time frame of January 1st, 2014
    13   through May 20th of 2017, okay?
    14   A.          Okay.
    15   Q.          I'll try to reiterate that as I ask
    16   questions.      But just as a --
    17   A.          What was the date again, just so that I
    18   can --
    19   Q.          January 1st, 2014 through May 20th of
    20   2017.
    21   A.          Okay.
    22   Q.          During that period of time did the
    23   Pennsylvania State Police have a written policy
    24   concerning the process to revise written policies



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     1   such as the use of force policy?
     2   A.          Was it revised?
     3   Q.          Let me say that again.
     4               So during the period of 2014 through May
     5   of 2017, did the Pennsylvania State Police have a
     6   written policy for the process to revise, for
     7   example, the use of force policy?
     8   A.          There is a process to revise
     9   overregulation.        The regulation revision started,
    10   I believe, in 2016 of October to revise the use
    11   of force policy.
    12   Q.          Okay.     That's helpful.
    13               Between January 1st of 2014 and -- did
    14   you say October of 2016?
    15   A.          Yes.
    16   Q.          Were any revisions to the use of force
    17   policy made?
    18   A.          No.
    19   Q.          Okay.
    20               And between January of 2014 and that
    21   October of 2016 date, was there any review of the
    22   use of force policy towards revision?
    23                            MS. LE:      Object to the form.
    24          You can answer the question.



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     1                            THE WITNESS:        No, there was
     2          not.
     3   BY MR. DIJIACOMO:
     4   Q.          I received a policy that was marked as
     5   "AR1-2" and labeled "Directives, Regulations and
     6   Correspondence."
     7               Are you familiar with that policy?
     8   A.          I am.     I haven't looked it over in a
     9   while but I guess I am.
    10   Q.          Is that the policy that would outline
    11   the basic process for revisions to a written
    12   policy such as the use of force policy?
    13   A.          That's the way it's supposed to be done,
    14   yes.    There's -- if I remember correctly, there's
    15   a certain way revisions need to be done to a
    16   regulation, there's a process that needs to be
    17   used, and I think -- and I believe it states how
    18   to make those changes within that certain
    19   regulation.
    20   Q.          Okay.
    21               And is the use of force policy
    22   considered a regulation?
    23   A.          Yes.
    24   Q.          Okay.     All right.



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     1               You said in October of 2016 the
     2   Pennsylvania State Police began a process or a
     3   review reviewing the use of force policy,
     4   correct?
     5   A.          Correct.
     6   Q.          Would you describe how that process
     7   proceeded?
     8   A.          It comes through our RA account, through
     9   the bureau records, e-mail or it's sent down from
    10   -- it could be a deputy or the colonel to the
    11   major requesting the change or looking into the
    12   change of a regulation.            It gets sent down the
    13   channel to the lieutenant and then to myself --
    14   excuse me -- the lieutenant and then the sergeant
    15   then as a corporal I would either assign it to a
    16   trooper or I'd handle it myself and make the
    17   revision.
    18   Q.          In October of 2016 were particular
    19   revisions directed to be made?
    20   A.          Yes, in regards to that regulation, yes.
    21   Q.          Okay.
    22               To put it differently, was the bureau
    23   directed to -- was your unit directed to perform
    24   a general review of the entire policy?



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     1   A.          No.
     2   Q.          Okay.
     3               Do you recall the topics that the
     4   revision concerned?
     5   A.          I recall the taser had to be renamed
     6   from ECD -- I think it was from ECD to CEW, what
     7   it's currently now.          And some minor grammar, some
     8   little changes, and, I think, a couple of
     9   definitions were added in the beginning to the
    10   regulation.
    11   Q.          Were any revisions that were directed in
    12   October of 2016 not adopted?
    13   A.          Not that I recall, no.
    14   Q.          Okay.
    15               So is it fair to say I could essentially
    16   review the two documents next to each other to
    17   review and see what those revisions were directed
    18   as of October of 2016?
    19   A.          Yes.
    20   Q.          When did that -- the revisions that were
    21   directed to be made in October of 2016, when were
    22   they implemented?
    23   A.          Whatever -- I believe it was
    24   August 23rd, 2017.          So that would be all those



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     1   revisions would be when that was -- that
     2   effective date.
     3   Q.          Okay.
     4               Is there a given department or a unit
     5   that reviews essentially new guidance from the
     6   courts on a regular basis to ensure that the use
     7   of force policy remains constitutional?
     8   A.          Yes.
     9   Q.          What unit would that be?
    10   A.          It would be the chief counsel's office
    11   would have to review that and let our unit know,
    12   hey, there's an issue with the policy or the way
    13   it's worded.       It also needs to be signed off by
    14   our CALEA accreditation.
    15   Q.          What is that accreditation?
    16   A.          That's for an ESP so we get our credit,
    17   it's CALEA, C-A-L-E-A.
    18                            ----------
    19                            (Whereupon, a discussion was
    20          held off the record at this time.)
    21                            -----------
    22   BY MR. DIJIACOMO:
    23   Q.          Does that stand for something?
    24   A.          Yes.     I don't remember what it stands



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     1   for.    Commonwealth -- I don't remember.
     2                            MS. LE:      It stands for the
     3          Commission on Accreditation for Law
     4          Enforcement Agencies.
     5   BY MR. DIJIACOMO
     6   Q.          Is that a nationwide accreditation
     7   organization?
     8   A.          Yes.
     9   Q.          Are you aware of that organization --
    10   let me rephrase that.
    11               Was the use of force policy that was in
    12   place, I think, from 2011 until 2017, was that
    13   accredited by t his organization?
    14   A.          I don't know.
    15   Q.          Do you know whether the subsequent use
    16   of force policy was accredited by this
    17   organization?
    18   A.          From 2017?
    19   Q.          Yes.
    20   A.          Yes, it was.
    21   Q.          Okay.
    22               Did that organization have various
    23   levels of accreditation?
    24   A.          No.



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     1               When I say "accreditation," it's a
     2   civilian that looks up the CALEA, however they
     3   look it up in their database and then they can
     4   sign off of it.        We don't get in contact with
     5   CALEA.     There's a civilian that works in the
     6   Bureau of Research and Development, the site of
     7   the CALEA department or unit, I should say.
     8   Q.          But that organization provides, for
     9   whatever purpose, approval of the policy?
    10   A.          Yes.
    11   Q.          And that organization approved the
    12   policies that was put in place in 2017?
    13   A.          Yes.     There was no conflicts.
    14   Q.          Okay.
    15               Are you aware of any instance between
    16   2014 and -- let me rephrase that.
    17               The policy that was prior to the policy
    18   adoption in August of 2017, are you aware of any
    19   instance in which chief counsel's office
    20   suggested the use of force policy was not with
    21   the then current law?
    22   A.          No.
    23   Q.          Okay.
    24               Are you aware of any review by the



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     1   Pennsylvania State Police concerning the use of
     2   force policy being compliant with the Americans
     3   with Disabilities Act?
     4   A.          No.
     5   Q.          Are you aware of any action the
     6   Pennsylvania State Police took between
     7   January 1st of 2014 and May 20th, 2017, to ensure
     8   the then current use of force policy met
     9   constitutional requirements pertaining to
    10   individuals displaying suicidal ideation?
    11   A.          No.
    12   Q.          Did the Pennsylvania State Police take
    13   any actions between or prior to May 20th, 2017,
    14   to ensure that the use of force policy then in
    15   place did not discriminate against individuals
    16   displaying suicidal ideation?
    17   A.          I don't recall whether something was
    18   sent out by e-mail.
    19   Q.          And when you say "Whether something was
    20   sent out by e-mail," what do you mean?                  Who would
    21   send it and what --
    22   A.          It depends.        It could be a deputy of
    23   operations, a deputy of admin would have said
    24   something about it.          But I don't recall anything



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     1   ever being sent out between that time frame
     2   regarding this regulation.
     3   Q.          As of May of 2017 the then current use
     4   of force policy allowed an officer to use less
     5   than lethal force in preventing a suicide,
     6   correct?
     7   A.          Yes.
     8   Q.          Okay.
     9               Was there any policy in place that
    10   concerned how that officer should approach or
    11   interact with an individual threatening suicide?
    12                            MS. LE:      Objection to the form.
    13                   I'm going to say that the policy
    14          speaks for itself.          This witness wasn't
    15          designated to speak to the specifics of the
    16          policy.
    17                   You can answer but this is not -- I
    18          wouldn't consider that this witness is
    19          somebody who is an expert on what the policy
    20          does or doesn't say.           The witness was
    21          designated to discuss the revisions to the
    22          policy and mechanics of that, et cetera.
    23          I'm fine with the witness answering, but I'm
    24          putting that caveat on the question.



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     1                            MR. DIJIACOMO:         Kathy, I'm just
     2          wondering, is this witness for topic number
     3          7 or did I misunderstand the e-mail?
     4                            MS. LE:      Let me read that,
     5          number 7 again.         Maybe I'm misunderstanding
     6          your question.
     7                   The use of force policy's
     8          interactions with any other policies -- I
     9          guess I'm not -- I don't understand -- I may
    10          have misunderstood your question.                It
    11          doesn't seem to fall under this category.
    12          But I'm fine with you proceeding.
    13                   I'm just you know, I'm putting it
    14          out there.
    15                   Why don't we proceed and then let's
    16          see where it goes?
    17                            MR. DIJIACOMO:         Okay.    All
    18          right.
    19   BY MR. DIJIACOMO:
    20   Q.          Sir, I'm trying to understand the realm
    21   of policies that are in place essentially as of
    22   May 20th, 2017.
    23               And in reviewing the use of force
    24   policy, it seems to me it pertains to the instant



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     1   which an officer needs to decide whether to use
     2   lethal force.
     3               Is that fair?
     4   A.          It depends on the incident or the
     5   totality of the circumstance.
     6   Q.          Is there any, to your knowledge, is
     7   there any policy that was in place on May 20th,
     8   2017 that concerned an officer's interaction or
     9   approach to an individual displaying suicidal
    10   ideation or threatening suicide?
    11   A.          No.
    12   Q.          Okay.
    13               Other than the revisions that were
    14   directed in October of 2016, did the Bureau of
    15   Research and Development receive any other
    16   internally-proposed revisions to the use of force
    17   policy?
    18   A.          I don't recall.         Like I said, there was
    19   a definition, a re-definition that was added,
    20   maybe some grammar.          I don't recall all of the
    21   revisions that were made.             I don't know if that
    22   was really a whole rewrite, maybe just a quick
    23   edit.    I don't recall.
    24   Q.          With setting aside those edits or



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     1   revisions that were instructed to be made in
     2   October of 2016, were there any other proposals
     3   for revisions made by any other internal unit
     4   between, let's say, January 1st, 2014 and May of
     5   2017?
     6   A.          I don't remember.          I think I reached out
     7   to the Bureau of Training and Education, the
     8   major there to implement -- to see if he had any
     9   changes that he wanted to make within the
    10   regulation.       I don't remember what his -- at the
    11   time.    I think he's retired now.              I don't
    12   remember what his situation was.                I think there's
    13   an e-mail on it.
    14   Q.          Do you recall the individual's name?
    15   A.          I believe it was Major White.
    16   Q.          But he's retired at this point?
    17   A.          Yes.
    18   Q.          So if an external party, a citizen, a
    19   citizen group, a nonprofit group wanted to
    20   propose a revision or change to the use of force
    21   policy, would the Bureau of Research and
    22   Development receive that proposal?
    23   A.          Directly from them?
    24   Q.          Well, I suppose, let's start with that.



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     1   A.          No.
     2   Q.          Okay.
     3               If an organization or a citizen, a
     4   nonprofit group wanted to propose a revision, who
     5   would they submit it to within the Pennsylvania
     6   State Police?
     7   A.          One of the deputies or the colonel.
     8   Q.          Then that individual would decide how to
     9   act and whether to direct you to do something?
    10   A.          He or she would then talk with the major
    11   of research and development, and then obviously,
    12   concur whether they talk with the office of chief
    13   counsel as well.
    14   Q.          Did the Pennsylvania State Police
    15   receive any external proposals for revisions to
    16   the use of force policy as it pertains to
    17   individuals with suicidal ideations prior to May
    18   20th, 2017?
    19   A.          Not that I'm aware of.
    20                            MR. DIJIACOMO:         All right.
    21                   Give me just a few moments.
    22                            ----------
    23                            (Whereupon, a brief recess took
    24          place at this time.)



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     1                            ----------
     2   BY MR. DIJIACOMO:
     3   Q.          Did the Bureau of Research and
     4   Development perform any review or research
     5   concerning the use of force policy following an
     6   officer-involved shooting?
     7   A.          While I was there we have not.
     8   Q.          Okay.
     9                            MS. LE:      And let me suggest --
    10          I think I made a mistake when I designated
    11          the witness.
    12                   Let me suggest that any questions
    13          you have specific to the officer-involved
    14          shooting and potential revisions, you ask
    15          the second witness who was in the Bureau of
    16          Training and Education on the use of force
    17          unit which would have been more involved in
    18          the mechanics whereas the unit, the policy
    19          unit drives the actual revision, but in
    20          terms of the specifics of the policy and
    21          review and things like that, the Bureau of
    22          Training and Education is a co-owner of this
    23          process.
    24                   Do you see what I'm saying?



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     1                            MR. DIJIACOMO:         Yes.    Thank
     2          you, Kathy.
     3                            MS. LE:      Yes.
     4                            MR. DIJIACOMO:         Sergeant, I am
     5          done.
     6                   Thank you for your time this
     7          morning.
     8                            THE WITNESS:        You're very
     9          welcome.
    10                            MS. LE:      Thank you, Sergeant
    11          Burgess.
    12                            THE WITNESS:        You're welcome.
    13

    14                            ----------
    15                            (Whereupon, the deposition was
    16          adjourned at 10:40 a.m.)
    17                            ----------
    18

    19

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     1                            CERTIFICATION
     2

     3

     4                   I HEREBY CERTIFY that the
     5          proceedings and evidence are contained fully
     6          and accurately in the stenographic notes
     7          taken by me upon the foregoing matter on
     8          Wednesday, May 19, 2021, and that this is a
     9          correct transcript of same.
    10

    11

    12

    13

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                      UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


           ANGELO ARDO, et al.,       :
                                      :
                          Plaintiffs, :
                                         :
                      vs.                :

                                      :
           OFFICER EDDIE PAGAN,       :
           et al.,                    :
                                      :
                          Defendants. :      NO. 15-05217


                  Remote video conference deposition of

         CORPORAL KEVIN SELVERIAN, taken on Wednesday, May 19,

         2021, beginning at approximately 11:00 a.m., before

         Charles P. Carmody, Federally Approved Registered

         Professional Reporter and Notary Public.



                                      - - -




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     8

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    10   NUMBER            DESCRIPTION                                  PAGE
    11   (None marked.)
    12

    13

    14

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     7
         REQUEST FOR PRODUCTION OF DOCUMENTS
     8
         Page        Line         Description
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     1                            ----------
     2                            PROCEEDINGS
     3                            ----------
     4

     5                   Counsel, I have a brief statement
     6          that I ask you to acknowledge before
     7          swearing in the witness.
     8                   The attorneys participating in this
     9          proceeding acknowledge that I am not
    10          physically present with the witness and that
    11          I would be reporting this proceeding
    12          remotely.
    13                   They further acknowledge that in
    14          lieu of an oath administered in person, the
    15          witness will verbally declare that his or
    16          her testimony in this matter is under
    17          penalty of perjury.
    18                   The parties and their counsel you
    19          consent to this arrangement and waive any
    20          observations at this time or in the future
    21          to this manner of reporting and swearing in
    22          the witness.
    23                   They also acknowledge and agree that
    24          the official transcript is solely the one



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     1          transcribed by the the court reporter.
     2                   Counsel, please indicate your
     3          agreement by stating your name and your
     4          agreement on the the the record.
     5                            MR. DIJIACOMO:         This is
     6          plaintiff's counsel, Anthony DiJiacomo,
     7          agreed.
     8                            MS. LE:      This is Kathy Le,
     9          counsel for defendant, I agree.
    10                            ----------
    11                            (Whereupon, a discussion was
    12          held off the record at this time.)
    13                            -----------
    14

    15                            It is hereby stipulated by and
    16   between counsel that the reading, signing,
    17   sealing, certification and filing are waived, and
    18   that all objections, except as to the form of the
    19   question, are reserved until the time of trial.
    20

    21                         CORPORAL KEVIN SELVERIAN,
    22          having been first duly sworn, was examined
    23          and testified as follows:
    24



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     1                            ----------
     2                            EXAMINATION
     3                            ----------
     4

     5   BY MR. DIJIACOMO:
     6   Q.          Good morning, corporal.             My name is
     7   Anthony DiJiacomo and I represent Angelo Ardo and
     8   Jean Monaghan in a suit against two officers and
     9   the Pennsylvania State Police.
    10               Can you hear me okay so far?
    11   A.          Yes, yes, I think so.            Everything's
    12   fine.
    13   Q.          All right.       Good.
    14               Unfortunately, I'll tell you that
    15   there's a cleaning lady here vacuuming at the
    16   moment.     So if it gets too loud, just let me
    17   know, all right?
    18   A.          Yes, sir.
    19   Q.          Sir, as an officer you've testified in
    20   court on a number of occasions?
    21   A.          Yes, sir.
    22   Q.          Have you ever testified in a civil
    23   proceeding before?
    24   A.          Yes, I have.



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     1   Q.          So you're familiar with the process?
     2   A.          Yes, sir.
     3   Q.          Let me just ask then, even though we're
     4   here in an informal setting, you understand that
     5   the oath that you just took has the same weight
     6   or meaning as if you were in a courtroom before a
     7   judge and a jury?
     8   A.          Yes, sir, I understand.
     9   Q.          And you're appearing today as a Rule 30B
    10   witness on behalf of the Pennsylvania State
    11   Police, correct?
    12   A.          That is correct.
    13   Q.          Before I delve into the questions I just
    14   want to understand very briefly.
    15   A.          Yes, sir.
    16   Q.          My understanding is that I believe
    17   you're currently a member of the use of force
    18   unit of the Bureau of Training and Education.
    19               Is that accurate?
    20   A.          That is correct.
    21   Q.          How long have you been a member?
    22   A.          I'm a member of the department or as a
    23   member of the unit?
    24   Q.          Of the use of force unit?



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     1   A.          Since 2016.        That's when the unit was
     2   started.
     3   Q.          All right.       Excellent.
     4               Would you just give me a brief overview
     5   of what that unit does?
     6   A.          Sure.     Our unit develops use of force
     7   instruction for both our cadets as well as our
     8   inservice personnel, inservice personnel being
     9   those members of the department that are already
    10   out there doing the job.            Everybody that's on the
    11   job as far as the department is concerned.
    12               So we developed use of force trainings.
    13   We've reviewed existing use of force trainings
    14   that may need revisions or review or some type of
    15   change or alteration due to new equipment, new
    16   technique, new tactic, those sorts of things.                     We
    17   review the use of force policy as far as the
    18   department is concerned.            We will provide
    19   suggestive language to policy if that, in fact,
    20   becomes necessary.
    21               We do analysis work.           So if an outside
    22   entity such as the district attorney's office or
    23   the attorney general's office or a municipal
    24   police agency has questions, concerns, or they



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     1   require an analysis relative to a use of force
     2   event.     We will provide them a comprehensive
     3   analysis if, again, our chain of command approves
     4   us to do so.
     5               So again, we do analysis work.               We do
     6   presentations to, obviously, our membership as
     7   far as our cadets are inservice personnel.                    We do
     8   presentations for civilian organizations as well
     9   to better educate them concerning the realities
    10   of the use of force events involving police
    11   officers.      We do presentations at various
    12   seminars and conferences relative to
    13   professionals in the realm of law enforcement.
    14               We do presentations for various legal
    15   groups and legal communities.              For example, I've
    16   spoken at the district attorney's conference for
    17   their civil and criminal litigation units.                    We've
    18   presented at For Science Institute which is a
    19   private organization that provides instruction
    20   relative to the human factor surrounding a police
    21   officer's application of force.
    22               We provide presentations to, for
    23   example, to the district attorney's association
    24   in the Commonwealth of Pennsylvania.                 We've



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     1   provided presentations to members of the
     2   Pennsylvania House of Representatives as well as
     3   the Pennsylvania Senate, members of the senate as
     4   well.    We have, again, provided testimony, for
     5   example, relative to use of force issues before
     6   the Pennsylvania Senate Judiciary Committee for
     7   example.
     8               So our role is rather diverse.               I think
     9   the easiest way to describe what we do is we
    10   provide consultation services to folks inside and
    11   outside the realm of law enforcement to help them
    12   better understand, again, the realities
    13   surrounding a police use of force event.
    14   Q.          Excellent.       Okay.
    15               Sir, I think your testimony would be
    16   helpful, at least from my understanding.                   So
    17   thank you.
    18               During those review processes does the
    19   Bureau of Training and Education review prior use
    20   of force events within the department in
    21   determining whether further education or changes
    22   to education are necessary?
    23   A.          That's somewhat of a broad response.                  I
    24   have somewhat of a broad response, I guess.                     It



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     1   can come in many ways.
     2               If for example, there's an incident
     3   involving one of our members where someone within
     4   the department has concern or question or needs
     5   guidance relative to that which occurred.                   For
     6   example, does it fall in line with policy?                    Are
     7   the tactics sound?          Is the equipment that we
     8   utilize in that particular event, is it adequate
     9   or do we need to look at, you know, bettering or
    10   again altering the equipment that we carry or
    11   use.    Those sorts of concerns can come from a
    12   multitude of different sources.
    13               For example, those questions or those
    14   inquiries can come from our commissioner's
    15   office.     They can come from the criminal
    16   investigators that are doing the criminal
    17   investigation of a significant use of force
    18   event.     They can come from our internal affairs
    19   division if again they have question or concern
    20   relative to an officer's training or anything
    21   related to their applications of force.                  They
    22   come from our risk management office within,
    23   again, our Bureau of Integrity and Professional
    24   Responsibility.        They can come from the office of



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     1   chief counsel, the attorneys that represent the
     2   department.
     3               So the source of those questions and the
     4   source of those reviews that you're citing
     5   typically come as a matter of request.                  And
     6   again, those requests are made by individuals
     7   that do, in fact, have those questions relative
     8   to these incidents.
     9   Q.          In the absence of a request there would
    10   be no automatic review of an officer-involved
    11   shooting to determine whether any educational
    12   materials would need to be changed?
    13   A.          By our unit in particular, is that your
    14   question?
    15   Q.          Yes.
    16   A.          So, again, in a significance use of
    17   force event, obviously, the first inquiry is
    18   going to be the criminal investigative inquiry.
    19   So that's going to be conducted by criminal
    20   investigators, you know, in our various troops
    21   located throughout the state.              Once that
    22   investigation is conducted and done, and
    23   typically, following a prosecutorial decision on
    24   the part of the district attorney or attorney



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     1   general that's, again, reviewing the case, our
     2   internal investigation or administrative
     3   investigation is put forth with full force.
     4               Once that administrative investigation
     5   is done, a period of time later, there is, again,
     6   a critique conducted by our office of risk
     7   management, and as part and parcel with that
     8   critique we take part in that critique to address
     9   anything relative to a training issue, an
    10   equipment issue, anything that be would of
    11   concern for the Bureau of Training and Education.
    12   Again, those things are addressed then.
    13               However, typically, in my experience as
    14   these investigations unfold, if there is
    15   something glaring, if there's something obvious,
    16   if there's something of, you know, primary or
    17   paramount concern that arises during the course
    18   of either of those two investigations, either the
    19   criminal or the administrative, we're made aware
    20   of it then, and, again, we start to talk about
    21   it, address it, see if it actually is a concern,
    22   and if it is, what remedies might need to be put
    23   in place, those sorts of things.
    24   Q.          Between the period that the use of force



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     1   unit at the bureau was created on May 20th of
     2   2017, was there any questions, concerns posed to
     3   that unit concerning the use of force policy as
     4   it pertained to individuals with suicidal
     5   ideation?
     6   A.          No, sir.
     7               I mean, that is always a concern dealing
     8   with people with a suicidal ideation.                  It's been
     9   part a training in our training program for a
    10   long, long period of time.
    11               And I think it's important that we
    12   understand or that we talk about the fact that
    13   our use of force policy is pertinent to any
    14   segment of the population.             So again, it requires
    15   that we use reasonable force based upon the
    16   totality known by the officer at the time of
    17   application.       Excuse me -- digestion of that
    18   information, assessment of that information, all
    19   of that is part and parcel with our training
    20   programs.
    21               So how is that being interpreted, what
    22   sort of time periods do we have to interpret
    23   those things, what sorts of opportunities do we
    24   have to employ various tactics, those fall



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     1   primarily within the training room.                 The policy
     2   itself requires that we use reasonable force at
     3   any and all times in an effort to perform our
     4   lawful or legal duties.            Again, that singular
     5   standard is applicable to any segment of the
     6   population, race, color, creed, sex, sexual
     7   orientation, all those sorts of things.
     8   Therefore, again, the policy applies to all those
     9   things.     And again, particularities are relative,
    10   you know, certain segments of the population or
    11   certain tactics that one may want to employ, they
    12   generally fall within the training program
    13   itself.
    14   Q.          And the use of force policy as it
    15   existed on May 20th, 2017, specifically allowed
    16   for the purpose of preventing suicide with less
    17   than lethal force, correct?
    18   A.          It allows for it.          So our policy in that
    19   particular regard is separated into two distinct
    20   sections.      It talks about the use of deadly
    21   force.     It talks about the use of less lethal
    22   force.     Less lethal force being force which under
    23   the circumstance in which it's used, is not
    24   likely calculated nor intended to cause death or



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     1   serious bodily injury.
     2               So when we're talking about the
     3   specifics relative to a less lethal force option,
     4   for example, we are authorized in its use to,
     5   again, control an individual, stabilize an event,
     6   prevent somebody from doing significant harm to
     7   oneself, yes, it does it authorize it in that
     8   regard.
     9               To extend it over to the deadly force
    10   side in a circumstance in which we're going to
    11   use deadly force, we need to look at whether or
    12   not the actions of the subject pose a threat of
    13   death or serious bodily injury either to the
    14   officer and/or somebody else other than the
    15   subject themselves.          And again, that again is the
    16   separation between deadly force and less lethal
    17   force, I think, in the situations that you're
    18   describing.
    19               So again, if some of these actions --
    20   again, I don't want to say no matter the actions,
    21   but generally, if somebody's actions pose a
    22   threat of death or serious bodily injury to an
    23   officer or some other person, well, then again,
    24   you know, generally, our policy authorizes the



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     1   use of deadly force to prevent that particular
     2   behavior to immediately incapacitate the
     3   individual, to stop the action of the subject to
     4   hopefully render the scene safe and allow us to
     5   move on further with that which we need to do.
     6   Q.          And when it comes to the use of deadly
     7   force, it appears that it's broken down to two
     8   further areas?
     9   A.          Yes.
    10   Q.          For the purpose of arrest or for the
    11   purpose of protection?
    12   A.          Correct.
    13               So for purposes of arrest we are
    14   authorized to use deadly force.               If it's
    15   necessary to prevent or to execute an arrest or
    16   prevent the escape of an individual, if there's a
    17   reasonable belief on the part of the officer that
    18   it's necessary.        And in conjunction with that the
    19   person either committed or attempted a forceable
    20   felony, or is fleeing or attempting to escape
    21   while in possession of a weapon, or otherwise
    22   indicates that human beings or human life or
    23   inflicts serious bodily injury and was arrested
    24   without delay.



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     1               So again, that's the arrest section.                  So
     2   it's all predicated upon that same reasonable
     3   belief that it's necessary and it still
     4   ultimately surrounds whether or not that person
     5   poses a threat of death or serious bodily injury
     6   to, again, the officer or somebody else.
     7               And another way to look at that and the
     8   way we explain it is, you know, do you have, for
     9   example, the requisite probable cause and/or,
    10   "Reasonable belief," to believe that that threat,
    11   in fact, exists understanding that police
    12   officers don't always have a crystal ball and we
    13   can't see into the future.             We need to take those
    14   limited facts in the times and environments that
    15   we find ourselves in and make those discernments
    16   or decisions based upon whether or not there's a
    17   reasonable belief, again, that that threat, in
    18   fact, exists.
    19   Q.          And with regards to the arrest portion
    20   of the deadly use of force --
    21   A.          Yes.
    22   Q.          The threat to other individuals --
    23   A.          Yes.
    24   Q.          Is there a given time horizon for that?



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     1   A.          Could you repeat that, sir?              I'm sorry.
     2   Q.          Yes.
     3               I'm trying to understand the time
     4   horizon for that.         Meaning, is it the threat of
     5   immediate -- was it the immediate threat of harm
     6   to others or the officers, is it a proximity
     7   question, is there a time limitation on it?
     8   A.          There's no specific time as far as one
     9   minute, two minutes, five minutes, an hour, an
    10   hour and a half, no, sir.             Again, it's all based
    11   upon would it be reasonable to believe that that
    12   threat is, in fact, imminent.
    13               Again, "imminent" is the term utilized
    14   within our department policy when it comes to
    15   deadly force.        It doesn't, in fact, need to be
    16   present at that particular exact or precise
    17   moment.
    18               However, based upon an officer's
    19   training, experience, perception, discernment of
    20   information, the surrounding circumstances, all
    21   of that, again, which that officer knew, and
    22   predicated some limitations maybe in regard to
    23   the environment, does the police officer believe
    24   that the threat is, in fact, imminent is the



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     1   ultimate question and the ultimate factor when
     2   looking at whether or not their force would be
     3   appropriate more specifically in line with
     4   policy.
     5   Q.          Okay.
     6               Going to the protection subcategory, if
     7   you would.
     8   A.          Yes, sir.
     9   Q.          It obviously allows an officer to use
    10   deadly force to protect himself or another
    11   officer or bystanders; is that fair?
    12   A.          That's correct.
    13   Q.          Okay.
    14               Is there any training provided to
    15   officers about putting themselves in this fear of
    16   danger prior to placing themselves there?
    17               In other words, in a situation where
    18   there are not bystanders, hostages, you have a
    19   suicidal individual threatening suicide or
    20   threatening harm to other officers, is there any
    21   guidance provided to those officers about how to
    22   approach or interact with that -- I'm sorry --
    23   with that suicidal individual prior to placing
    24   themselves into that sphere or area of harm?



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     1   A.          I would say that we provide general
     2   guidance or consideration or recommendations, if
     3   you want to call it that, as part of our training
     4   process.
     5               So in other words, anything that we do
     6   in regards to our contact with an individual,
     7   there's always going to be goal conflict, if you
     8   want to look at it that way -- to make sure that
     9   we are, you know, in essence, you know, safe, you
    10   know, to the maximum or to its ultimate, you
    11   know, possibility, let's say it that way.
    12               You know, obviously, we wouldn't need to
    13   approach anybody out there in the public or we
    14   shouldn't, for example, but yet, we have to.
    15               So as we move forward in the performance
    16   of our duties, we try to alert our folks to
    17   dangers, circumstances or tactics that might best
    18   allow them to maintain as much safety as they
    19   possibly can for themselves and others but yet
    20   still perform the duties that they're assigned or
    21   the tasks that they need to take care of.                   I
    22   understand that there's no textbook, there's no,
    23   you know, systematic approach to some of these
    24   circumstances.



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     1               Again, it's understanding how certain
     2   tactics can benefit you in your attempts to
     3   achieve certain lawful purposes.                But again, at
     4   the end of the day it's a matter of, you know,
     5   recognizing based upon the specifics of this
     6   incident what would be, you know, the best tactic
     7   based upon the information I have at this moment
     8   in time to, again, achieve the ultimate, you
     9   know, goal which may be taking a person into
    10   custody, stabilizing the situation, whatever the
    11   goal might be at that particular moment in time.
    12   Q.          Let me digest that for a second.
    13   A.          Sure.
    14                            ----------
    15                            (Whereupon, a discussion was
    16          held off the record at this time.)
    17                            -----------
    18   BY MR. DIJIACOMO
    19   Q.          That guidance provided to officers since
    20   the use of force unit was created, would that
    21   have been for inservice members provided through
    22   annual trainings?
    23   A.          Yes, sir.
    24               And again, what we do during the



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     1   inservice trainings is we try to, you know,
     2   reinforce some basic tactics.              We review the
     3   legality of what they're authorized or not
     4   authorized to do.
     5               So it allows an opportunity -- provides
     6   us an opportunity to reinforce existing teachings
     7   and in cases provide some new teachings or some,
     8   you know, tactics, techniques, practices that
     9   they might not otherwise have been exposed to
    10   during their basic training period or during
    11   their basic training itself.
    12               So again, I'm not quite sure that I
    13   understand your question, but the inservice
    14   program serves as a platform for us to review
    15   some things, expose our membership to some new
    16   things perhaps.        But we are always in the
    17   scenario-based trainings example that we provide,
    18   you know, trying to reinforce sound tactics based
    19   upon the scenarios that we create for our
    20   membership during the course of those exercises.
    21   Q.          Are other -- are units other than the
    22   use of force unit involved in repairing the
    23   materials or the scenarios or education materials
    24   for the annual inservice training?



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     1   A.          Yes, sir.
     2               So again, traditionally, prior to 2016,
     3   or prior to 2016, yes.           Our inservice unit --
     4   there's an inservice unit within with the
     5   academy, the Bureau of Training and Education
     6   itself was responsible for compiling and putting
     7   that training together.            But again, the source of
     8   the material for a lot of those trainings was
     9   drawn from and has been drawn from various
    10   entities within the department.
    11               So again, if we're talking about a
    12   particular subject where we need to rely on the
    13   expertise of, you know, a particular department,
    14   particular unit, a particular bureau outside of
    15   the bureau within the department, then we're
    16   going to rely on them for the source of
    17   information.       But they're members of the training
    18   and education bureau, the ones that are going to
    19   provide the training for the most part.
    20   Q.          Are you familiar with the scenarios that
    21   were used between 2016, I suppose, and prior to
    22   May 20th, 2017, in the inservice training?
    23   A.          Yes, sir.
    24   Q.          Did any of those scenarios involve



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     1   individuals with suicidal ideation?
     2   A.          Yes, sir.
     3   Q.          Would you describe those scenarios?
     4   A.          The one scenario, as I recall, was a
     5   scenario in which our officers were to respond to
     6   a residence.       They were told of an individual in
     7   crisis or who may have been in crisis, was
     8   located within a room within the residence and
     9   they had to speak to him, attempt to utilize
    10   crisis intervention technique or tactical
    11   communication.
    12               However, ultimately, during the course
    13   of that scenario, the role player accessed a
    14   weapon and based upon the instruction given to
    15   the role player our membership would employ
    16   simulated deadly force upon that individual in
    17   order to stop the, again, the significant threat
    18   posed by the role player or the simulated subject
    19   in that circumstance.
    20   Q.          And in that circumstance the individual
    21   with suicidal ideations, is that individual with
    22   any hostages or bystanders in that room?
    23   A.          In that circumstance, no.
    24               And just to clarify, the suicidal



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     1   ideation, again, as far as my memory serves me at
     2   this particular moment in time, it wasn't, I
     3   don't think, specified as suicidal ideation.                     It
     4   was more along the lines of that person was
     5   suffering from a crisis-type of event,
     6   potentially, some sort of mental health issue.
     7               But again, what's important to recognize
     8   is that --
     9               Excuse me one second.            I lost my train
    10   of thought.
    11               What's important to recognize at that
    12   moment in time or with that scenario is the fact
    13   that what we teach our folks is that ultimately
    14   in many of these circumstances they are not
    15   qualified nor do they have the time or
    16   opportunity to diagnose the circumstance or
    17   diagnose the individual.            You know, they look for
    18   things such as rational versus irrational
    19   behavior, signs and symptoms potentially of
    20   somebody suffering from some sort of mental
    21   health issue.
    22               All of those things fall within the
    23   category of crisis.          So crisis generally
    24   represented by periods or behaviors that one



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     1   would deem irrational, whereas conflict events
     2   typically are more geared towards a circumstance
     3   in which you would confront somebody who appears
     4   to be rational but who is just choosing not to
     5   obey or comply with the commands or the
     6   instructions or, you know, the express desires of
     7   the police officer.
     8               So again, it is my -- as far as my
     9   recollection is concerned that situation was
    10   designed to reflect an individual who was likely
    11   suffering from some sort of crisis event and I
    12   would feel more comfortable categorizing it as a
    13   crisis event versus suicidal ideation.                  And I
    14   believe that the scenario that we're discussing
    15   was part of our 2017 mandatory inservice
    16   training.
    17               So that was 2017, and typically, we
    18   conduct our mandatory inservice trainings in the
    19   fall.
    20   Q.          So again, I'm not quite sure as to
    21   whether or not that would have come before
    22   May 20th, was that the date that you referred to
    23   before?
    24   A.          Yes.



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     1   Q.          Of that particular year?
     2   A.          Yeah.
     3   Q.          Okay.
     4               You're getting ahead of me and I
     5   appreciate it, and you answered a lot of my
     6   questions.
     7               So let me just confirm though, the
     8   scenario we discussed would have been provided in
     9   the fall of 2017?
    10   A.          Yes, sir.
    11   Q.          And from a theoretical viewpoint, are
    12   officers trained to identify credible threats of
    13   suicide as a symptom of a crisis?
    14                            MS. LE:      Objection to form.
    15                   You can answer if you understand the
    16          question.
    17                            THE WITNESS:        I don't.
    18                   So could you please kind of thin
    19          that down for me, please?
    20   BY MR. DIJIACOMO:
    21   Q.          We were talking about the inability of
    22   an officer to diagnose an individual?
    23   A.          Yes, sir.
    24   Q.          From time and as well as training, I'm



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     1   sure?
     2   A.          Yes, sir.
     3   Q.          But they're trained to recognize
     4   rational versus irrational acts or statements,
     5   correct?
     6   A.          Correct.
     7   Q.          And they're trained to look for certain
     8   symptoms as well?
     9   A.          Yes, sir.
    10   Q.          Okay.
    11               Are statements by an individual
    12   threatening suicide, is that identified to
    13   officers in those trainings as one of the
    14   symptoms or one of the irrational signs that the
    15   person's having a crisis?
    16   A.          Obviously, somebody expresses outwardly,
    17   is that what you're saying, is that what you're
    18   trying to ask?
    19   Q.          Yes.     Verbally states?
    20   A.          If they verbally state and our officers
    21   are aware of the statement that was made; is that
    22   what you're asking?
    23   Q.          Yes.
    24   A.          Are they trained to consider that; is



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     1   that what you're asking?
     2   Q.          Yes.
     3   A.          Yes.
     4   Q.          Okay.
     5               I would think it's an obvious question,
     6   but I'm not trying to make it reprehensible,
     7   that's all.
     8   A.          I'm sorry.       Maybe I just didn't
     9   understand.       I didn't know --
    10   Q.          It's fair to say that through the
    11   training and experience that officers have they
    12   would identify a verbalized statement of suicide,
    13   an attempt to commit suicide to them as a sign
    14   that the individual's in crisis?
    15   A.          Yes, sir.
    16               I mean, again, if somebody expresses
    17   that -- if somebody expresses outwardly that they
    18   have a desire to significantly harm themselves,
    19   yes, that would be an indicator of somebody
    20   that's in crisis, yes.
    21   Q.          That's during the scenario that we were
    22   talking about that was provided in the fall of
    23   2017?
    24   A.          Yes, sir.



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     1   Q.          I think you mentioned -- and I don't
     2   recall the exact words you used.                Forgive me --
     3   but that during the course of that action prior
     4   to the individual, I believe, possessing or
     5   presenting a firearm, they would use some type of
     6   command techniques?
     7   A.          Yes, sir.
     8   Q.          Can you describe those command
     9   techniques that they were trained on during that
    10   scenario?
    11   A.          Again, sir, our training is relative to
    12   verbal communication, command structures, all
    13   those sorts of things are trainings that have
    14   come throughout their career.
    15               So it started in their basic training
    16   program, continued through various exposures to
    17   those issues during the, you know, the inservice
    18   trainings that they attended during the course of
    19   their career, whether that be a mandatory program
    20   or a voluntary program outside of our program.
    21               So they bring to bear obviously
    22   everything that, you know, they have been trained
    23   to do or have experienced and found to be
    24   successful during their experiences, you know, to



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     1   that point in their career.
     2               So when you say, you know, what did we
     3   train them to say in that circumstance, again,
     4   we're watching and we're observing their behavior
     5   to see, you know, how they found it and provide
     6   them maybe with some constructive criticism or
     7   reinforcement depending on how they respond in
     8   those particular scenarios.
     9   Q.          Okay.
    10               In the scenario in which an individual
    11   is in a room in this house in crisis, whatever
    12   that crisis may be, and he's potentially
    13   possessing firearms, are the command techniques
    14   being used for the purpose of deescalating the
    15   situation?
    16   A.          Again, deescalation, I think it's
    17   important that we kind of define that so we're
    18   kind of on the same page.             Deescalation is a
    19   result or a goal as far as our teachings and as
    20   far as which we reinforce.             It is goal or result
    21   and it's characterized by an intent or an effort
    22   on the part of the officer to mitigate the nature
    23   of force required to control the person and/or
    24   stabilize the situation.



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     1               So it's a goal or a result categorized
     2   by the intent.        Now, that goal or result is
     3   always going to be significantly impacted by the
     4   environment, time, distances, opportunities for,
     5   you know, us to utilize various alternative
     6   methods.      And by "alternative methods" I mean,
     7   medicines other than the use of deadly force, so
     8   on and so forth.
     9               But ultimately, the most impactful, you
    10   know, the thing that's most impactful -- you
    11   know, the thing that's most impactful upon
    12   whether we can achieve that goal or not is always
    13   going to be the level of a subject's cooperation
    14   and/or resistance.
    15               So to your point of as far as would a
    16   command of "Put the gun down," you know, be a
    17   deescalation technique?            Well, it might be a
    18   mitigation strategy insomuch as that he does, in
    19   fact, comply with that command and put the gun
    20   down, well, then we can move forward maybe with
    21   some alternatives other than the use of deadly
    22   force to control this individual, or again,
    23   stabilize the event, or more specifically, you
    24   know, stop a threat of death or serious bodily



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     1   injury once that particular step towards that
     2   particular end has been taken.
     3   Q.          In the scenario in the fall of 2017
     4   we've been discussing, is there a gold standard
     5   on how the officers should have approached the
     6   room?
     7   A.          Is there a gold standard, sir?               I'm
     8   sorry.
     9   Q.          So let me back up.
    10               When you're doing your scenario, you
    11   briefed the officers on what they are aware of
    12   before the scenario starts, correct?
    13   A.          We give them limited information which
    14   more often than not replicates the nature of a
    15   true event because, again, oftentimes, we are
    16   provided limited information, bits of
    17   information, we're often provided that
    18   information by people who tend to be in an
    19   emotional state of mind as far as concern, worry,
    20   you know, anger, whatever the case may be.
    21               So we try to replicate how the
    22   information is provided and very often the
    23   information provided is, in fact, limited.
    24   Especially, when you compare it to that we



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     1   guarded through hindsight after the event itself.
     2   Q.          Would you walk me through at the insight
     3   training how a scenario would occur?
     4   A.          Sure.
     5   Q.          Meaning, starting from the classroom to
     6   the critique?
     7   A.          Sure.     So obviously, the scenario
     8   begins.     We have safety briefings.             We make sure
     9   that the role players, the instructors that are
    10   conducting the students themselves are all
    11   properly equipped with that which they need to
    12   serve their role and function during the course
    13   of the scenario.
    14               So for example, the students are
    15   provided with inert or simulated weaponry to,
    16   again, ensure the safety, you know, of the
    17   situation itself.         The role players are provided
    18   with the props or the inert weaponry or items or
    19   whatever it is that the role player needs to,
    20   again, satisfy the requirements of that which we
    21   need them to do.
    22               So we have safety briefings.               We make
    23   sure people are properly equipped and we have
    24   staging areas where we will stage a class where



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     1   they are to stand until it's their opportunity to
     2   go through the scenario.
     3               Once it's that officer's turn to go,
     4   they would be taken from the staging area to the
     5   training area itself.           They will be provided a
     6   quick briefing on the information that is being
     7   provided to them.         Once they have that
     8   information they are told to engage in the
     9   scenario.
    10               Typically, the scenario will not be
    11   stopped unless something of, you know, a
    12   significant safety concern arises.                So they go
    13   through.      They make their decisions in regards to
    14   what they need to do.           They respond and once the
    15   circumstance is over, a ceasefire or a stop
    16   exercise command is uttered by the primary
    17   instructor.
    18               Typically, they are given some sort of
    19   critique in regards to their performance during
    20   the course of the scenario itself.                And then
    21   they're dismissed to go back to the staging area
    22   and perhaps await the next scenario or, you know,
    23   await the final debriefing that we had with them,
    24   you know, in an effort to make sure the teaching



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     1   points are, you know, reinforced and then
     2   obviously, they'd be dismissed for the day.
     3   Q.          Were you present for the critiques
     4   provided to officers for that scenario in the
     5   fall of 2017?
     6   A.          No, sir.
     7               So it was our responsibility to put the
     8   training together, but the training is actually
     9   administered in five different locations
    10   throughout the state.           So we have regional
    11   training centers at all four corners of the state
    12   and we have our main academy in Hershey.                   The
    13   trainings at the training center are given by the
    14   instructors at those particular locations, and
    15   the training at the academy is given by our
    16   operational training unit there at the academy.
    17               So to your specific question:               Did I see
    18   the critiques that were given?
    19               I may have seen one or two as I visited
    20   sites and just reviewed the process, but it
    21   wasn't something that I saw on a daily basis.
    22               So it's important to remember that we
    23   have, you know, roughly 4,600 members, and this
    24   mandatory inservice training is conducted over



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     1   the period of typically several months.                  So, you
     2   know, this is kind of a day in/day out endeavor
     3   on the part of the instructors at those
     4   locations.      Again, it's somewhat of a very -- I
     5   don't want to say "monumental," but a very --
     6   conducted on a large scale.
     7   Q.          Understood.        Okay.
     8               With regards to the May 20th, 2017
     9   incident, are you aware of any critiques from the
    10   office of risk management concerning the policy?
    11   A.          No, sir.      The critique was not conducted
    12   in this case and that is a part of our
    13   standardized practice that when there is a
    14   litigation hold put on a particular incident, the
    15   critique is typically not done until matters of
    16   litigation have been complete.
    17   Q.          Understood.        Okay.
    18               Other than the scenario we discussed for
    19   the fall of 2017 -- let me back up.
    20               Did the use of force unit participate in
    21   providing any scenarios for the inservice
    22   training in 2016?
    23   A.          There was no scenario in -- so if you're
    24   asking was there a replication or did a similar



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     1   training evolution occur in 2016 as the one we're
     2   describing in 2017?
     3   Q.          Yes.
     4   A.          Then the answer to that question is no.
     5   There was not the same scenario-based training
     6   conducted in 2016, if that's your question.
     7   Q.          And when you say, "the same
     8   scenario-based training," are you referring to --
     9   let me back up.
    10               Was any scenario-based training provided
    11   in 2016?
    12   A.          I would have to review my record.                 But
    13   off the -- without my reviewing any sort of
    14   training records at this moment in time, I don't
    15   believe there was a scenario-based exercise as
    16   part of 2016's mandatory inservice training.
    17   Q.          Okay.
    18               Prior to 2016 for the inservice
    19   mandatory training, were scenario-based exercises
    20   performed?
    21   A.          We've conducted various practical
    22   exercises that reinforce.             As an example, in one
    23   year, during one year of mandatory inservice
    24   training there were practical exercises



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     1   regarding, you know, response to active shooter
     2   circumstances, for example.             You know, there are
     3   always practical exercises and drills conducted
     4   relative to the application of less lethal
     5   weaponry.      For example, you know, where the
     6   deployment of a taser or OC and those sorts of
     7   things, not only to reinforce practices but
     8   there's a recertification element that we need to
     9   go through in order to make sure that our
    10   membership is qualified and certified to carry
    11   those particular things.
    12               So again, it's an myriad of different
    13   programs that are offered, you know, depending on
    14   the year and depending on, you know, a need, a
    15   recertification need, for example, or an express
    16   needs by the department in any sort of way that
    17   we need to address these practice, these
    18   techniques, this information, this law, this
    19   procedure, whatever the case might be.
    20               So every year meetings are held to
    21   determine what do we need to address or what
    22   should we be addressing in, you know, for
    23   example, this year's -- or mandatory inservice
    24   program.



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     1   Q.          Prior to the 2017 inservice programming,
     2   were any scenario-based training provided to
     3   officers concerning situations in which an
     4   individual would have been either in crisis or
     5   verbalizing suicide without hostages?
     6   A.          So again, to your example or to the
     7   example I gave you previously, you know, in some
     8   of the active shooter scenarios that were part
     9   our officers' mandatory type of events.                  Although
    10   we have an active shooter situation, could we
    11   conclude based upon limited bits of information
    12   that that person was suffering from some sort of
    13   crisis event.        You know, those things, you know,
    14   always play a part.
    15               So, you know, to parse out individual --
    16   categories of individuals, we're looking more for
    17   identification of crisis versus conflict.                   Do you
    18   have the time and opportunity to employ this
    19   tactic versus this tactic.             What would be most
    20   prudent, reasonable thing at this moment in time
    21   as far as your options are concerned.
    22               You know, we spent a lot of time in the
    23   basic training program, you know, exposing our
    24   membership to, you know, various types of



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     1   scenarios, you know, in different environments,
     2   traffic stop environments, domestic environments,
     3   you know, street contact environments, where, you
     4   know, these assessments need to be made and
     5   decisions need be, you know, put forth, that are,
     6   in fact, reasonable that ultimately lead to
     7   appropriate response.
     8               So, you know, this is something that our
     9   membership is exposed to throughout the course of
    10   their career, and that's not to mention the fact
    11   that they also have opportunity to voluntarily,
    12   you know, sign up for other programs that would
    13   address various aspects of use of force.
    14               For example, you know, ground defense
    15   classes, or you know, tactical shooting classes,
    16   or, you know, vehicle stop tactic classes where,
    17   you know, there's always going to be
    18   scenario-based elements in those programs forcing
    19   our folks to make decisions, you know, in rapidly
    20   unfolding circumstances perhaps where, again,
    21   they have to rely on their training and
    22   experience to drive proper performance as far as
    23   that which we would expect them to do.
    24   Q.          In the active shooter scenarios that



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     1   officers are trained on prior to 2017, did those
     2   scenarios always involve an active shooter with
     3   risk to third parties?
     4   A.          I do not recall off the top of my head,
     5   sir.    I apologize.
     6               We've conducted active shooter scenarios
     7   as part of our MITP program which would have been
     8   conducted through the Bureau of Training and
     9   Education.      And we've also conducted alternate
    10   active shooting training programs that have been
    11   formulated, put together and directed by our
    12   bureau of emergency -- bureau of emergency and
    13   special operations so they would be our version
    14   of swat team members.           We call them "Special
    15   Emergency Response Teams."
    16               So they have, again, executed trainings
    17   in active shooting environments that have
    18   certainly involved, you know, various
    19   scenario-based exercises, but to speak to the
    20   specificity of those programs, you know, I
    21   wouldn't want to provide you with any information
    22   based upon any sort of speculation.
    23   Q.          Generally speaking, for the -- are you
    24   familiar with any of the active shooter scenarios



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     1   that were provided prior to 2017?
     2   A.          Again, those provided by the cert
     3   team -- again, I've seen them.               And again, what's
     4   important also to understand is that, you know,
     5   various adjustments to scenarios might be based
     6   upon certain student need or certain environment
     7   parameters.
     8               So to say that they gave everybody the
     9   same scenario, again, that would not be my place
    10   to say because, again, I don't know the internal
    11   components of how they went about conducting
    12   their training.        I have seen it at various
    13   locations, and in the ones that I have seen being
    14   conducted, there were individuals that were
    15   apparently suffering from crisis type events but
    16   I don't -- again, I'm not in a position where I
    17   can say that every member of the department got
    18   those exact same scenarios because, again, I
    19   wasn't part of the organization or execution of
    20   those trainings.
    21   Q.          Are you aware of any trainings prior to
    22   2017 in which the focus was on an individual
    23   expressing suicidal ideations -- my purpose is --
    24   the question I'm asking you is:               Are you aware of



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     1   any scenarios provided to officers in which the
     2   focus was not on an active shooter where
     3   bystanders are involved, but a shooter in which
     4   the individual is alone and expressing suicidal
     5   ideation?
     6   A.          We have conducted exercises and various
     7   trainings, you know, throughout the course of my
     8   time in the Bureau of Training and Education
     9   where, you know, we dealt with multitudes of
    10   issues, I think, relative to what you're saying.
    11   For example, if we ever conducted an exercise
    12   where perhaps a suicidal individual had
    13   barricaded themselves inside a residence.                   And we
    14   would talk about manners of approach and tactics
    15   that need to be followed and certain policies
    16   that drive, you know, our behaviors in those
    17   particular regards.
    18               Again, those trainings are a part of the
    19   basic training program.            They've been executed
    20   at, you know, at various different, you know,
    21   during various different training evolutions that
    22   I've been to and seen and exposed and have taken
    23   part of.      So again, they are part and parcel with
    24   the creation of a sound, you know, scenario-based



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     1   program associated maybe with whatever it is
     2   you're discussing.
     3               For example, you know, we have high risk
     4   response policies, you know, within the
     5   department.       And if you're trying to reinforce,
     6   you know, a particular component of that policy,
     7   well, then you may discuss in a classroom or you
     8   may conduct an exercise that, you know,
     9   reinforces, you know, the contents of those
    10   policies through, you know, again, a practical
    11   exercise, you know, conducted through dialog, you
    12   know, tabletop exercise, you know, an outdoor
    13   exercise.
    14               So, you know, these things go on
    15   regularly, you know, within the bureau as they
    16   relate to, you know, a variety of different
    17   classes or programs that we offer.
    18   Q.          Did those trainings -- were those
    19   trainings provided prior to 2017 though or are
    20   you talking currently?
    21   A.          No, they've been provided throughout the
    22   time that I've been a member of this bureau.                     So
    23   I've been a member of this bureau since 2003.
    24               So I've seen, you know, and we've



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     1   discussed that those issues be discussed and
     2   trained and taught.          And, you know, there are
     3   many different training opportunities outside of
     4   that mandatory inservice training program that we
     5   were talking about.
     6               And also, to provide a little more
     7   clarification, I simply used that active shooter
     8   training as an example.            So they would all fall
     9   within that same category of, you know, various
    10   trainings we provide to our membership over the
    11   years, to provide, you know, particular members
    12   of the department with, you know, throughout the
    13   years that I've seen where, you know, response to
    14   these types of incidents are not only, you know,
    15   taught in classroom environments, but you know,
    16   scenario-based exercises are conducted in along
    17   to, you know, reinforce those points.
    18   Q.          What is the MITP program?
    19   A.          The MITP is the mandatory inservice
    20   training program.
    21   Q.          Got you.      All right.
    22   A.          So I've been referring to them back and
    23   forth.     But they're the same thing, mandatory
    24   inservice.      So that is once a year every member



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     1   of the department from the rank of trooper to the
     2   rank of colonel, they must attend that one-day
     3   training session once a year.              And again, like I
     4   said, it's conducted over a several-month time
     5   period, but every member of the department must
     6   attend that training that particular year, and
     7   again, that's why obviously, the mandatory type.
     8   Q.          Got you.      Okay.
     9                            MR. DIJIACOMO:         Sir, I think
    10          you're answered my questions.
    11                            THE WITNESS:        Thank you.
    12                            MR. DIJIACOMO:         You're welcome.
    13                            MS. LE:      I don't have any
    14          questions on redirect.
    15                   Thank you.
    16                            THE COURT REPORTER:           Ms. Le, do
    17          you want a copy of the transcript?
    18                            MS. LE:      I do.
    19                            ----------
    20                   (Whereupon, the deposition was
    21          adjourned at 11:50 a.m.)
    22                            ----------
    23

    24



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     1                            CERTIFICATION
     2

     3

     4                   I HEREBY CERTIFY that the
     5          proceedings and evidence are contained fully
     6          and accurately in the stenographic notes
     7          taken by me upon the foregoing matter on
     8          Wednesday, May 19, 2021, and that this is a
     9          correct transcript of same.
    10

    11

    12

    13

    14
                                     CHARLES P. CARMODY
    15                               Federally Approved
                                     Registered Professional
    16                               Reporter and Notary Public
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    21                               (The foregoing certification
                                     of this transcript does not
    22                               apply to any reproduction of
                                     the same by any means,
    23                               unless under the direct
                                     control and/or supervision
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PCO Behler:   State Police, Belfast, PCO Behler.

County:       Hey Behler. lt's county. l'm transferring over a caller at 1382 Good
              Rd. for her son, who is uh, suicidal, but they don't know where he is'
              Jean?

Jean:         Yes

County:       Go ahead, talk to the State Police.

Jean:         ok,
County:       Thank you, bye bye.
Jean:         Thank you.

PCO Behler:   Yes, ma'arn?

Jean:         yeah, he's suicidal. He texted his father. I had to get a, um, a, POD,
              or, oh, I'm just a nervous wreck. Um

PCO Behler:   Ok, what's your name firsi of all?

Jean:          My name is Jean Monaghan.

PCO Behler:   MO
Jean:         MONAGHAN
PCO Behler:   And Good Rd., where's that at ma'am?

Jean:          it'. in Lo*ur Mount Bethettownship. lt's, uh, 2 miles outside of
               Martins Creek, between Martins Creek and Bangor.

PCO Behler:   And what's your phone number?

Jean:         610-533-9011

PCO Behler:   How old's your son?

Jean:         47.

PCO Behler:   47 years old?

Jean:         Yep.

PCO Behler:   What's his name?

Jean:         Anthony Ardo

PCO Behler:   Where's he live at?

Jean:         Well, he was living here, I had to get a, a proteciion order on him
              yesterday.



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PCO Behler:   Ok, so you got a PFA on him?

Jean:         Yeah.

PCO Behler:   Ok, why, why was a PFA

Jean:         well, because he was so strung out on drugs and he was trying to
              extort money from me and blackmail me.

PCO Behler:   Ok. So, he has a drug history, correct? What's his date of birth?

Jean:         Yeah. Um, uh, August 5th 1969.

PCO Behler:   Ok, were we over there to take a report at all?

Jean:         Sorry?

PCO Behler:   Were we at your address before for a report or anything?

Jean:         Um, no.

PCO Behler:   Ok. Um, and he texted his father?
Jean:         Yeah.

PCO Behler:   And what did it state on the father? what did it state on the text?

Jean:         Well, he, he said he was going to take a bunch of pills and inject
              antifreeze into his veins and then nobody would have to worry about
              him anymore.

PCO Behler:   Um, kay.
Jean:         I mean, he has a, he has   a little bit of a history. Every time he's
              gotten, ah, ah, gotten into a situation he's always come home' l'm his
              freakin life line.

PCO Behler:   Ok, and that's

Jean:         And now

PCO Behler:   Ok. So, when's the last time that you had contact with him?
Jean:         well, he came here at five o'clock this morning and, and needed the
              title for his car and, also warmer clothing and then he left'

PCO Behler:   Ok, I'm writing allthis down. Ok, when did he text his father stating
              that he's gonna take a bunch of pills and take

Jean:         Welt, they just got the text this morning'

PCO Behler:   What time ma'am?

Jean:         Um, l, she didn't say. I can call her back and find out' That, that

PCO Behler:   Who got the text?

Jean:         That, well, he, he did text his father. Um, his step-mother picked it up'


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PCO Behler:   oh, so his step-mother picked it up? And where does the father and
              step-mother live rna'am?

Jean:         They live out in um, Schnecksville.

PCO Behler:   And you have no idea where Anthony is at this point in time?

Jean:         I have, I have noidea. lwouldn't know where he would go. He's
              always come home, you know. And that's not the case, well, I uh, I
              just don't know where he would be.

PCO Behler:   Ummm kay. Um, what's his uh, what kind of description you have for
              me, height, weight?

Jean:         Well, he's tall, um, he's about, he's about 5'll

PCO Behler:   ok
Jean:         Right, right now he's weighing about 150 pounds, he's lost a
              tremendous amount of weight.

PCO Behler:   ok.
Jean:         He has long, light blonde, or light brown hair, um and he drives a 1988
              Reatta made by Buick.

PCO Behler:   Buick Reatta?

Jean:         Yeah.

PCO Behler:   ok.   uh, at flve o'clock this morning did you come, uh see him at all?
Jean:         Well, he came in cause he wanted his title

PCO Behler:   uh, huh

Jean:         and his clothes and then he left right away.

PCO Behler:   ok.
Jean:         Which is a violation of the protection order,

PCO Behler:   ok, wellthat's something you can make a, you can make note of and
              let the courts know when you go back down to uh,

Jean:         ok
PCO Behler:   to county court. ok, um and all's he said, he's going to take a bunch
              of pills and take antifreeze and he left, right?

Jean:         Hm, well he, when hq texted uh his father, that's the message he left.

PCO Behler:   Yeah, what color

Jean:         He's called me several

PCO Behler:   what color's his Bu.ick?


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Jean:          Uh, blue

PCO Behler:    ok. ok,                    scoPE message if found tO Contact
                           I mean we can put out a
               youifyouwantustodothat.Um,likeyousaid,thereisadrug
                                                                            not a
               [.,irtory. lf he does come back let us know. I mean, there's
                                                                       years old'
               missing person or anything like that. He',s forty-seven

Jean:          Right, well Yeah, exactlY'
                                                               "if
               So, I mean, we could put out a message stating come
                                                                       across' uh'
PCO Behler:
                                                                           note,
               please have him, please contact you at this address. Please
                                                                    We can do that'
               lhere is a pFA against Mr. Ardo with Ms. Monaghan."
Jean:          Ok, you can't pick hirn up and put him the hospital?
                                                                  he is'
PCO Behler:    How we gonna pick him up? We don't even know where

Jean:          ok.   ok,

PCO Behler:     I mean     we have no clue where he   is'   Should he

Jean:          Yeah.
                                                                            if you wish
PCO Behler:    come bacl< to your residence or his fathe/s residence, uh,
                                                                           and commit
               to commit him that's fine. You can call emergency squad
               him. lf he wishes to commit himself, so be it. uhhh, that's pretty
                                                                               he's in an
               much out of police hands unless something happens where
                                                                       police  would
               accident or anything like that. Then it would, then the
               take necessary means.

Jean:          ok.
                                                                      go pick him
PCO Behler:    But'til now, we have no clue where he is' How we gonna
               up and put him awaY?
                                                                     phone?
Jean:           I thought you might be able to to, tap into his cell

 PCO Behler:    No, we can't, we can't track a Phone'

Jean:           Oh, ok. Alrighty.

 PCO Behler:   Alright?

 Jean:          Um, and, and, and You are who?

 PCO Behler:    l'mPCOBehler. BEHLER.
 Jean:          Ok, thank You so much.

 PCO Behler:    You're.welcome,

 Jean:          Um, bye bye.

 PCO Behler:    Bye.




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PCO Behler:   State Police, Belfast. PCO Behler'

Jean:         Uh, yeah, this is Jean Monaghan calling back'

PCO Behler:   Yes, ma'am?

Jean:         Um, yeah, we, we called uh the suicide hotline and they had
                                                                             IVC'
              mentioned that, that you can do an involuntary commitment, and
                                                                         do
              And, they, and, and that hotline did say that you guys can
              something.

PCO Behler:    Ok, what,l'don't, what do, what can we do besides send that
               message?

Jean:          well, send the message and if you find his car and you find him, then,
               then commit him.
                                                                                   this
PCO Behler:    Well, yeah, if we, if we find the drugs on him' I mean five o'clock
               morning he left, correct?

Jean:          No, he stopped back because I got the, the
                                                                           at 8
PCO Behler:    Ok, what tirne, what time did he leave? Cause you called me
               o'clock, correct?

Jean:          Well, uh, no, it was a little earlier than that'

PCO Behler:    ok.
Jean:          It   was about 7:30.

PCO Behler:    ok.
Jean:          So, yeah, so, I haven't seen or, or he keeps calling but l'm not
               answering the Phone.

PCO Behler:    What's his cell Phone number?

Jean:          It's um,484

PCO Behler:    Hmm, hmm.

Jean:          903

PCO Behler:    ok
Jean:          4519
                                                                              phone?
PCO Behler:    ok, so he keeps calling you but you're not answering your cell
Jean:          Well, no

PCO Behler:    ok.


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Jean:           That, again, is in violation'
                                                                          not gonna be
PCO Behler:     Well, ok. So, my, my question is to you, ma'am, and I'm
                                                                         he's violating
                rude to ya, if you're concerned for his welfare, and now
                                                                         commit him?
                the pFA, now you want the police to try to find him and
                Am lcorrect in saYing that?

Jean:           Yes,

PCoBehler: ok, l'llgive him a catl and see where he is.
Jean:      Ok,

PCO Behler:     Alright?

Jean:           Are you gonna call me back?

PCO Behler:     Yeah, sure. lf you pick up your phone, l'll call you back'

Jean:           Yes, well, ok.

PCO Behler:     Ok.

Jean:           Yes.

PCO Behler:     YeP.




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                       Desk-PH-Ri     g   ht-201 7-05'20-08 22-10



PCO Behler:   State Police, Belfast. PCO Behler'

Jean:         Uh, yeah, this is Jean Monaghan calling back'

PCO Behler:   Yes, ma'am?

Jean:         Um, yeah, we, we called uh the suicide hotline and they had
                                                                             IVC'
              mentioned that, that you can do an involuntary commitment, and
                                                                         do
              And, they, and, and that hotline did say that you guys can
              something.

PCO Behler:    Ok, what,l'don't, what do, what can we do besides send that
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                                                                                   this
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PCO Behler:    Ok, what tirne, what time did he leave? Cause you called me
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PCO Behler:    ok.
Jean:          It   was about 7:30.

PCO Behler:    ok.
Jean:          So, yeah, so, I haven't seen or, or he keeps calling but l'm not
               answering the Phone.

PCO Behler:    What's his cell Phone number?

Jean:          It's um,484

PCO Behler:    Hmm, hmm.

Jean:          903

PCO Behler:    ok
Jean:          4519
                                                                              phone?
PCO Behler:    ok, so he keeps calling you but you're not answering your cell
Jean:          Well, no

PCO Behler:    ok.


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Jean:           That, again, is in violation'
                                                                          not gonna be
PCO Behler:     Well, ok. So, my, my question is to you, ma'am, and I'm
                                                                         he's violating
                rude to ya, if you're concerned for his welfare, and now
                                                                         commit him?
                the pFA, now you want the police to try to find him and
                Am lcorrect in saYing that?

Jean:           Yes,

PCoBehler: ok, l'llgive him a catl and see where he is.
Jean:      Ok,

PCO Behler:     Alright?

Jean:           Are you gonna call me back?

PCO Behler:     Yeah, sure. lf you pick up your phone, l'll call you back'

Jean:           Yes, well, ok.

PCO Behler:     Ok.

Jean:           Yes.

PCO Behler:     YeP.




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